  USCA Case #21-1256          Document #2068009             Filed: 08/02/2024       Page 1 of 59




                                                                       ANDREW W. TUNNELL
                                                                       t: (205) 226-3439
                                                                       e: atunnell@balch.com




                                        August 2, 2024


Mr. Mark Langer
Clerk of Court
U.S. Court of Appeals for the D.C . Circuit
333 Constitution Avenue, NW
Washington, DC 20001


       Re:    Central Hudson Gas and Electric Corp., et al, v. Federal Energy
              Regulatory Commission (FERC) (D.C. Circuit Case Nos. 21-1256 and
              21-1257, consolidated)

Dear Mr. Langer:

       Pursuant to Federal Rule of Appellate Procedure 28(j), Petitioners the New York

Transmission Owners submit the attached decision in Loper Bright Enterprises v. Raimondo,

603 U.S. __, 144 S. Ct. 2244 (2024). Loper Bright is a “pertinent and significant authorit[y]”

under Rule 28(j) because it overruled Chevron U.S.A. Inc. v. Natural Resources Defense

Council, Inc., 467 U.S. 837 (1984). See Loper Bright, 144 S. Ct. at 2273. While Chevron

applied to an agency’s interpretation of language in statutes it administers, this Circuit has when

determined appropriate employed a derivative, “Chevron-like analysis deference” requiring

deference to FERC’s interpretation of ambiguous language in tariffs and related agreements. See
  USCA Case #21-1256         Document #2068009             Filed: 08/02/2024     Page 2 of 59
Mr. Mark Langer
August 2, 2024
Page 2

Am. Mun. Power, Inc. v. FERC, 86 F.4th 922, 933-34 (2023); NextEra Desert Ctr. Blythe, LLC,

852 F.3d 1118, 1121 (2017). FERC relied on this derivative standard in its brief in arguing that

this Court should afford deference to its interpretation of the language in Section 3.10(a) of the

“Agreement Between New York Independent System Operator and Transmission Owners”

(NYISO-TO Agreement), which addresses the New York Transmission Owners’ reservation of

filing rights under section 205 of the Federal Power Act. FERC Br. 18-19.

       With the elimination of Chevron deference in Loper Bright, this derivative standard no

longer has any foundational basis. Therefore, if this Court finds that the language in NYISO-TO

Agreement is ambiguous, FERC’s interpretation would no longer be afforded deference, and the

NYISO-TO Agreement would be construed as any other ambiguous document. See Loper

Bright, 144 S. Ct. at 2266 (“[A]gencies have no special competence in resolving statutory

ambiguities. Courts do.”). The New York Transmission Owners thus respectfully request that

this Court accept Loper Bright as authority under Rule 28(j).


                                          Respectfully submitted,

                                          /s/ Andrew W. Tunnell
                                          Andrew W. Tunnell
                                          Lyle D. Larson
                                          Jason B. Tompkins
                                          Abigail C. Fox
                                          Balch & Bingham LLP
                                          1710 Sixth Avenue North
                                          Birmingham, Alabama 35203
  USCA Case #21-1256     Document #2068009        Filed: 08/02/2024   Page 3 of 59
Mr. Mark Langer
August 2, 2024
Page 3

                                    (205) 226-3439 (telephone)
                                    (205) 488-5858 (facsimile)
                                    atunnell@balch.com
                                    llarson@balch.com
                                    jtompkins@balch.com
                                    afox@balch.com
                                    Counsel to the New York
                                    Transmission Owners


   /s/ Paul A. Colbert                     /s/Susan J. LoFrumento
   Paul A. Colbert                         Susan J. LoFrumento
   Associate General Counsel –             Associate Counsel
   Regulatory Affairs                      Consolidated Edison Co. of New York,
   Central Hudson Gas & Electric           Inc.
   Corporation                             Orange and Rockland Utilities, Inc.
   284 South Avenue                        4 Irving Place
   Poughkeepsie, New York 12601            New York, New York 10003
   (845) 486-5831(telephone)               (212) 460-1137(telephone)
   pcolbert@cenhud.com                     lofrumentos@coned.comCounsel for
   Counsel for Central Hudson Gas &        Consolidated Edison Co. of New York,
   Electric Corporation                    Inc. and Orange and Rockland
                                           Utilities, Inc.
   /s/ Andrew W. Tunnell                   /s/ Andrew W. Tunnell
   Andrew W. Tunnell                       Andrew W. Tunnell
   Balch & Bingham LLP                     Balch & Bingham LLP
   1710 Sixth Avenue North                 1710 Sixth Avenue North
   Birmingham, Alabama 35203               Birmingham, Alabama 35203
   (205) 226-3439 (telephone)              (205) 226-3439 (telephone)
   atunnell@balch.com                      atunnell@balch.com
   Counsel for New York State Electric &   Counsel for Niagara Mohawk Power
   Gas Corporation and Rochester Gas       Corporation d/b/a/ National Grid
   and Electric Corporation


August 2, 2024
  USCA Case #21-1256        Document #2068009          Filed: 08/02/2024   Page 4 of 59




                         CERTIFICATE OF COMPLIANCE


        This document complies with the type-volume limitations of Fed. R. App. P. 28(j)

because, excluding the parts exempted by Fed. R. App. P. 32(f), it contains 278 words.

        I further certify that this document complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6)

because it has been prepared in Times New Roman 14-point font using Microsoft

Word.


                                         /s/ Andrew W. Tunnell
                                         Andrew W. Tunnell
                                         Balch & Bingham LLP
                                         1710 Sixth Avenue North Birmingham,
                                         Alabama 35203
                                         atunnell@balch.com

August 2, 2024
  USCA Case #21-1256       Document #2068009          Filed: 08/02/2024    Page 5 of 59




                          CERTIFICATE OF SERVICE

      I hereby certify that on August 2, 2024, I caused this document to be electronically

filed with the Clerk of this Court by using the appellate CM/ECF System. The participants

in the case are registered CM/ECF users and service will be accomplished by the appellate

CM/ECF System.


                                /s/ Andrew W. Tunnell
                                Andrew W. Tunnell
                                Balch & Bingham LLP
                                1710 Sixth Avenue North
                                Birmingham, Alabama 35203
                                (205) 226-3439
                                atunnell@balch.com
USCA Case #21-1256   Document #2068009          Filed: 08/02/2024   Page 6 of 59




                               Attachment A

                   Loper Bright Enterprises v. Raimondo,
                 603 U.S. ____ (2024), 144 S. Ct. 2244 (2024)
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256                  Document #2068009                     Filed: 08/02/2024            Page 7 of 59

                                                                   U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467
                     144 S.Ct. 2244                                U.S. 837, 104 S.Ct. 2778, 81 L.Ed.2d 694.
            Supreme Court of the United States.
                                                                   Vacated and remanded.
    LOPER BRIGHT ENTERPRISES, et al., Petitioners
                             v.
                                                                   Justices Thomas, Alito, Gorsuch, Kavanaugh, and Barrett
     Gina RAIMONDO, Secretary of Commerce, et al.
                                                                   joined.
            Relentless, Inc., et al., Petitioners
                             v.                                    Justice Thomas filed a concurring opinion.
               Department of Commerce, et al.
                                                                   Justice Gorsuch filed a concurring opinion.
                    No. 22-451, No. 22-1219
                                |
                                                                   Justice Kagan filed a dissenting opinion, in which Justice
                    Argued January 17, 2024
                                                                   Sotomayor joined and Justice Jackson joined as applied to
                                |
                                                                   second case.
                     Decided June 28, 2024

Synopsis                                                           Justice Jackson took no part in the consideration or decision
Background: In first case, herring fishing companies               of the first case.
operating in the Atlantic herring fishery brought action
against Secretary of Commerce and National Marine                  Procedural Posture(s): Petition for Writ of Certiorari; On
Fisheries Service (NMFS), alleging that Magnuson-Stevens           Appeal; Motion for Summary Judgment.
Fishery Conservation and Management Act (MSA) did not
authorize Service, in implementing statutory amendment                                  *2247 Syllabus *
establishing industry-funded monitoring programs for fishery
management, to promulgate final rule requiring Atlantic            The Court granted certiorari in these cases limited to the
herring fishery to fund costs for on-board observers required
                                                                   question whether    Chevron U. S. A. Inc. v. Natural
by fishery management plan. The United States District
                                                                   Resources Defense Council, Inc., 467 U.S. 837, 104 S.Ct.
Court for the District of Columbia, Emmet G. Sullivan, J.,
                                                                   2778, 81 L.Ed.2d 694, should be overruled or clarified.
   544 F.Supp.3d 82, granted summary judgment to Secretary
                                                                   Under the    Chevron doctrine, courts have sometimes been
and Service. Companies appealed. The United States Court
                                                                   required to defer to “permissible” agency interpretations
of Appeals for the District of Columbia Circuit, Rogers,
                                                                   of the statutes those agencies administer—even when a
Circuit Judge,       45 F.4th 359, affirmed. Certiorari was
                                                                   reviewing court reads the statute differently. Id., at 843,
granted. In second case, owners of fishing vessels operating
                                                                   104 S.Ct. 2778. In each case below, the reviewing courts
in the Atlantic herring fishery brought action asserting similar
claims. The United States District Court for the District of       applied   Chevron’s framework to resolve in favor of the
                                                                   Government challenges by petitioners to a rule promulgated
Rhode Island, William E. Smith, J.,   561 F.Supp.3d 226,
                                                                   by the National Marine Fisheries Service pursuant to the
entered summary judgment in government's favor. Owners
appealed. The United States Court of Appeals for the First         Magnuson-Stevens Act,       16 U.S.C. § 1801 et seq., which

Circuit, Kayatta, Circuit Judge,      62 F.4th 621, affirmed.      incorporates the Administrative Procedure Act (APA),       5
Certiorari was granted in part.                                    U.S.C. § 551 et seq.

                                                                   Held: The Administrative Procedure Act requires courts to
                                                                   exercise their independent judgment in deciding whether an
The Supreme Court, Chief Justice Roberts, held that courts
                                                                   agency has acted within its statutory authority, and courts
need not, and under the Administrative Procedure Act (APA)
                                                                   may not defer to an agency interpretation of the law simply
may not, defer to an agency's interpretation of the law simply
because a statute is ambiguous; overruling            Chevron,


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                          1
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256                    Document #2068009                      Filed: 08/02/2024             Page 8 of 59

                                                                     resolutions of questions of law. “The interpretation of the
because a statute is ambiguous;       Chevron is overruled. Pp.
                                                                     meaning of statutes, as applied to justiciable controversies,”
2257 – 2273.
                                                                     remained “exclusively a judicial function.”   United States
(a) Article III of the Constitution assigns to the Federal           v. American Trucking Assns., Inc., 310 U.S. 534, 544, 60
Judiciary the responsibility and power to adjudicate “Cases”         S.Ct. 1059, 84 L.Ed. 1345. The Court also continued to note
and “Controversies”—concrete disputes with consequences              that the informed judgment of the Executive Branch could be
for the parties involved. The Framers appreciated that the
                                                                     entitled to “great weight.”     Id., at 549, 60 S.Ct. 1059. “The
laws judges would necessarily apply in resolving those
                                                                     weight of such a judgment in a particular case,” the Court
disputes would not always be clear, but envisioned that the
                                                                     observed, would “depend upon the thoroughness evident in
final “interpretation of the laws” would be “the proper and
                                                                     its consideration, the validity of its reasoning, its consistency
peculiar province of the courts.” The Federalist No. 78, p.
                                                                     with earlier and later pronouncements, and all those factors
525 (A. Hamilton). As Chief Justice Marshall declared in
                                                                     which give it power to persuade, if lacking power to control.”
the foundational decision of   Marbury v. Madison, “[i]t is
                                                                        Skidmore v. Swift & Co., 323 U.S. 134, 140, 65 S.Ct. 161,
emphatically the province and duty of the judicial department
                                                                     89 L.Ed. 124.
to say what the law is.”      1 Cranch 137, 177, 2 L.Ed. 60.
                                                                     Occasionally during this period, the Court applied deferential
In the decades following       Marbury, when the meaning of
                                                                     review after concluding that a particular statute empowered
a statute was at issue, the judicial role was to “interpret the
                                                                     an agency to decide how a broad statutory term applied to
act of Congress, in order to ascertain the rights of the parties.”
                                                                     specific facts found by the agency. See        Gray v. Powell,
   Decatur v. Paulding, 14 Pet. 497, 515, 10 L.Ed. 559.
                                                                     314 U.S. 402, 62 S.Ct. 326, 86 L.Ed. 301;            NLRB v.
The Court recognized from the outset, though, that exercising        Hearst Publications, Inc., 322 U.S. 111, 64 S.Ct. 851,
independent judgment often included according due respect            88 L.Ed. 1170. But such deferential review, which the
to Executive Branch interpretations of federal statutes. Such        Court was far from consistent in applying, was cabined to
respect was thought especially warranted when an Executive           factbound determinations. And the Court did not purport
Branch interpretation was issued roughly contemporaneously           to refashion the longstanding judicial approach to questions
with enactment of the statute and remained consistent over           of law. It instead proclaimed that “[u]ndoubtedly questions
time. The Court also gave “the most respectful consideration”        of statutory interpretation ... are for the courts to resolve,
to Executive Branch interpretations simply because “[t]he            giving appropriate weight to the judgment of those whose
officers concerned [were] usually able men, and masters of
                                                                     special duty is to administer the questioned statute.”    Id.,
the subject,” who may well have drafted the laws at issue.
                                                                     at 130–131, 64 S.Ct. 851. Nothing in the New Deal era
United States v. Moore, 95 U.S. 760, 763, 24 L.Ed. 588.
                                                                     or before it thus resembled the deference rule the Court
“Respect,” though, was just that. The views of the Executive
                                                                     would begin applying decades later to all varieties of agency
Branch could inform the judgment of the Judiciary, but did
not supersede it. “[I]n cases where [a court's] own judgment ...     interpretations of statutes under    Chevron. Pp. 2257 – 2261.
differ[ed] from that of other high functionaries,” the court was
                                                                     (b) Congress in 1946 enacted the APA “as a check upon
“not at liberty to surrender, or to waive it.”     United States
                                                                     administrators whose zeal might otherwise have carried
v. Dickson, 15 Pet. 141, 16, 10 L.Ed. 689.
                                                                     them to excesses not contemplated in legislation creating

During the “rapid expansion of the administrative process”           their offices.”   Morton Salt, 338 U.S. at 644, 70 S.Ct.
                                                                     357. The APA prescribes procedures for agency action and
that took place during the New Deal era,     United States v.
                                                                     delineates the basic contours of judicial review of such
Morton Salt Co., 338 U.S. 632, 644, 70 S.Ct. 357, 94 L.Ed.
                                                                     action. And it codifies for agency cases the unremarkable,
401, the Court often treated agency determinations of fact
                                                                     yet elemental proposition reflected by judicial practice dating
as binding on the courts, provided that there was “evidence
                                                                     back to    Marbury: that courts decide legal questions
to support the findings,”    St. Joseph Stock Yards Co. v.
                                                                     by applying their own judgment. As relevant here, the
United States, 298 U.S. 38, 51, 56 S.Ct. 720, 80 L.Ed. 1033.
                                                                     APA specifies that courts, not agencies, will decide “all
But the Court did not extend similar deference to agency


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                                2
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256                 Document #2068009                     Filed: 08/02/2024             Page 9 of 59

relevant questions of law” arising on review of agency           answer that question, the Court articulated and employed a
                                                                 now familiar two-step approach broadly applicable to review
action,    5 U.S.C. § 706 (emphasis added)—even those
                                                                 of agency action. The first step was to discern “whether
involving ambiguous laws. It prescribes no deferential
                                                                 Congress ha[d] directly spoken to the precise question at
standard for courts to employ in answering those legal
questions, despite mandating deferential judicial review of      issue.”     Id., at 842, 104 S.Ct. 2778. The Court explained
                                                                 that “[i]f the intent of Congress is clear, that is the end of
agency policymaking and factfinding. See        §§ 706(2)(A),
(E). And by directing courts to “interpret constitutional        the matter,”    ibid., and courts were therefore to “reject
and statutory provisions” without differentiating between the    administrative constructions which are contrary to clear
two,     § 706, it makes clear that agency interpretations       congressional intent,”    id., at 843, n. 9, 104 S.Ct. 2778.
of statutes—like agency interpretations of the Constitution      But in a case in which “the statute [was] silent or ambiguous
—are not entitled to deference. The APA's history and the        with respect to the specific issue” at hand, a reviewing
contemporaneous views of various respected commentators          court could not “simply impose its own construction on
underscore the plain meaning of its text.                        the statute, as would be necessary in the absence of an
                                                                 administrative interpretation.”     Id., at 843, 104 S.Ct. 2778
Courts exercising independent judgment in determining
the meaning of statutory provisions, consistent with the         (footnote omitted). Instead, at        Chevron’s second step, a
APA, may—as they have from the start—seek aid from               court had to defer to the agency if it had offered “a permissible
the interpretations of those responsible for implementing        construction of the statute,” ibid., even if not “the reading
particular statutes. See    Skidmore, 323 U.S. at 140, 65        the court would have reached if the question initially had
S.Ct. 161. And when the best reading of a statute is that        arisen in a judicial proceeding,”   ibid., n. 11. Employing
it delegates discretionary authority to an agency, the role      this new test, the Court concluded that Congress had not
of the reviewing court under the APA is, as always, to           addressed the question at issue with the necessary “level of
independently interpret the statute and effectuate the will of   specificity” and that EPA's interpretation was “entitled to
Congress subject to constitutional limits. The court fulfills
that role by recognizing constitutional delegations, fixing      deference.”     Id., at 865, 104 S.Ct. 2778.
the boundaries of the delegated authority, and ensuring the
agency has engaged in “ ‘reasoned decisionmaking’ ” within       Although the Court did not at first treat        Chevron as
those boundaries.     Michigan v. EPA, 576 U.S. 743, 750,        the watershed decision it was fated to become, the Court
                                                                 and the courts of appeals were soon routinely invoking its
135 S.Ct. 2699, 192 L.Ed.2d 674 (quoting Allentown Mack          framework as the governing standard in cases involving
Sales & Service, Inc. v. NLRB, 522 U.S. 359, 374, 118 S.Ct.      statutory questions of agency authority. The Court eventually
818, 139 L.Ed.2d 797). By doing so, a court upholds the
traditional conception of the judicial function that the APA     decided that      Chevron rested on “a presumption that
adopts. Pp. 2261 – 2264.                                         Congress, when it left ambiguity in a statute meant for
                                                                 implementation by an agency, understood that the ambiguity
                                                                 would be resolved, first and foremost, by the agency, and
(c) The deference that       Chevron requires of courts          desired the agency (rather than the courts) to possess whatever
reviewing agency action cannot be squared with the APA. Pp.
2264 – 2270.                                                     degree of discretion the ambiguity allows.”      Smiley v.
                                                                 Citibank (South Dakota), N. A., 517 U.S. 735, 740–741, 116
                                                                 S.Ct. 1730, 135 L.Ed.2d 25. Pp. 2264 – 2265.
(1)    Chevron, decided in 1984 by a bare quorum of six
Justices, triggered a marked departure from the traditional
judicial approach of independently examining each statute to     (2) Neither    Chevron nor any subsequent decision of
determine its meaning. The question in the case was whether      the Court attempted to reconcile its framework with the
an Environmental Protection Agency (EPA) regulation was          APA.      Chevron defies the command of the APA that “the
consistent with the term “stationary source” as used in the      reviewing court”—not the agency whose action it reviews—
Clean Air Act.      467 U.S. at 840, 104 S.Ct. 2778. To          is to “decide all relevant questions of law” and “interpret ...




               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             3
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                      Filed: 08/02/2024             Page 10 of 59

                                                                    very point of the traditional tools of statutory construction
statutory provisions.”   § 706 (emphasis added). It requires
                                                                    is to resolve statutory ambiguities. That is no less true when
a court to ignore, not follow, “the reading the court would
                                                                    the ambiguity is about the scope of an agency's own power
have reached” had it exercised its independent judgment as
                                                                    —perhaps the occasion on which abdication in favor of the
required by the APA.      Chevron, 467 U.S. at 843, n. 11, 104      agency is least appropriate. Pp. 2265 – 2266.
S.Ct. 2778.     Chevron insists on more than the “respect”
historically given to Executive Branch interpretations; it          (3) The Government responds that Congress must generally
demands that courts mechanically afford binding deference           intend for agencies to resolve statutory ambiguities because
to agency interpretations, including those that have been           agencies have subject matter expertise regarding the
                                                                    statutes they administer; because deferring to agencies
inconsistent over time, see    id., at 863, 104 S.Ct. 2778,         purportedly promotes the uniform construction of federal
and even when a pre-existing judicial precedent holds that an       law; and because resolving statutory ambiguities can involve
ambiguous statute means something else,        National Cable       policymaking best left to political actors, rather than courts.
& Telecommunications Assn. v. Brand X Internet Services,            See Brief for Respondents in No. 22–1219, pp. 16–19. But
545 U.S. 967, 982, 125 S.Ct. 2688, 162 L.Ed.2d 820. That            none of these considerations justifies    Chevron’s sweeping
regime is the antithesis of the time honored approach the APA       presumption of congressional intent.
prescribes.
                                                                    As the Court recently noted, interpretive issues arising in
    Chevron cannot be reconciled with the APA by presuming          connection with a regulatory scheme “may fall more naturally
that statutory ambiguities are implicit delegations to agencies.    into a judge's bailiwick” than an agency's. Kisor v. Wilkie,
That presumption does not approximate reality. A statutory          588 U.S. 558, 578, 139 S.Ct. 2400, 204 L.Ed.2d 841. Under
ambiguity does not necessarily reflect a congressional
intent that an agency, as opposed to a court, resolve                   Chevron’s broad rule of deference, though, ambiguities
the resulting interpretive question. Many or perhaps most           of all stripes trigger deference, even in cases having little to
statutory ambiguities may be unintentional. And when courts         do with an agency's technical subject matter expertise. And
confront statutory ambiguities in cases that do not involve         even when an ambiguity happens to implicate a technical
agency interpretations or delegations of authority, they are        matter, it does not follow that Congress has taken the power to
not somehow relieved of their obligation to independently           authoritatively interpret the statute from the courts and given
interpret the statutes. Instead of declaring a particular party's   it to the agency. Congress expects courts to handle technical
reading “permissible” in such a case, courts use every              statutory questions, and courts did so without issue in agency
tool at their disposal to determine the best reading of the         cases before      Chevron. After all, in an agency case in
statute and resolve the ambiguity. But in an agency case            particular, the reviewing court will go about its task with
as in any other, there is a best reading all the same—“the          the agency's “body of experience and informed judgment,”
reading the court would have reached” if no agency were
                                                                    among other information, at its disposal.       Skidmore, 323
involved.      Chevron, 467 U.S. at 843, n. 11, 104 S.Ct.           U.S. at 140, 65 S.Ct. 161. An agency's interpretation of
2778. It therefore makes no sense to speak of a “permissible”       a statute “cannot bind a court,” but may be especially
interpretation that is not the one the court, after applying all    informative “to the extent it rests on factual premises within
relevant interpretive tools, concludes is best.
                                                                    [the agency's] expertise.” Bureau of Alcohol, Tobacco and
                                                                    Firearms v. FLRA, 464 U.S. 89, 98, n. 8, 104 S.Ct. 439,
Perhaps most fundamentally,       Chevron’s presumption is          78 L.Ed.2d 195. Delegating ultimate interpretive authority to
misguided because agencies have no special competence               agencies is simply not necessary to ensure that the resolution
in resolving statutory ambiguities. Courts do. The Framers          of statutory ambiguities is well informed by subject matter
anticipated that courts would often confront statutory              expertise.
ambiguities and expected that courts would resolve them by
exercising independent legal judgment.       Chevron gravely        Nor does a desire for the uniform construction of federal law
erred in concluding that the inquiry is fundamentally different     justify   Chevron. It is unclear how much the     Chevron
just because an administrative interpretation is in play. The       doctrine as a whole actually promotes such uniformity, and



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                              4
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                       Filed: 08/02/2024          Page 11 of 59

in any event, we see no reason to presume that Congress
                                                                      Chevron project. The stare decisis considerations most
prefers uniformity for uniformity's sake over the correct
                                                                  relevant here—“the quality of [the precedent's] reasoning, the
interpretation of the laws it enacts.
                                                                  workability of the rule it established, ... and reliance on the

Finally, the view that interpretation of ambiguous statutory      decision,”     Knick v. Township of Scott, 588 U.S. 180, 203,
provisions amounts to policymaking suited for political actors    139 S.Ct. 2162, 204 L.Ed.2d 558 (quoting   Janus v. State,
rather than courts is especially mistaken because it rests on     County, and Municipal Employees, 585 U.S. 878, 917, 138
a profound misconception of the judicial role. Resolution of      S.Ct. 2448, 201 L.Ed.2d 924)—all weigh in favor of letting
statutory ambiguities involves legal interpretation, and that
task does not suddenly become policymaking just because              Chevron go.

a court has an “agency to fall back on.”           Kisor, 588
U.S. at 575, 139 S.Ct. 2400. Courts interpret statutes, no           Chevron has proved to be fundamentally misguided. It
matter the context, based on the traditional tools of statutory   reshaped judicial review of agency action without grappling
construction, not individual policy preferences. To stay out      with the APA, the statute that lays out how such review
of discretionary policymaking left to the political branches,     works. And its flaws were apparent from the start, prompting
judges need only fulfill their obligations under the APA          the Court to revise its foundations and continually limit its
to independently identify and respect such delegations of         application.
authority, police the outer statutory boundaries of those
delegations, and ensure that agencies exercise their discretion   Experience has also shown that      Chevron is unworkable.
consistent with the APA. By forcing courts to instead pretend     The defining feature of its framework is the identification
that ambiguities are necessarily delegations,         Chevron     of statutory ambiguity, but the concept of ambiguity has
prevents judges from judging. Pp. 2266 – 2268.                    always evaded meaningful definition. Such an impressionistic
                                                                  and malleable concept “cannot stand as an every-day test
                                                                  for allocating” interpretive authority between courts and
(4) Because     Chevron’s justifying presumption is, as
Members of the Court have often recognized, a fiction, the        agencies.    Swift & Co. v. Wickham, 382 U.S. 111, 125,
Court has spent the better part of four decades imposing          86 S.Ct. 258, 15 L.Ed.2d 194. The Court has also been
                                                                  forced to clarify the doctrine again and again, only adding
one limitation on   Chevron after another. Confronted with
the byzantine set of preconditions and exceptions that has        to   Chevron’s unworkability, and the doctrine continues to
                                                                  spawn difficult threshold questions that promise to further
resulted, some courts have simply bypassed       Chevron or
failed to heed its various steps and nuances. The Court, for      complicate the inquiry should     Chevron be retained. And
its part, has not deferred to an agency interpretation under      its continuing import is far from clear, as courts have often
                                                                  declined to engage with the doctrine, saying it makes no
   Chevron since 2016. But because      Chevron remains           difference.
on the books, litigants must continue to wrestle with it,
and lower courts—bound by even the Court's crumbling
precedents—understandably continue to apply it. At best,          Nor has    Chevron fostered meaningful reliance. Given the
                                                                  Court's constant tinkering with and eventual turn away from
   Chevron has been a distraction from the question that
matters: Does the statute authorize the challenged agency            Chevron, it is hard to see how anyone could reasonably
action? And at worst, it has required courts to violate the APA   expect a court to rely on       Chevron in any particular
by yielding to an agency the express responsibility, vested       case or expect it to produce readily foreseeable outcomes.
in “the reviewing court,” to “decide all relevant questions
                                                                  And rather than safeguarding reliance interests,  Chevron
of law” and “interpret ... statutory provisions.”       § 706     affirmatively destroys them by allowing agencies to change
(emphasis added). Pp. 2268 – 2270.                                course even when Congress has given them no power to do so.

(d) Stare decisis, the doctrine governing judicial adherence      The only way to “ensure that the law will not merely change
to precedent, does not require the Court to persist in the        erratically, but will develop in a principled and intelligible




               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            5
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                 Document #2068009                    Filed: 08/02/2024             Page 12 of 59

                                                                 Counsel of Record, Andrew C. Lawrence, Chadwick J.
fashion,”    Vasquez v. Hillery, 474 U.S. 254, 265, 106 S.Ct.
                                                                 Harper, Clement & Murphy, PLLC, Alexandria, VA, for
617, 88 L.Ed.2d 598, is for the Court to leave       Chevron     Petitioners in No. 22–451.
behind. By overruling    Chevron, though, the Court does not
                                                                 Elizabeth B. Prelogar, Solicitor General, Counsel of Record,
call into question prior cases that relied on the  Chevron       Todd Kim, Assistant Attorney General, Edwin S. Kneedler,
framework. The holdings of those cases that specific agency      Deputy Solicitor General, Matthew Guarnieri, Assistant to
actions are lawful—including the Clean Air Act holding of        the Solicitor General, Rachel Heron, Dina B. Mishra, Daniel
                                                                 Halainen, Attorneys, Department of Justice, Washington, DC,
   Chevron itself—are still subject to statutory stare decisis
                                                                 Respondents in No. 22–1219 and No. 22–451.
despite the Court's change in interpretive methodology. See
   CBOCS West, Inc. v. Humphries, 553 U.S. 442, 457, 128         John J. Vecchione, Counsel of Record, Mark S. Chenoweth,
                                                                 Kara M. Rollins, Philip Hamburger, New Civil Liberties
S.Ct. 1951, 170 L.Ed.2d 864. Mere reliance on         Chevron
                                                                 Alliance, Washington, DC, Roman Martinez, Charles S.
cannot constitute a “ ‘special justification’ ” for overruling
                                                                 Dameron, Michael Clemente, William J. Seidleck, Alexander
such a holding.    Halliburton Co. v. Erica P. John Fund,        G. Siemers, Jacob P. Shapiro, Latham & Watkins LLP,
Inc., 573 U.S. 258, 266, 134 S.Ct. 2398, 189 L.Ed.2d 339         Washington, DC, for Petitioners in No. 22–1219.
(quoting    Dickerson v. United States, 530 U.S. 428, 443,
                                                                 Opinion
120 S.Ct. 2326, 147 L.Ed.2d 405). Pp. 2270 – 2273.
                                                                 CHIEF JUSTICE ROBERTS delivered the opinion of the
No. 22–451, 45 F. 4th 359 & No. 22–1219, 62 F. 4th 621,          Court.
vacated and remanded.
                                                                  *2254 Since our decision in         Chevron U. S. A. Inc.
ROBERTS, C. J., delivered the opinion of the Court, in           v. Natural Resources Defense Council, Inc., 467 U.S.
which THOMAS, ALITO, GORSUCH, KAVANAUGH, and                     837, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984), we have
BARRETT, JJ., joined. THOMAS, J., and GORSUCH, J.,               sometimes required courts to defer to “permissible” agency
filed concurring opinions. KAGAN, J., filed a dissenting         interpretations of the statutes those agencies administer—
opinion, in which SOTOMAYOR, J., joined, and in which            even when a reviewing court reads the statute differently.
JACKSON, J., joined as it applies to No. 22–1219.                In these cases we consider whether that doctrine should be
JACKSON, J., took no part in the consideration or decision       overruled.
of the case in No. 22–451.


ON WRIT OF CERTIORARI TO THE UNITED STATES                                                      I
COURT OF APPEALS FOR THE DISTRICT OF
COLUMBIA CIRCUIT                                                 Our     Chevron doctrine requires courts to use a two-
                                                                 step framework to interpret statutes administered by federal
ON WRIT OF CERTIORARI TO THE UNITED STATES
                                                                 agencies. After determining that a case satisfies the various
COURT OF APPEALS FOR THE FIRST CIRCUIT
                                                                 preconditions we have set for      Chevron to apply, a
Attorneys and Law Firms                                          reviewing court must first assess “whether Congress has

Roman Martinez, for Petitioners in No. 22–1219.                  directly spoken to the precise question at issue.”  Id., at
                                                                 842, 104 S.Ct. 2778. If, and only if, congressional intent
Elizabeth B. Prelogar, Solicitor General, for the Respondents
                                                                 is “clear,” that is the end of the inquiry.       Ibid. But if
in No. 22–1219 and No. 22–451.
                                                                 the court determines that “the statute is silent or ambiguous
Paul D. Clement for Petitioners in No. 22–451.                   with respect to the specific issue” at hand, the court must, at
                                                                     Chevron’s second step, defer to the agency's interpretation
Ryan P. Mulvey, Eric R. Bolinder, R. James Valvo, III,
                                                                 if it “is based on a permissible construction of the statute.”
Cause of Action Institute, Arlington, VA, Paul D. Clement,



               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           6
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 13 of 59

                                                                   Relevant here, a plan may also require that “one or more
   Id., at 843, 104 S.Ct. 2778. The reviewing courts in each
                                                                   observers be carried on board” domestic vessels “for the
of the cases before us applied   Chevron’s framework to            purpose of collecting data necessary for the conservation and
resolve in favor of the Government challenges to the same          management of the fishery.” § 1853(b)(8). The MSA specifies
agency rule.                                                       three groups that must cover costs associated with observers:
                                                                   (1) foreign fishing vessels operating within the exclusive
                                                                   economic zone (which must carry observers), see §§ 1821(h)
                               A                                   (1)(A), (h)(4), (h)(6); (2) vessels participating in certain
                                                                   limited access privilege programs, which impose quotas
Before 1976, unregulated foreign vessels dominated fishing         permitting fishermen to harvest only specific quantities of a
in the international waters off the U. S. coast, which began       fishery's total allowable catch, see §§ 1802(26), 1853a(c)(1)
just 12 nautical miles offshore. See, e.g., S. Rep. No. 94–459,    (H), (e)(2), 1854(d)(2); and (3) vessels within the jurisdiction
pp. 2–3 (1975). Recognizing the resultant overfishing and the      of the North Pacific Council, where many of the largest
need for sound management of fishery resources, Congress           and most successful commercial fishing enterprises in the
enacted the Magnuson-Stevens Fishery Conservation and              Nation operate, see § 1862(a). In the latter two cases, the
Management Act (MSA). See 90 Stat. 331 (codified as                MSA expressly caps the relevant fees at two or three percent
amended at       16 U.S.C. § 1801 et seq.). The MSA and            of the value of fish harvested on the vessels. See          §§
subsequent amendments extended the jurisdiction of the             1854(d)(2)(B), 1862(b)(2)(E). And in general, it authorizes
United States to 200 nautical miles beyond the U. S. territorial   the Secretary to impose “sanctions” when “any payment
sea and claimed “exclusive fishery management authority            required for observer services provided to or contracted by an
over all fish” within that area, known as the “exclusive           owner or operator ... has not been paid.” § 1858(g)(1)(D).
economic zone.” § 1811(a); see Presidential Proclamation No.
5030, 3 C.F.R. 22 (1983 Comp.); §§ 101, 102, 90 Stat. 336.         The MSA does not contain similar terms addressing whether
The National Marine Fisheries Service (NMFS) administers           Atlantic herring fishermen may be required to bear costs
the MSA under a delegation from the Secretary of Commerce.         associated with any observers a plan may mandate. And at
                                                                   one point, NMFS fully funded the observer coverage the
The MSA established eight regional fishery management              New England Fishery Management Council required in its
councils composed of representatives from the coastal States,      plan for the Atlantic herring fishery. See 79 Fed. Reg. 8792
                                                                   (2014). In 2013, however, the council proposed amending its
fishery stakeholders, and NMFS. See             16 U.S.C. §§
                                                                   fishery management plans to empower it to require fishermen
1852(a),   (b). The councils develop fishery management            to pay for observers if federal funding became unavailable.
plans, which NMFS approves and promulgates as final                Several years later, NMFS promulgated a rule approving the
regulations. See        §§ 1852(h),      1854(a). In *2255         amendment. See 85 Fed. Reg. 7414 (2020).
service of the statute's fishery conservation and management
goals, see § 1851(a), the MSA requires that certain provisions     With respect to the Atlantic herring fishery, the Rule created
—such as “a mechanism for specifying annual catch limits ...       an industry funded program that aims to ensure observer
at a level such that overfishing does not occur,” § 1853(a)        coverage on 50 percent of trips undertaken by vessels
(15)—be included in these plans, see § 1853(a). The plans          with certain types of permits. Under that program, vessel
may also include additional discretionary provisions. See §        representatives must “declare into” a fishery before beginning
1853(b). For example, plans may “prohibit, limit, condition,       a trip by notifying NMFS of the trip and announcing the
or require the use of specified types and quantities of fishing    species the vessel intends to harvest. If NMFS determines that
gear, fishing vessels, or equipment,” § 1853(b)(4); “reserve       an observer is required, but declines to assign a Government-
a portion of the allowable biological catch of the fishery for     paid one, the vessel must contract with and pay for a
use in scientific research,” § 1853(b)(11); and “prescribe such    Government-certified third-party observer. NMFS estimated
other measures, requirements, or conditions and restrictions       that the cost of such an observer would be up to $710 per
as are determined to be necessary and appropriate for the          day, reducing annual returns to the vessel owner by up to 20
conservation and management of the fishery,” § 1853(b)(14).        percent. See id., at 7417–7418.




                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             7
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                     Document #2068009                       Filed: 08/02/2024             Page 14 of 59

                                                                       the more typical 2 to 4). As a result, they generally declare
                                                                       into multiple fisheries per trip so they can catch whatever the
                                   B
                                                                       ocean offers up. If the vessels declare into the Atlantic herring
Petitioners Loper Bright Enterprises, Inc., H&L Axelsson,              fishery for a particular trip, they must carry an observer for
Inc., Lund Marr Trawlers LLC, and Scombrus One LLC are                 that trip if NMFS selects the trip for coverage, even if they end
family businesses that operate in the *2256 Atlantic herring           up harvesting fewer herring than other vessels—or no herring
fishery. In February 2020, they challenged the Rule under              at all.

the MSA,         16 U.S.C. § 1855(f), which incorporates the
                                                                       This set of petitioners, like those in the D. C. Circuit case,
Administrative Procedure Act (APA),          5 U.S.C. § 551 et         filed a suit challenging the Rule as unauthorized by the MSA.
seq. In relevant part, they argued that the MSA does not               The District Court, like the D. C. Circuit, deferred to NMFS's
authorize NMFS to mandate that they pay for observers
                                                                       contrary interpretation under       Chevron and thus granted
required by a fishery management plan. The District Court
granted summary judgment to the Government. It concluded               summary judgment to the Government. See          561 F.Supp.3d
that the MSA authorized the Rule, but noted that even if these         226, 234–238 (D.R.I. 2021).
petitioners’ “arguments were enough to raise an ambiguity
in the statutory text,” deference to the agency's interpretation       The First Circuit affirmed. See     62 F.4th 621 (2023). It
would be warranted under           Chevron.      544 F.Supp.3d 82,     relied on a “default norm” that regulated entities must bear
                                                                       compliance costs, as well as the MSA's sanctions provision,
107 (D.C.C 2021); see        id., at 103–107.
                                                                       Section 1858(g)(1)(D). See id., at 629–631. And it rejected
                                                                       petitioners’ argument that the express statutory authorization
A divided panel of the D. C. Circuit affirmed. See 45 F.4th
                                                                       of three industry funding programs demonstrated that NMFS
359 (2022). The majority addressed various provisions of the
                                                                       lacked the broad implicit authority it asserted to impose such
MSA and concluded that it was not “wholly unambiguous”
whether NMFS may require Atlantic herring fishermen to pay             a program for the Atlantic herring fishery. See          id., at
                                                                       631–633. The court ultimately concluded that the “[a]gency's
for observers.      Id., at 366. Because there remained “some
                                                                       interpretation of its authority to require at-sea monitors who
question” as to Congress's intent,            id., at 369, the court   are paid for by owners of regulated vessels does not ‘exceed[ ]
proceeded to     Chevron’s second step and deferred to the             the bounds of the permissible.’ ”      Id., at 633–634 (quoting
agency's interpretation as a “reasonable” construction of the
                                                                          Barnhart v. Walton, 535 U.S. 212, 218, 122 S.Ct. 1265,
MSA, 45 F.4th at 370. In dissent, Judge Walker concluded               152 L.Ed.2d 330 (2002); alteration in original). In reaching
that Congress's silence on industry funded observers for the           that conclusion, the First Circuit stated *2257 that it was
Atlantic herring fishery—coupled with the express provision
                                                                       applying    Chevron’s two-step framework.    62 F.4th at
for such observers in other fisheries and on foreign vessels—
                                                                       628. But it did not explain which aspects of its analysis
unambiguously indicated that NMFS lacked the authority to
“require [Atlantic herring] fishermen to pay the wages of at-          were relevant to which of   Chevron’s two steps. Similarly,
                                                                       it declined to decide whether the result was “a product of
sea monitors.”      Id., at 375.
                                                                          Chevron step one or step two.”       Id., at 634.

                                                                       We granted certiorari in both cases, limited to the question
                                   C
                                                                       whether Chevron should be overruled or clarified. See 601
Petitioners Relentless Inc., Huntress Inc., and Seafreeze Fleet        U. S. ––––, 144 S.Ct. 325, 217 L.Ed.2d 154 (2023); 598 U. S.
LLC own two vessels that operate in the Atlantic herring               ––––, 144 S.Ct. 417, 217 L.Ed.2d 232 (2023). 2
                                                           1
fishery: the F/V Relentless and the F/V Persistence. These
vessels use small-mesh bottom-trawl gear and can freeze fish
at sea, so they can catch more species of fish and take longer
                                                                                                      II
trips than other vessels (about 10 to 14 days, as opposed to



                 © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                                 8
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                       Filed: 08/02/2024            Page 15 of 59

                                                                   “[i]n the construction of a doubtful and ambiguous law, the
                                                                   contemporaneous construction of those who were called upon
                               A
                                                                   to act under the law, and were appointed to carry its provisions
Article III of the Constitution assigns to the Federal Judiciary   into effect, is entitled to very great respect.” Id., at 210; see
the responsibility and power to adjudicate “Cases” and             also   United States v. Vowell, 5 Cranch 368, 372, 3 L.Ed.
“Controversies”—concrete disputes with consequences for            128 (1809) (Marshall, C. J., for the Court).
the parties involved. The Framers appreciated that the laws
judges would necessarily apply in resolving those disputes          *2258 Such respect was thought especially warranted
would not always be clear. Cognizant of the limits of human        when an Executive Branch interpretation was issued roughly
language and foresight, they anticipated that “[a]ll new laws,     contemporaneously with enactment of the statute and
though penned with the greatest technical skill, and passed on
the fullest and most mature deliberation,” would be “more or       remained consistent over time. See         Dickson, 15 Pet. at
less obscure and equivocal, until their meaning” was settled       161;   United States v. Alabama Great Southern R. Co.,
“by a series of particular discussions and adjudications.” The     142 U.S. 615, 621, 12 S.Ct. 306, 35 L.Ed. 1134 (1892);
Federalist No. 37, p. 236 (J. Cooke ed. 1961) (J. Madison).
                                                                      National Lead Co. v. United States, 252 U.S. 140, 145–
                                                                   146, 40 S.Ct. 237, 64 L.Ed. 496 (1920). That is because
The Framers also envisioned that the final “interpretation of
                                                                   “the longstanding ‘practice of the government’ ”—like any
the laws” would be “the proper and peculiar province of the
                                                                   other interpretive aid—“can inform [a court's] determination
courts.” Id., No. 78, at 525 (A. Hamilton). Unlike the political
branches, the courts would by design exercise “neither Force       of ‘what the law is.’ ” NLRB v. Noel Canning, 573 U.S.
nor Will, but merely judgment.” Id., at 523. To ensure the         513, 525, 134 S.Ct. 2550, 189 L.Ed.2d 538 (2014) (first
“steady, upright and impartial administration of the laws,”        quoting      McCulloch v. Maryland, 4 Wheat. 316, 401, 4
the Framers structured the Constitution to allow judges to
exercise that judgment independent of influence from the           L.Ed. 579 (1819); then quoting        Marbury, 1 Cranch at
                                                                   177). The Court also gave “the most respectful consideration”
political branches. Id., at 522; see id., at 522–524; Stern        to Executive Branch interpretations simply because “[t]he
v. Marshall, 564 U.S. 462, 484, 131 S.Ct. 2594, 180 L.Ed.2d        officers concerned [were] usually able men, and masters of
475 (2011).                                                        the subject,” who were “[n]ot unfrequently ... the draftsmen
                                                                   of the laws they [were] afterwards called upon to interpret.”
This Court embraced the Framers’ understanding of the              United States v. Moore, 95 U.S. 760, 763, 24 L.Ed. 588
judicial function early on. In the foundational decision of        (1878); see also Jacobs v. Prichard, 223 U.S. 200, 214, 32
   Marbury v. Madison, Chief Justice Marshall famously             S.Ct. 289, 56 L.Ed. 405 (1912).
declared that “[i]t is emphatically the province and duty of the
                                                                   “Respect,” though, was just that. The views of the Executive
judicial department to say what the law is.”   1 Cranch 137,
                                                                   Branch could inform the judgment of the Judiciary, but did
177, 2 L.Ed. 60 (1803). And in the following decades, the
                                                                   not supersede it. Whatever respect an Executive Branch
Court understood “interpret[ing] the laws, in the last resort,”
                                                                   interpretation was due, a judge “certainly would not be
to be a “solemn duty” of the Judiciary.        United States v.    bound to adopt the construction given by the head of a
Dickson, 15 Pet. 141, 162, 10 L.Ed. 689 (1841) (Story, J., for
                                                                   department.”      Decatur, 14 Pet. at 515; see also      Burnet
the Court). When the meaning of a statute was at issue, the
                                                                   v. Chicago Portrait Co., 285 U.S. 1, 16, 52 S.Ct. 275, 76
judicial role was to “interpret the act of Congress, in order to
                                                                   L.Ed. 587 (1932). Otherwise, judicial judgment would not be
ascertain the rights of the parties.” Decatur v. Paulding, 14      independent at all. As Justice Story put it, “in cases where [a
Pet. 497, 515, 10 L.Ed. 559 (1840).                                court's] own judgment ... differ[ed] from that of other high
                                                                   functionaries,” the court was “not at liberty to surrender, or to
The Court also recognized from the outset, though, that
                                                                   waive it.”     Dickson, 15 Pet. at 162.
exercising independent judgment often included according
due respect to Executive Branch interpretations of federal
statutes. For example, in Edwards’ Lessee v. Darby, 12
Wheat. 206, 6 L.Ed. 603 (1827), the Court explained that



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                              9
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024              Page 16 of 59

                                                                   —could be entitled to “great weight.”       American Trucking
                               B                                   Assns., 310 U.S. at 549, 60 S.Ct. 1059.

The New Deal ushered in a “rapid expansion of the
                                                                   Perhaps most notably along those lines, in       Skidmore v.
administrative process.”  United States v. Morton Salt Co.,        Swift & Co., 323 U.S. 134, 65 S.Ct. 161, 89 L.Ed. 124 (1944),
338 U.S. 632, 644, 70 S.Ct. 357, 94 L.Ed. 401 (1950).              the Court explained that the “interpretations and opinions”
But as new agencies with new powers proliferated, the              of the relevant agency, “made in pursuance of official duty”
Court continued to adhere to the traditional understanding         and “based upon ... specialized experience,” “constitute[d] a
that questions of law were for courts to decide, exercising        body of experience and informed judgment to which courts
independent judgment.                                              and litigants [could] properly resort for guidance,” even

During this period, the Court often treated agency                 on legal questions.      Id., at 139–140, 65 S.Ct. 161. “The
determinations of fact as binding on the courts, provided that     weight of such a judgment in a particular case,” the Court
                                                                   observed, would “depend upon the thoroughness evident in
there was “evidence to support the findings.”        St. Joseph    its consideration, the validity of its reasoning, its consistency
Stock Yards Co. v. United States, 298 U.S. 38, 51, 56 S.Ct. 720,   with earlier and later pronouncements, and all those factors
80 L.Ed. 1033 (1936). “When the legislature itself acts within     which give it power to persuade, if lacking power to control.”
the broad field of legislative discretion,” the Court reasoned,
                                                                      Id., at 140, 65 S.Ct. 161.
“its determinations are conclusive.”   Ibid. Congress could
therefore “appoint[ ] an agent to act within that sphere of        On occasion, to be sure, the Court applied deferential review
legislative authority” and “endow the agent with power to          upon concluding that a particular statute empowered an
make findings of fact which are conclusive, provided the           agency to decide how a broad statutory term applied to
requirements of due process which are specially applicable to
such an agency are met, as in according a fair hearing and         specific facts found by the agency. For example, in    Gray
                                                                   v. Powell, 314 U.S. 402, 62 S.Ct. 326, 86 L.Ed. 301 (1941),
acting upon evidence and not arbitrarily.”     Ibid. (emphasis     the Court deferred to an administrative conclusion that a
added).                                                            coal-burning railroad that had arrangements with several coal
                                                                   mines was not a coal “producer” under the Bituminous Coal
But the Court did not extend similar deference to agency           Act of 1937. Congress had “specifically” granted the agency
resolutions of questions of law. It instead made clear,
repeatedly, that “[t]he interpretation of the meaning of           the authority to make that determination.       Id., at 411, 62
statutes, as applied to justiciable controversies,” was            S.Ct. 326. The Court thus reasoned that “[w]here, as here,
                                                                   a determination has been left to an administrative body, this
“exclusively a judicial function.”       United States v.          delegation will be respected and the administrative conclusion
American Trucking Assns., Inc., 310 U.S. 534, 544, 60 S.Ct.        left untouched” so long as the agency's decision constituted
1059, 84 L.Ed. 1345 (1940); see also    Social Security Bd.        “a sensible exercise of judgment.”         Id., at 412–413, 62
v. Nierotko, 327 U.S. 358, 369, 66 S.Ct. 637, 90 L.Ed. 718
                                                                   S.Ct. 326. Similarly, in     NLRB v. Hearst Publications,
(1946);    Medo Photo Supply Corp. v. NLRB, 321 U.S. 678,          Inc., 322 U.S. 111, 64 S.Ct. 851, 88 L.Ed. 1170 (1944), the
681–682, n. 1, 64 S.Ct. 830, 88 L.Ed. 1007 (1944). The             Court deferred to the determination of the National Labor
Court *2259 understood, in the words of Justice Brandeis,          Relations Board that newsboys were “employee[s]” within
that “[t]he supremacy of law demands that there shall be           the meaning of the National Labor Relations Act. The Act
opportunity to have some court decide whether an erroneous         had, in the Court's judgment, “assigned primarily” to the
rule of law was applied.”    St. Joseph Stock Yards, 298 U.S.      Board the task of marking a “definitive limitation around the
at 84, 56 S.Ct. 720 (concurring opinion). It also continued        term ‘employee.’ ”    Id., at 130, 64 S.Ct. 851. The Court
to note, as it long had, that the informed judgment of the         accordingly viewed its own role as “limited” to assessing
Executive Branch—especially in the form of an interpretation       whether the Board's determination had a “ ‘warrant in the
issued contemporaneously with the enactment of the statute
                                                                   record’ and a reasonable basis in law.”     Id., at 131, 64 S.Ct.
                                                                   851.



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            10
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                    Document #2068009                      Filed: 08/02/2024            Page 17 of 59

                                                                     explained, had “hardly seasoned or broadened into a settled
Such deferential review, though, was cabined to factbound            administrative practice,” and thus did not “overweigh the
                                                                     considerations” the Court had “set forth as to the proper
determinations like those at issue in      Gray and      Hearst.
                                                                     construction of the statute.”   Ibid.
Neither    Gray nor     Hearst purported to refashion the
longstanding judicial approach to questions of law. In
                                                                     Nothing in the New Deal era or before it thus resembled
   Gray, after deferring to the agency's determination that          the deference rule the Court would begin applying decades
a particular entity was not a “producer” of coal, the Court          later to all varieties of agency interpretations of statutes.
went on to discern, based on its own reading of the text,
                                                                     Instead, just five years after          Gray and two after
whether another statutory term—“other disposal” of coal
—encompassed a transaction lacking a transfer of title.                 Hearst, Congress codified the opposite rule: the traditional
                                                                     understanding that courts must “decide all relevant questions
See     314 U.S. at 416–417, 62 S.Ct. 326. The Court
evidently perceived no basis for deference to the agency             of law.”    5 U.S.C. § 706. 3
with respect to that pure legal question. And in          Hearst,
the Court proclaimed that “[u]ndoubtedly questions of
statutory interpretation ... are for the courts to resolve, giving                              *2261 C
appropriate weight to the judgment *2260 of those whose
                                                                     Congress in 1946 enacted the APA “as a check upon
special duty is to administer the questioned statute.”    322        administrators whose zeal might otherwise have carried them
U.S. at 130–131, 64 S.Ct. 851. At least with respect to              to excesses not contemplated in legislation creating their
questions it regarded as involving “statutory interpretation,”
the Court thus did not disturb the traditional rule. It              offices.”    Morton Salt, 338 U.S. at 644, 70 S.Ct. 357.
merely thought that a different approach should apply where          It was the culmination of a “comprehensive rethinking of
application of a statutory term was sufficiently intertwined         the place of administrative agencies in a regime of separate
with the agency's factfinding.                                       and divided powers.”     Bowen v. Michigan Academy of
                                                                     Family Physicians, 476 U.S. 667, 670–671, 106 S.Ct. 2133,
In any event, the Court was far from consistent in reviewing         90 L.Ed.2d 623 (1986).
deferentially even such factbound statutory determinations.
Often the Court simply interpreted and applied the statute           In addition to prescribing procedures for agency action, the
before it. See K. Davis, Administrative Law § 248, p. 893            APA delineates the basic contours of judicial review of
(1951) (“The one statement that can be made with confidence
                                                                     such action. As relevant here,     Section 706 directs that
about applicability of the doctrine of Gray v. Powell is that
                                                                     “[t]o the extent necessary to decision and when presented,
sometimes the Supreme Court applies it and sometimes it
                                                                     the reviewing court shall decide all relevant questions of
does not.”); B. Schwartz, Gray vs. Powell and the Scope
                                                                     law, interpret constitutional and statutory provisions, and
of Review, 54 Mich. L. Rev. 1, 68 (1955) (noting an
                                                                     determine the meaning or applicability of the terms of an
“embarrassingly large number of Supreme Court decisions
                                                                     agency action.”    5 U.S.C. § 706. It further requires courts
that do not adhere to the doctrine of    Gray v. Powell”). In
                                                                     to “hold unlawful and set aside agency action, findings, and
one illustrative example, the Court rejected the U. S. Price
Administrator's determination that a particular warehouse            conclusions found to be ... not in accordance with law.”     §
was a “public utility” entitled to an exemption from the             706(2)(A).
Administrator's General Maximum Price Regulation. Despite
the striking resemblance of that administrative determination        The APA thus codifies for agency cases the unremarkable,
                                                                     yet elemental proposition reflected by judicial practice dating
to those that triggered deference in Gray and   Hearst,
the Court declined to “accept the Administrator's view               back to    Marbury: that courts decide legal questions by
                                                                     applying their own judgment. It specifies that courts, not
in deference to administrative construction.”     Davies
                                                                     agencies, will decide “all relevant questions of law” arising
Warehouse Co. v. Bowles, 321 U.S. 144, 156, 64 S.Ct. 474,
88 L.Ed. 635 (1944). The Administrator's view, the Court             on review of agency action,       § 706 (emphasis added)—



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             11
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                     Document #2068009                Filed: 08/02/2024             Page 18 of 59

even those involving ambiguous laws—and set aside any such
                                                                 Executive Branch—opined after its enactment that Section
action inconsistent with the law as they interpret it. And it
                                                                 706 merely “restate[d] the present law as to the scope of
prescribes no deferential standard for courts to employ in
                                                                 judicial review.” Dept. of Justice, Attorney General's Manual
answering those legal questions. That omission is telling,
                                                                 on the Administrative Procedure Act 108 (1947); see also
because    Section 706 does mandate that judicial review
                                                                     Kisor, 588 U.S. at 582, 139 S.Ct. 2400 (plurality opinion)
of agency policymaking and factfinding be deferential. See
                                                                 (same). That “present law,” as we have described, adhered to
   § 706(2)(A) (agency action to be set aside if “arbitrary,     the traditional conception of the judicial function. See supra,
                                                                 at 2258 – 2261.
capricious, [or] an abuse of discretion”);     § 706(2)(E)
(agency factfinding in formal proceedings to be set aside if
                                                                 Various respected commentators contemporaneously
“unsupported by substantial evidence”).
                                                                 maintained that the APA required reviewing courts to
                                                                 exercise independent judgment on questions of law. Professor
In a statute designed to “serve as the fundamental charter
                                                                 John Dickinson, for example, read the APA to “impose a
of the administrative state,”    Kisor v. Wilkie, 588 U.S.       clear mandate that all [questions of law] shall be decided
558, 580, 139 S.Ct. 2400, 204 L.Ed.2d 841 (2019) (plurality      by the reviewing Court itself, and in the exercise of its
opinion) (internal quotation marks omitted), Congress surely     own independent judgment.” Administrative Procedure Act:
would have articulated a similarly deferential standard          Scope and Grounds of Broadened Judicial Review, 33 A.
applicable to questions of law had it intended to depart         B. A. J. 434, 516 (1947). Professor Bernard Schwartz noted
from the settled pre-APA understanding that deciding such
                                                                 that    § 706 “would seem ... to be merely a legislative
questions was “exclusively a judicial function,”     American    restatement of the familiar review principle that questions
Trucking Assns., 310 U.S. at 544, 60 S.Ct. 1059. But nothing     of law are for the reviewing court, at the same time leaving
in the APA hints at such a dramatic departure. On the            to the courts the task of determining in each case what are
contrary, by directing courts to “interpret constitutional and   questions of law.” Mixed Questions of Law and Fact and the
statutory provisions” without differentiating between the two,   Administrative Procedure Act, 19 Ford. L. Rev. 73, 84–85
    Section 706 makes clear that agency interpretations of       (1950). And Professor Louis Jaffe, who had served in several
statutes—like agency interpretations of the Constitution—are     agencies at the advent of the New Deal, thought that § 706
not entitled to deference. Under the APA, it thus “remains the   leaves it up to the reviewing “court” to “decide as a ‘question
responsibility of the court to decide whether the law means      of law’ whether there is ‘discretion’ in the premises”—that is,
what the agency says.”   Perez v. Mortgage Bankers Assn.,        whether the statute at issue delegates particular discretionary
575 U.S. 92, 109, 135 S.Ct. 1199, 191 L.Ed.2d 186 (2015)         authority to an agency. Judicial Control of Administrative
                                                                 Action 570 (1965).
(Scalia, J., concurring in judgment). 4

                                                                 The APA, in short, incorporates the traditional understanding
 *2262 The text of the APA means what it says. And a
                                                                 of the judicial function, under which courts must exercise
look at its history if anything only underscores that plain
                                                                 independent judgment in determining the meaning of
meaning. According to both the House and Senate Reports
                                                                 statutory provisions. In exercising such judgment, though,
on the legislation,   Section 706 “provide[d] that questions     courts may—as they have from the start—seek aid from
of law are for courts rather than agencies to decide in          the interpretations of those responsible for implementing
the last analysis.” H. R. Rep. No. 1980, 79th Cong., 2d          particular statutes. Such interpretations “constitute a body
Sess., 44 (1946) (emphasis added); accord, S. Rep. No. 752,      of experience and informed judgment to which courts and
79th Cong., 1st Sess., 28 (1945). Some of the legislation's      litigants may properly resort for guidance” consistent with
most prominent supporters articulated the same view. See
                                                                 the APA.      Skidmore, 323 U.S. at 140, 65 S.Ct. 161. And
92 Cong. Rec. 5654 (1946) (statement of Rep. Walter); P.
                                                                 interpretations issued contemporaneously with the statute at
McCarran, Improving “Administrative Justice”: Hearings and
                                                                 issue, and which have remained consistent over time, may
Evidence; Scope of Judicial Review, 32 A. B. A. J. 827,
                                                                 be especially useful in determining the statute's meaning. See
831 (1946). Even the Department of Justice—an agency with
every incentive to endorse a view of the APA favorable to the       ibid.;   American Trucking Assns., 310 U.S. at 549, 60
                                                                 S.Ct. 1059.


               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                          12
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                    Filed: 08/02/2024             Page 19 of 59

                                                                  review agency interpretations of the statutes they administer
 *2263 In a case involving an agency, of course, the statute's    by independently examining each statute to determine its
meaning may well be that the agency is authorized to exercise     meaning. Cf. T. Merrill, Judicial Deference to Executive
a degree of discretion. Congress has often enacted such           Precedent, 101 Yale L. J. 969, 972–975 (1992). As an early
statutes. For example, some statutes “expressly delegate[ ]”
                                                                  proponent (and later critic) of     Chevron recounted, courts
to an agency the authority to give meaning to a particular
                                                                  during this period thus identified delegations of discretionary
statutory term.       Batterton v. Francis, 432 U.S. 416, 425,    authority to agencies on a “statute-by-statute basis.” A. Scalia,
97 S.Ct. 2399, 53 L.Ed.2d 448 (1977) (emphasis deleted). 5         *2264 Judicial Deference to Administrative Interpretations
Others empower an agency to prescribe rules to “fill up the       of Law, 1989 Duke L. J. 511, 516.

details” of a statutory scheme,    Wayman v. Southard, 10
Wheat. 1, 43, 6 L.Ed. 253 (1825), or to regulate subject to           Chevron, decided in 1984 by a bare quorum of six Justices,
the limits imposed by a term or phrase that “leaves agencies      triggered a marked departure from the traditional approach.
                                                                  The question in the case was whether an EPA regulation
with flexibility,” Michigan v. EPA, 576 U.S. 743, 752, 135        “allow[ing] States to treat all of the pollution-emitting devices
S.Ct. 2699, 192 L.Ed.2d 674 (2015), such as “appropriate” or      within the same industrial grouping as though they were
“reasonable.” 6                                                   encased within a single ‘bubble’ ” was consistent with the
                                                                  term “stationary source” as used in the Clean Air Act. 467
When the best reading of a statute is that it delegates
                                                                  U.S. at 840, 104 S.Ct. 2778. To answer that question of
discretionary authority to an agency, the role of the reviewing
                                                                  statutory interpretation, the Court articulated and employed a
court under the APA is, as always, to independently
                                                                  now familiar two-step approach broadly applicable to review
interpret the statute and effectuate the will of Congress
                                                                  of agency action.
subject to constitutional limits. The court fulfills that
role by recognizing constitutional delegations, “fix[ing] the
                                                                  The first step was to discern “whether Congress ha[d] directly
boundaries of [the] delegated authority,” H. Monaghan,
Marbury and the Administrative State, 83 Colum. L. Rev. 1,        spoken to the precise question at issue.”      Id., at 842,
27 (1983), and ensuring the agency has engaged in “ ‘reasoned     104 S.Ct. 2778. The Court explained that “[i]f the intent of

decisionmaking’ ” within those boundaries,      Michigan, 576     Congress is clear, that is the end of the matter,” ibid., and
                                                                  courts were therefore to “reject administrative constructions
U.S. at 750, 135 S.Ct. 2699 (quoting Allentown Mack Sales
& Service, Inc. v. NLRB, 522 U.S. 359, 374, 118 S.Ct. 818, 139    which are contrary to clear congressional intent,”     id., at
                                                                  843, n. 9, 104 S.Ct. 2778. To discern such intent, the Court
L.Ed.2d 797 (1998)); see also       Motor Vehicle Mfrs. Assn.
                                                                  noted, a reviewing court was to “employ[ ] traditional tools
of United States, Inc. v. State Farm Mut. Automobile Ins. Co.,
463 U.S. 29, 103 S.Ct. 2856, 77 L.Ed.2d 443 (1983). By doing      of statutory construction.”     Ibid.
so, a court upholds the traditional conception of the judicial
function that the APA adopts.                                     Without mentioning the APA, or acknowledging any doctrinal
                                                                  shift, the Court articulated a second step applicable when
                                                                  “Congress ha[d] not directly addressed the precise question

                               III                                at issue.”      Id., at 843, 104 S.Ct. 2778. In such a case—
                                                                  that is, a case in which “the statute [was] silent or ambiguous
The deference that    Chevron requires of courts reviewing        with respect to the specific issue” at hand—a reviewing
agency action cannot be squared with the APA.                     court could not “simply impose its own construction on
                                                                  the statute, as would be necessary in the absence of an
                                                                  administrative interpretation.”     Ibid. (footnote omitted). A
                                A                                 court instead had to set aside the traditional interpretive tools
                                                                  and defer to the agency if it had offered “a permissible
In the decades between the enactment of the APA and this
                                                                  construction of the statute,” ibid., even if not “the
Court's decision in      Chevron, courts generally continued to   reading the court would have reached if the question



                  © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                         13
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024             Page 20 of 59

                                                                   v. Brand X Internet Services, 545 U.S. 967, 982, 125 S.Ct.
initially had arisen in a judicial proceeding,”       ibid., n.
                                                                   2688, 162 L.Ed.2d 820 (2005).
11. That directive was justified, according to the Court,
by the understanding that administering statutes “requires
the formulation of policy” to fill statutory “gap[s]”; by the
long judicial tradition of according “considerable weight”                                        B
to Executive Branch interpretations; and by a host of other
considerations, including the complexity of the regulatory         Neither Chevron nor any subsequent decision of this Court
scheme, EPA's “detailed and reasoned” consideration, the           attempted to reconcile its framework with the APA. The “law
policy-laden nature of the judgment supposedly required, and       of deference” that this Court has built on the foundation laid
the agency's indirect accountability to the people through the
                                                                   in    Chevron has instead been “[h]eedless of the original
President.    Id., at 843, 844, and n. 14, 865, 104 S.Ct. 2778.
                                                                   design” of the APA. Perez, 575 U.S. at 109, 135 S.Ct. 1199
                                                                   (Scalia, J., concurring in judgment).
Employing this new test, the Court concluded that Congress
had not addressed the question at issue with the necessary
“level of specificity” and that EPA's interpretation was
“entitled to deference.”  Id., at 865, 104 S.Ct. 2778. It                                         1
did not matter why Congress, as the Court saw it, had not
                                                                       Chevron defies the command of the APA that “the
squarely addressed the question, see   ibid., or that “the         reviewing court”—not the agency whose action it reviews—
agency ha[d] from time to time changed its interpretation,”
                                                                   is to “decide all relevant questions of law” and “interpret ...
  id., at 863, 104 S.Ct. 2778. The latest EPA interpretation
                                                                   statutory provisions.”   § 706 (emphasis added). It requires
was a permissible reading of the Clean Air Act, so under the
                                                                   a court to ignore, not follow, “the reading the court would
Court's new rule, that reading controlled.
                                                                   have reached” had it exercised its independent judgment
                                                                   as required by the APA.      Chevron, 467 U.S. at 843, n.
Initially,    Chevron “seemed destined to obscurity.” T.
                                                                   11, 104 S.Ct. 2778. And although exercising independent
Merrill, The Story of Chevron: The Making of an Accidental
                                                                   judgment is consistent with the “respect” historically given
Landmark, 66 Admin. L. Rev. 253, 276 (2014). The Court
                                                                   to Executive Branch interpretations, see, e.g., Edwards’
did not at first treat it as the watershed decision it was fated
to become; it was hardly cited in cases involving statutory        Lessee, 12 Wheat. at 210;          Skidmore, 323 U.S. at 140,
questions of agency authority. See ibid. But within a few          65 S.Ct. 161,     Chevron insists on much more. It demands
years, both this Court and the courts of appeals were routinely    that courts mechanically afford binding deference to agency
invoking its two-step framework as the governing standard          interpretations, including those that have been inconsistent
in such cases. See id., at 276–277. As the Court did so,
                                                                   over time. See      467 U.S. at 863, 104 S.Ct. 2778. Still
it revisited the doctrine's justifications. *2265 Eventually,
                                                                   worse, it forces courts to do so even when a pre-existing
the Court decided that      Chevron rested on “a presumption       judicial precedent holds that the statute means something else
that Congress, when it left ambiguity in a statute meant for       —unless the prior court happened to also say that the statute is
implementation by an agency, understood that the ambiguity
                                                                   “unambiguous.” Brand X, 545 U.S. at 982, 125 S.Ct. 2688.
would be resolved, first and foremost, by the agency, and
                                                                   That regime is the antithesis of the time honored approach the
desired the agency (rather than the courts) to possess whatever
                                                                   APA prescribes. In fretting over the prospect of “allow[ing]”
degree of discretion the ambiguity allows.”      Smiley v.         a judicial interpretation of a statute “to override an agency's”
Citibank (South Dakota), N. A., 517 U.S. 735, 740–741, 116
                                                                   in a dispute before a court,     ibid.,   Chevron turns the
S.Ct. 1730, 135 L.Ed.2d 25 (1996); see also, e.g., Cuozzo          statutory scheme for judicial review of agency action upside
Speed Technologies, LLC v. Lee, 579 U.S. 261, 276–277, 136         down.
S.Ct. 2131, 195 L.Ed.2d 423 (2016); Utility Air Regulatory
Group v. EPA, 573 U.S. 302, 315, 134 S.Ct. 2427, 189 L.Ed.2d         Chevron cannot be reconciled with the APA, as the
372 (2014);     National Cable & Telecommunications Assn.          Government and the dissent contend, by presuming that


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            14
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024              Page 21 of 59

statutory ambiguities are implicit delegations to agencies. See
                                                                   reached” if no agency were involved.         Chevron, 467 U.S.
Brief for Respondents in No. 22–1219, pp. 13, 37–38; post,
                                                                   at 843, n. 11, 104 S.Ct. 2778. It therefore makes no sense to
at 2295 – 2302 (opinion of KAGAN, J.). Presumptions have
                                                                   speak of a “permissible” interpretation that is not the one the
their place in statutory interpretation, but only to the extent
                                                                   court, after applying all relevant interpretive tools, concludes
that they approximate reality. Chevron’s presumption does          is best. In the business of statutory interpretation, if it is not
not, because “[a]n ambiguity is simply not a delegation            the best, it is not permissible.
of law-interpreting power.     Chevron confuses the two.”
C. Sunstein, Interpreting Statutes in the Regulatory State,        Perhaps most fundamentally,       Chevron’s presumption is
                                                                   misguided because agencies have no special competence in
103 Harv. L. Rev. 405, 445 (1989). As        Chevron itself
                                                                   resolving statutory ambiguities. Courts do. The Framers, as
noted, ambiguities may result from an inability on the part
                                                                   noted, anticipated that courts would often confront statutory
of Congress to squarely answer the question at hand, or from
                                                                   ambiguities and expected that courts would resolve them by
a failure to even “consider the question” with the requisite
                                                                   exercising independent legal judgment. And even Chevron
precision.     467 U.S. at 865, 104 S.Ct. 2778. In neither
                                                                   itself reaffirmed that “[t]he judiciary is the final authority on
case does an ambiguity necessarily reflect a congressional
                                                                   issues of statutory construction” and recognized that “in the
intent that an agency, as opposed to a court, resolve the
                                                                   absence of an administrative interpretation,” it is “necessary”
resulting interpretive question. And many or perhaps most
                                                                   for a court to “impose its own construction on the statute.”
statutory ambiguities may be *2266 unintentional. As the
Framers recognized, ambiguities will inevitably follow from            Id., at 843, and n. 9, 104 S.Ct. 2778.    Chevron gravely
“the complexity of objects, ... the imperfection of the human      erred, though, in concluding that the inquiry is fundamentally
faculties,” and the simple fact that “no language is so copious    different just because an administrative interpretation is in
as to supply words and phrases for every complex idea.” The        play. The very point of the traditional tools of statutory
Federalist No. 37, at 236.                                         construction—the tools courts use every day—is to resolve
                                                                   statutory ambiguities. That is no less true when the ambiguity
Courts, after all, routinely confront statutory ambiguities in     is about the scope of an agency's own power—perhaps the
                                                                   occasion on which abdication in favor of the agency is least
cases having nothing to do with           Chevron—cases that
                                                                   appropriate.
do not involve agency interpretations or delegations of
authority. Of course, when faced with a statutory ambiguity
in such a case, the ambiguity is not a delegation to anybody,
and a court is not somehow relieved of its obligation to                                           2
independently interpret the statute. Courts in that situation
do not throw up their hands because “Congress's instructions       The Government responds that Congress must generally
have” supposedly “run out,” leaving a statutory “gap.” Post,       intend for agencies to resolve statutory ambiguities because
at 2294 (opinion of KAGAN, J.). Courts instead understand          agencies have subject matter expertise regarding the
that such statutes, no matter how impenetrable, do—in fact,        statutes they administer; because deferring to agencies
must—have a single, best meaning. That is the whole point          purportedly promotes the uniform construction of federal
of having written statutes; “every statute's meaning is fixed at   law; and because resolving statutory ambiguities can involve
                                                                   policymaking best left to political actors, rather than courts.
the time of enactment.”     Wisconsin Central Ltd. v. United       See Brief for Respondents in No. 22–1219, pp. 16–19. The
States, 585 U.S. 274, 284, 138 S.Ct. 2067, 201 L.Ed.2d 490         dissent offers more of the same. See post, at 2298 – 2301. But
(2018) (emphasis deleted). So instead of declaring a particular
party's reading “permissible” in such a case, courts use every     none of these considerations justifies  Chevron’s *2267
tool at their disposal to determine the best reading of the        sweeping presumption of congressional intent.
statute and resolve the ambiguity.
                                                                   Beginning with expertise, we recently noted that interpretive
In an agency case as in any other, though, even if some judges     issues arising in connection with a regulatory scheme often
might (or might not) consider the statute ambiguous, there is a    “may fall more naturally into a judge's bailiwick” than
best reading all the same—“the reading the court would have        an agency's.    Kisor, 588 U.S. at 578, 139 S.Ct. 2400
                                                                   (opinion of the Court). We thus observed that “[w]hen the


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             15
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 22 of 59

agency has no comparative expertise in resolving a regulatory      Executive Branch. And to the extent that Congress and the
ambiguity, Congress presumably would not grant it that             Executive Branch may disagree with how the courts have
                                                                   performed that job in a particular case, they are of course
authority.”    Ibid.     Chevron’s broad rule of deference,
                                                                   always free to act by revising the statute.
though, demands that courts presume just the opposite. Under
that rule, ambiguities of all stripes trigger deference. Indeed,
                                                                   Nor does a desire for the uniform construction of federal
the Government and, seemingly, the dissent continue to
                                                                   law justify    Chevron. Given inconsistencies in how judges
defend the proposition that    Chevron applies even in cases
having little to do with an agency's technical subject matter      apply      Chevron, see infra, at 2270 – 2272, it is unclear
expertise. See Brief for Respondents in No. 221219, p. 17;         how much the doctrine as a whole (as opposed to its highly
post, at 2298 – 2299.                                              deferential second step) actually promotes such uniformity.
                                                                   In any event, there is little value in imposing a uniform
But even when an ambiguity happens to implicate a technical        interpretation of a statute if that interpretation is wrong. We
matter, it does not follow that Congress has taken the power       see no reason to presume that Congress prefers uniformity for
to authoritatively interpret the statute from the courts and       uniformity's sake over the correct interpretation of the laws
given it to the agency. Congress expects courts to handle          it enacts.
technical statutory questions. “[M]any statutory cases” call
upon “courts [to] interpret the mass of technical detail that is   The view that interpretation of ambiguous statutory
                                                                   provisions amounts to policymaking *2268 suited for
the ordinary diet of the law,” Egelhoff v. Egelhoff, 532 U.S.
                                                                   political actors rather than courts is especially mistaken, for
141, 161, 121 S.Ct. 1322, 149 L.Ed.2d 264 (2001) (Breyer, J.,
                                                                   it rests on a profound misconception of the judicial role.
dissenting), and courts did so without issue in agency cases
                                                                   It is reasonable to assume that Congress intends to leave
before     Chevron, see post, at 2291 – 2292 (GORSUCH, J.,         policymaking to political actors. But resolution of statutory
concurring). Courts, after all, do not decide such questions       ambiguities involves legal interpretation. That task does not
blindly. The parties and amici in such cases are steeped in        suddenly become policymaking just because a court has an
the subject matter, and reviewing courts have the benefit of
                                                                   “agency to fall back on.”        Kisor, 588 U.S. at 575, 139
their perspectives. In an agency case in particular, the court
                                                                   S.Ct. 2400 (opinion of the Court). Courts interpret statutes, no
will go about its task with the agency's “body of experience
                                                                   matter the context, based on the traditional tools of statutory
and informed judgment,” among other information, at its
                                                                   construction, not individual policy preferences. Indeed, the
disposal.    Skidmore, 323 U.S. at 140, 65 S.Ct. 161. And          Framers crafted the Constitution to ensure that federal judges
although an agency's interpretation of a statute “cannot bind      could exercise judgment free from the influence of the
a court,” it may be especially informative “to the extent it       political branches. See The Federalist, No. 78, at 522–525.
rests on factual premises within [the agency's] expertise.”        They were to construe the law with “[c]lear heads ... and
   Bureau of Alcohol, Tobacco and Firearms v. FLRA, 464            honest hearts,” not with an eye to policy preferences that had
U.S. 89, 98, n. 8, 104 S.Ct. 439, 78 L.Ed.2d 195 (1983).           not made it into the statute. 1 Works of James Wilson 363 (J.
Such expertise has always been one of the factors which may        Andrews ed. 1896).
give an Executive Branch interpretation particular “power
                                                                   That is not to say that Congress cannot or does not confer
to persuade, if lacking power to control.”      Skidmore, 323      discretionary authority on agencies. Congress may do so,
U.S. at 140, 65 S.Ct. 161; see, e.g.,    County of Maui v.         subject to constitutional limits, and it often has. But to
Hawaii Wildlife Fund, 590 U.S. 165, 180, 140 S.Ct. 1462, 206       stay out of discretionary policymaking left to the political
L.Ed.2d 640 (2020); Moore, 95 U.S. at 763.                         branches, judges need only fulfill their obligations under the
                                                                   APA to independently identify and respect such delegations
For those reasons, delegating ultimate interpretive authority      of authority, police the outer statutory boundaries of those
to agencies is simply not necessary to ensure that the             delegations, and ensure that agencies exercise their discretion
resolution of statutory ambiguities is well informed by            consistent with the APA. By forcing courts to instead pretend
subject matter expertise. The better presumption is therefore      that ambiguities are necessarily delegations, Chevron does
that Congress expects courts to do their ordinary job of           not prevent judges from making policy. It prevents them from
interpreting statutes, with due respect for the views of the       judging.


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            16
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                      Filed: 08/02/2024           Page 23 of 59

                                                                  *2269 Even where those procedural hurdles are cleared,
                                                                  substantive ones remain. Most notably,   Chevron does not
                              3                                   apply if the question at issue is one of “deep ‘economic
                                                                  and political significance.’ ” King v. Burwell, 576 U.S.
In truth,   Chevron’s justifying presumption is, as Members       473, 486, 135 S.Ct. 2480, 192 L.Ed.2d 483 (2015). We
of this Court have often recognized, a fiction. See Buffington    have instead expected Congress to delegate such authority
v. McDonough, 598 U. S. ––––, ––––, 143 S.Ct. 14, 19–
20, 214 L.Ed.2d 206 (2022) (GORSUCH, J., dissenting               “expressly” if at all,   ibid., for “[e]xtraordinary grants
                                                                  of regulatory authority are rarely accomplished through
from denial of certiorari);  Cuozzo, 579 U.S. at 286, 136         ‘modest words,’ ‘vague terms,’ or ‘subtle device[s],’ ”
S.Ct. 2131 (THOMAS, J., concurring); Scalia, 1989 Duke
L. J., at 517; see also post, at 2301 – 2302 (opinion of               West Virginia v. EPA, 597 U.S. 697, 723, 142 S.Ct. 2587,
KAGAN, J.). So we have spent the better part of four              ––– L.Ed.2d –––– (2022) (quoting    Whitman v. American
decades imposing one limitation on Chevron after another,         Trucking Assns., Inc., 531 U.S. 457, 468, 121 S.Ct. 903,
pruning its presumption on the understanding that “where          149 L.Ed.2d 1 (2001); alteration in original). Nor have
it is in doubt that Congress actually intended to delegate        we applied      Chevron to agency interpretations of judicial
particular interpretive authority to an agency,    Chevron is     review provisions, see     Adams Fruit Co., 494 U.S. at 649–
‘inapplicable.’ ”   United States v. Mead Corp., 533 U.S.         650, 110 S.Ct. 1384, or to statutory schemes not administered
218, 230, 121 S.Ct. 2164, 150 L.Ed.2d 292 (2001) (quoting         by the agency seeking deference, see     Epic Systems Corp.
   Christensen v. Harris County, 529 U.S. 576, 597, 120 S.Ct.     v. Lewis, 584 U.S. 497, 519–520, 138 S.Ct. 1612, 200 L.Ed.2d
1655, 146 L.Ed.2d 621 (2000) (Breyer, J., dissenting)); see       889 (2018). And we have sent mixed signals on whether

also    Adams Fruit Co. v. Barrett, 494 U.S. 638, 649, 110             Chevron applies when a statute has criminal applications.
S.Ct. 1384, 108 L.Ed.2d 585 (1990).                               Compare       Abramski v. United States, 573 U.S. 169, 191,
                                                                  134 S.Ct. 2259, 189 L.Ed.2d 262 (2014), with      Babbitt v.
Consider the many refinements we have made in an effort
                                                                  Sweet Home Chapter, Communities for Great Ore., 515 U.S.
to match     Chevron’s presumption to reality. We have said       687, 704, n. 18, 115 S.Ct. 2407, 132 L.Ed.2d 597 (1995).
that   Chevron applies only “when it appears that Congress
delegated authority to the agency generally to make rules         Confronted with this byzantine set of preconditions and
carrying the force of law, and that the agency interpretation     exceptions, some courts have simply bypassed         Chevron,
claiming deference was promulgated in the exercise of             saying it makes no difference for one reason or another. 7
that authority.”   Mead, 533 U.S. at 226–227, 121 S.Ct.           And even when they do invoke        Chevron, courts do not
2164. In practice, that threshold requirement—sometimes           always heed the various steps and nuances of that evolving
called     Chevron “step zero”—largely limits    Chevron          doctrine. In one of the cases before us today, for example,
to “the fruits of notice-and-comment rulemaking or formal         the First Circuit both skipped “step zero,” see       62 F.4th
adjudication.”      533 U.S. at 230, 121 S.Ct. 2164. But          at 628, and refused to “classify [its] conclusion as a product
even when those processes are used, deference is still not        of     Chevron step one or step two”—though it ultimately
warranted “where the regulation is ‘procedurally defective’—
that is, where the agency errs by failing to follow the correct   appears to have deferred under step two,     id., at 634.

procedures in issuing the regulation.” Encino Motorcars,          This Court, for its part, has not deferred to an agency
LLC v. Navarro, 579 U.S. 211, 220, 136 S.Ct. 2117, 195
                                                                  interpretation under Chevron since 2016. See   Cuozzo,
L.Ed.2d 382 (2016) (quoting       Mead, 533 U.S. at 227, 121      579 U.S. at 280, 136 S.Ct. 2131 (most recent occasion).
S.Ct. 2164).
                                                                  But    Chevron remains on the books. So litigants must
                                                                  continue to wrestle with it, and lower courts—bound by



               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            17
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                 Document #2068009                     Filed: 08/02/2024            Page 24 of 59

even our crumbling precedents, see Agostini v. Felton, 521       See, e.g.,  Pereira v. Sessions, 585 U.S. 198, 219–221,
U.S. 203, 238, 117 S.Ct. 1997, 138 L.Ed.2d 391 (1997)—           138 S.Ct. 2105, 201 L.Ed.2d 433 (2018) (Kennedy, J.,
understandably continue to apply it.
                                                                 concurring);    Michigan, 576 U.S. at 760–764, 135 S.Ct.
                                                                 2699 (THOMAS, J., concurring); Buffington, 598 U. S. ––––,
The experience of the last 40 years has thus done
                                                                 143 S.Ct. 14, 214 L.Ed.2d 206 (opinion of GORSUCH, J.);
little to rehabilitate   Chevron. It has only made clear         B. Kavanaugh, Fixing Statutory Interpretation, 129 Harv. L.
                                                                 Rev. 2118, 2150–2154 (2016). Even Justice Scalia, an early
that    Chevron’s fictional presumption of congressional
intent was always unmoored from the APA's demand that            champion of      Chevron, came to seriously doubt whether it
courts exercise independent judgment in construing statutes
                                                                 could be reconciled with the APA. See  Perez, 575 U.S. at
administered by agencies. At best, our intricate    Chevron      109–110, 135 S.Ct. 1199 (opinion concurring in judgment).
doctrine has been nothing more than a distraction from
                                                                 For its entire existence,   Chevron has been a “rule in search
the question that matters: Does the statute authorize the
challenged agency action? And at worst, it *2270 has             of a justification,” Knick, 588 U.S. at 204, 139 S.Ct. 2162,
required courts to violate the APA by yielding to an agency      if it was ever coherent enough to be called a rule at all.
the express responsibility, vested in “the reviewing court,”
to “decide all relevant questions of law” and “interpret ...     Experience has also shown that       Chevron is unworkable.
statutory provisions.”   § 706 (emphasis added).                 The defining feature of its framework is the identification of
                                                                 statutory ambiguity, which requires deference at the doctrine's
                                                                 second step. But the concept of ambiguity has always evaded
                                                                 meaningful definition. As Justice Scalia put the dilemma
                             IV
                                                                 just five years after  Chevron was decided: “How clear is
The only question left is whether stare decisis, the doctrine    clear?” 1989 Duke L. J., at 521.
governing judicial adherence to precedent, requires us to
persist in the    Chevron project. It does not. Stare decisis    We are no closer to an answer to that question than we were
                                                                 four decades ago. “ ‘[A]mbiguity’ is a term that may have
is not an “inexorable command,”       Payne v. Tennessee, 501
U.S. 808, 828, 111 S.Ct. 2597, 115 L.Ed.2d 720 (1991),           different meanings for different judges.”     Exxon Mobil
and the stare decisis considerations most relevant here—“the     Corp. v. Allapattah Services, Inc., 545 U.S. 546, 572, 125
quality of [the precedent's] reasoning, the workability of the   S.Ct. 2611, 162 L.Ed.2d 502 (2005) (Stevens, J., dissenting).
                                                                 One judge might see ambiguity everywhere; another might
rule it established, ... and reliance on the decision,” Knick    never encounter it. Compare L. Silberman, Chevron—The
v. Township of Scott, 588 U.S. 180, 203, 139 S.Ct. 2162,         Intersection of Law & Policy, 58 Geo. Wash. L. Rev. 821,
204 L.Ed.2d 558 (2019) (quoting    Janus v. State, County,       822 (1990), with R. Kethledge, Ambiguities and Agency
and Municipal Employees, 585 U.S. 878, 917, 138 S.Ct.            Cases: Reflections After (Almost) Ten Years on the Bench,
2448, 201 L.Ed.2d 924 (2018))—all weigh in favor of letting      70 Vand. L. Rev. En Banc 315, 323 (2017). A rule of law

   Chevron go.                                                   that is so wholly “in the eye of the beholder,”          Exxon
                                                                 Mobil Corp., 545 U.S. at 572, 125 S.Ct. 2611 (Stevens,
                                                                 J., dissenting), invites different results in like cases and is
    Chevron has proved to be fundamentally misguided.
Despite reshaping judicial review of agency action, neither      therefore “arbitrary in practice,”      Gulfstream Aerospace
it nor any case of ours applying it grappled with the APA        Corp. v. Mayacamas Corp., 485 U.S. 271, 283, 108 S.Ct.
—the statute that lays out how such review works. Its flaws      1133, 99 L.Ed.2d 296 (1988). Such an impressionistic and
were nonetheless apparent from the start, prompting this         malleable concept *2271 “cannot stand as an every-day
Court to revise its foundations and continually limit its        test for allocating” interpretive authority between courts and
application. It has launched and sustained a cottage industry    agencies.    Swift & Co. v. Wickham, 382 U.S. 111, 125, 86
of scholars attempting to decipher its basis and meaning. And    S.Ct. 258, 15 L.Ed.2d 194 (1965).
Members of this Court have long questioned its premises.



                 © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                        18
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 25 of 59

The dissent proves the point. It tells us that a court should
                                                                      Chevron displace the rule of lenity?), aff'd, 602 U. S. 406,
reach     Chevron’s second step when it finds, “at the end of      144 S.Ct. 1613, ––– L.Ed.2d –––– (2024).
its interpretive work,” that “Congress has left an ambiguity
or gap.” Post, at 2294. (The Government offers a similar
                                                                   Four decades after its inception, Chevron has thus become
test. See Brief for Respondents in No. 22–1219, pp. 7, 10,
                                                                   an impediment, rather than an aid, to accomplishing the basic
14; Tr. of Oral Arg. 113–114, 116.) That is no guide at all.
Once more, the basic nature and meaning of a statute does          judicial task of “say[ing] what the law is.”      Marbury, 1
not change when an agency happens to be involved. Nor              Cranch at 177. And its continuing import is far from clear.
does it change just because the agency has happened to offer       Courts have often declined to engage with the doctrine, saying
its interpretation through the sort of procedures necessary        it makes no difference. See n. 7, supra. And as noted, we
to obtain deference, or because the other preconditions for        have avoided deferring under    Chevron since 2016. That
    Chevron happen to be satisfied. The statute still has a        trend is nothing new; for decades, we have often declined
best meaning, necessarily discernible by a court deploying         to invoke      Chevron even in those cases where it might
its full interpretive toolkit. So for the dissent's test to have   appear to be applicable. See W. Eskridge & L. Baer, *2272
any meaning, it must think that in an agency case (unlike in       The Continuum of Deference: Supreme Court Treatment of
any other), a court should give up on its “interpretive work”      Agency Statutory Interpretations From Chevron to Hamdan,
before it has identified that best meaning. But how does a         96 Geo. L. J. 1083, 1125 (2008). At this point, all that remains
court know when to do so? On that point, the dissent leaves
a gap of its own. It protests only that some other interpretive    of    Chevron is a decaying husk with bold pretensions.

tools—all with pedigrees more robust than Chevron’s, and
all designed to help courts identify the meaning of a text         Nor has     Chevron been the sort of “ ‘stable background’
rather than allow the Executive Branch to displace it—also         rule” that fosters meaningful reliance. Post, at 2298, n. 1
apply to ambiguous texts. See post, at 2308 – 2309. That           (opinion of KAGAN, J.) (quoting       Morrison v. National
this is all the dissent can come up with, after four decades       Australia Bank Ltd., 561 U.S. 247, 261, 130 S.Ct. 2869, 177
of judicial experience attempting to identify ambiguity under      L.Ed.2d 535 (2010)). Given our constant tinkering with and
   Chevron, reveals the futility of the exercise. 8                eventual turn away from     Chevron, and its inconsistent
                                                                   application by the lower courts, it instead is hard to see
Because      Chevron in its original, two-step form was so         how anyone—Congress included—could reasonably expect
indeterminate and sweeping, we have instead been forced to         a court to rely on      Chevron in any particular case. And
clarify the doctrine again and again. Our attempts to do so        even if it were possible to predict accurately when courts will
have only added to Chevron’s unworkability, transforming           apply    Chevron, the doctrine “does not provide ‘a clear or
the original two-step into a dizzying breakdance. See              easily applicable standard, so arguments for reliance based
   Adams Fruit Co., 494 U.S. at 649–650, 110 S.Ct. 1384;           on its clarity are misplaced.’ ”     Janus, 585 U.S. at 927,
   Mead, 533 U.S. at 226–227, 121 S.Ct. 2164;         King, 576    138 S.Ct. 2448 (quoting South Dakota v. Wayfair, Inc., 585
U.S. at 486, 135 S.Ct. 2480;      Encino Motorcars, 579 U.S.       U.S. 162, 186, 138 S.Ct. 2080, 201 L.Ed.2d 403 (2018)). To

at 220, 136 S.Ct. 2117;      Epic Systems, 584 U.S. at 519–        plan on    Chevron yielding a particular result is to gamble
520, 138 S.Ct. 1612; on and on. And the doctrine continues         not only that the doctrine will be invoked, but also that it
to spawn difficult threshold questions that promise to further     will produce readily foreseeable outcomes and the stability
                                                                   that comes with them. History has proved neither bet to be a
complicate the inquiry should          Chevron be retained.        winning proposition.
See, e.g.,   Cargill v. Garland, 57 F.4th 447, 465–468
(CA5 2023) (plurality opinion) (May the Government waive           Rather than safeguarding reliance interests,           Chevron
reliance on     Chevron? Does       Chevron apply to agency        affirmatively destroys them. Under   Chevron, a statutory
interpretations of statutes imposing criminal penalties? Does      ambiguity, no matter why it is there, becomes a license



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            19
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                    Document #2068009                     Filed: 08/02/2024             Page 26 of 59

authorizing an agency to change positions as much as it likes,       By doing so, however, we do not call into question prior
with “[u]nexplained inconsistency” being “at most ... a reason
                                                                     cases that relied on the Chevron framework. The holdings
for holding an interpretation to be ... arbitrary and capricious.”
                                                                     of those cases that specific agency actions are lawful—
   Brand X, 545 U.S. at 981, 125 S.Ct. 2688. But statutory
                                                                     including the Clean Air Act holding of         Chevron itself—
ambiguity, as we have explained, is not a reliable indicator
                                                                     are still subject to statutory stare decisis despite our change
of actual delegation of discretionary authority to agencies.
                                                                     in interpretive methodology. See    CBOCS West, Inc. v.
  Chevron thus allows agencies to change course even when
                                                                     Humphries, 553 U.S. 442, 457, 128 S.Ct. 1951, 170 L.Ed.2d
Congress has given them no power to do so. By its sheer
                                                                     864 (2008). Mere reliance on       Chevron cannot constitute
breadth,     Chevron fosters unwarranted instability in the
                                                                     a “ ‘special justification’ ” for overruling such a holding,
law, leaving those attempting to plan around agency action in
an eternal fog of uncertainty.                                       because to say a precedent relied on    Chevron is, at best,
                                                                     “just an argument that the precedent was wrongly decided.”

   Chevron accordingly has undermined the very “rule of                 Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S.
                                                                     258, 266, 134 S.Ct. 2398, 189 L.Ed.2d 339 (2014) (quoting
law” values that stare decisis exists to secure.     Michigan
v. Bay Mills Indian Community, 572 U.S. 782, 798, 134                   Dickerson v. United States, 530 U.S. 428, 443, 120 S.Ct.
S.Ct. 2024, 188 L.Ed.2d 1071 (2014). And it cannot be                2326, 147 L.Ed.2d 405 (2000)). That is not enough to justify
constrained by admonishing courts to be extra careful, or by         overruling a statutory precedent.
tacking on a new batch of conditions. We would need to
once again “revis[e] its theoretical basis ... in order to cure                                  ***

its practical deficiencies.”  Montejo v. Louisiana, 556 U.S.
778, 792, 129 S.Ct. 2079, 173 L.Ed.2d 955 (2009). Stare              The dissent ends by quoting         Chevron: “ ‘Judges are
decisis does not require us to do so, especially because any         not experts in the field.’ ” Post, at 2310 (quoting      467
refinements we might make would only point courts back to            U.S. at 865, 104 S.Ct. 2778). That depends, of course, on
their duties under the APA to “decide all relevant questions         what the “field” is. If it is legal interpretation, that has
of law” and “interpret ... statutory provisions.” § 706. Nor         been, “emphatically,” “the province and duty of the judicial
is there any reason to wait helplessly for Congress to correct       department” for at least 221 years.     Marbury, 1 Cranch
our mistake. The Court has jettisoned many precedents that           at 177. The rest of the dissent's selected epigraph is that
Congress likewise could have legislatively overruled. See,           judges “ ‘are not part of either political branch.’ ” Post,
e.g.,    Patterson v. McLean Credit Union, 485 U.S. 617,             at 2310 (quoting       Chevron, 467 U.S. at 865, 104 S.Ct.
618, 108 S.Ct. 1419, 99 L.Ed.2d 879 (1988) (per curiam)              2778). Indeed. Judges have always been expected to apply
(collecting cases). And part of “judicial humility,” post, at        their “judgment” independent of the political branches when
2294 – 2295, 2307 (opinion of KAGAN, J.,), is admitting and          interpreting the laws those branches enact. The Federalist No.
in certain cases correcting our own mistakes, especially when        78, at 523. And one of those laws, the APA, bars judges from
those mistakes are serious, see post, at 2279 – 2280 (opinion        disregarding that responsibility just because an Executive
of GORSUCH, J.).                                                     Branch agency views a statute differently.

This is one of those cases. Chevron was a judicial invention            Chevron is overruled. Courts must exercise their
that required judges to disregard their statutory duties. And        independent judgment in deciding whether an agency has
the only way to “ensure that the law will not merely change          acted within its statutory authority, as the APA requires.
erratically, but will develop in a principled and intelligible       Careful attention to the judgment of the Executive Branch
fashion,”    *2273 Vasquez v. Hillery, 474 U.S. 254, 265,            may help inform that inquiry. And when a particular statute
106 S.Ct. 617, 88 L.Ed.2d 598 (1986), is for us to leave             delegates authority to an agency consistent with constitutional
                                                                     limits, courts must respect the delegation, while ensuring that
   Chevron behind.
                                                                     the agency acts within it. But courts need not and under the




                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             20
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                    Document #2068009                    Filed: 08/02/2024            Page 27 of 59

APA may not defer to an agency interpretation of the law            compromises this separation of powers in two ways. It curbs
simply because a statute is ambiguous.                              the judicial power afforded to courts, and simultaneously
                                                                    expands agencies’ executive power beyond constitutional
                                                                    limits.
Because the D. C. and First Circuits relied on     Chevron
in deciding whether to uphold the Rule, their judgments are
vacated, and the cases are remanded for further proceedings            Chevron compels judges to abdicate their Article III
consistent with this opinion.                                       “judicial Power.” § 1. “[T]he judicial power, as originally
                                                                    understood, requires a court to exercise its independent
It is so ordered.                                                   judgment in interpreting and expounding upon the laws.”
                                                                       Perez, 575 U.S. at 119, 135 S.Ct. 1199 (opinion of
Justice THOMAS, concurring.                                         THOMAS, J.); accord, post, at 2284 – 2285 (opinion of
I join the Court's opinion in full because it correctly concludes   GORSUCH, J.). The Framers understood that “legal texts ...
                                                                    often contain ambiguities,” and that the judicial power
that   Chevron U. S. A. Inc. v. Natural Resources Defense           included “the power to resolve these ambiguities over time.”
Council, Inc., 467 U.S. 837, 104 S.Ct. 2778, 81 L.Ed.2d
                                                                      Perez, 575 U.S. at 119, 135 S.Ct. 1199 (opinion of
694 (1984), must finally be overruled. Under     Chevron, a         THOMAS, J.); accord, ante, at 2257 – 2258. But, under
judge was required to adopt an agency's interpretation of an
ambiguous statute, so long as the agency had a “permissible            Chevron, a judge must accept an agency's interpretation
                                                                    of an ambiguous law, even if he thinks another interpretation
construction of the statute.” See      id., at 843, 104 S.Ct.
2778. As the Court explains, that deference does not comport        is correct. Ante, at 2264.  Chevron deference thus prevents
with the Administrative Procedure Act, which requires judges        judges from exercising their independent judgment to resolve
to decide “all relevant questions of law” and “interpret            ambiguities. Baldwin, 589 U. S., at ––––, 140 S.Ct. at 691–
constitutional and statutory provisions” when reviewing an          92 (opinion of THOMAS, J.); see also      Michigan, 576
agency action.      5 U.S.C. § 706; see also ante, at 2263 –        U.S. at 761, 135 S.Ct. 2699 (opinion of THOMAS, J.); see
2266; Baldwin v. United States, 589 U. S. ––––, –––– – ––––,        also    Perez, 575 U.S. at 123, 135 S.Ct. 1199 (opinion of
140 S.Ct. 690, 692–93, 206 L.Ed.2d 231 (2020) (THOMAS,
                                                                    THOMAS, J.). By tying a judge's hands, Chevron prevents
J., dissenting from denial of certiorari).
                                                                    the Judiciary from serving as a constitutional check on the
                                                                    Executive. It allows “the Executive ... to dictate the outcome
*2274      I   write   separately   to   underscore    a   more
                                                                    of cases through erroneous interpretations.” Baldwin, 589
fundamental problem:        Chevron deference also violates         U. S., at ––––, 140 S.Ct. at 692 (opinion of THOMAS, J.);
our Constitution's separation of powers, as I have previously
                                                                       Michigan, 576 U.S. at 763, n. 1, 135 S.Ct. 2699 (opinion of
explained at length. See Baldwin, 589 U. S., at –––– –
                                                                    THOMAS, J.); see also      Perez, 575 U.S. at 124, 135 S.Ct.
––––, 140 S.Ct. at 691–92 (dissenting opinion); Michigan
                                                                    1199 (opinion of THOMAS, J.). Because the judicial power
v. EPA, 576 U.S. 743, 761–763, 135 S.Ct. 2699, 192
                                                                    requires judges to exercise their independent judgment, the
L.Ed.2d 674 (2015) (concurring opinion); see also   Perez
                                                                    deference that    Chevron requires contravenes Article III's
v. Mortgage Bankers Assn., 575 U.S. 92, 115–118, 135
                                                                    mandate.
S.Ct. 1199, 191 L.Ed.2d 186 (2015) (opinion concurring in
judgment). And, I agree with Justice GORSUCH that we
                                                                       Chevron deference also permits the Executive Branch to
should not overlook       Chevron’s constitutional defects in
                                                                    exercise powers not given to it. “When the Government is
overruling it. * Post, at 2283 – 2286 (concurring opinion).         called upon to perform a function that requires an exercise
To provide “practical and real protections for individual           of legislative, executive, or judicial power, only the vested
liberty,” the Framers drafted a Constitution that divides the
legislative, executive, and judicial powers between three           recipient of that power can perform it.”    Department
                                                                    of Transportation v. Association of American Railroads,
branches of Government.         Perez, 575 U.S. at 118, 135         575 U.S. 43, 68, 135 S.Ct. 1225, 191 L.Ed.2d 153
S.Ct. 1199 (opinion of THOMAS, J.).         Chevron deference       (2015) (THOMAS, J., concurring in judgment). Because


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           21
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                    Filed: 08/02/2024             Page 28 of 59

the Constitution gives the Executive Branch only “[t]he            individual liberty, “[s]tructure is everything.” A. Scalia,
executive Power,” executive agencies may constitutionally          Foreword: The Importance of Structure in Constitutional
                                                                   Interpretation, 83 Notre Dame L. Rev. 1417, 1418 (2008).
exercise only that power. Art. II, § 1, cl. 1. But, Chevron
                                                                   Although the Court finally ends our 40-year misadventure
gives agencies license to exercise judicial *2275 power. By
allowing agencies to definitively interpret laws so long as        with    Chevron deference, its more profound problems
                                                                   should not be overlooked. Regardless of what a statute says,
they are ambiguous,      Chevron “transfer[s]” the Judiciary's
                                                                   the type of deference required by       Chevron violates the
“interpretive judgment to the agency.” Perez, 575 U.S.
                                                                   Constitution.
at 124, 135 S.Ct. 1199 (opinion of THOMAS, J.); see also
Baldwin, 589 U. S., at ––––, 140 S.Ct. at 692 (opinion
of THOMAS, J.);      Michigan, 576 U.S. at 761–762, 135            Justice GORSUCH, concurring.
S.Ct. 2699 (opinion of THOMAS, J.); post, at 2284 – 2285           In disputes between individuals and the government about
(GORSUCH, J., concurring).                                         the meaning of a federal law, federal courts have traditionally
                                                                   sought to offer independent judgments about “what the law

    Chevron deference “cannot be salvaged” by recasting it         is” without favor to either side.    Marbury v. Madison,
as deference to an agency's “formulation of policy.” Baldwin,      1 Cranch 137, 177, 2 L.Ed. 60 (1803). Beginning in the
589 U. S., at ––––, 140 S.Ct. at 691 (opinion of THOMAS,           mid-1980s, however, this Court experimented with a radically
J.) (internal quotation marks omitted). If that were true,         different approach. Applying    Chevron deference, judges
    Chevron would mean that “agencies are unconstitutionally       began deferring to the views of executive agency officials
exercising ‘legislative Powers’ vested in Congress.” Baldwin,      about the meaning of federal statutes. See     Chevron U.
589 U. S., at ––––, 140 S.Ct. at 691 (opinion of THOMAS,           S. A. Inc. v. Natural Resources Defense Council, Inc., 467
J.) (quoting Art. I, § 1). By “giv[ing] the force of law to        U.S. 837, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984). With time,
agency pronouncements on matters of private conduct as to          the error of this approach became widely appreciated. So
which Congress did not actually have an intent,”   Chevron         much so that this Court has refused to apply        Chevron
“permit[s] a body other than Congress to perform a function        deference since 2016. Today, the Court places a tombstone on
that requires an exercise of legislative power.”    Michigan,         Chevron no one can miss. In doing so, the Court returns
576 U.S. at 762, 135 S.Ct. 2699 (opinion of THOMAS, J.)            judges to interpretive rules that have guided federal courts
(internal quotation marks omitted). No matter the gloss put on     since the Nation's founding. I write separately to address why
it,   Chevron expands agencies’ power beyond the bounds            the proper application of *2276 the doctrine of stare decisis
of Article II by permitting them to exercise powers reserved       supports that course.
to another branch of Government.


   Chevron deference was “not a harmless transfer of power.”                                      I
Baldwin, 589 U. S., at ––––, 140 S.Ct. at 691 (opinion of
THOMAS, J.). “The Constitution carefully imposes structural
                                                                                                 A
constraints on all three branches, and the exercise of power
free of those accompanying restraints subverts the design of       Today, the phrase “common law judge” may call to mind a
the Constitution's ratifiers.” Ibid. In particular, the Founders   judicial titan of the past who brilliantly devised new legal
envisioned that “the courts [would] check the Executive            rules on his own. The phrase “stare decisis” might conjure
by applying the correct interpretation of the law.” Id., at        up a sense that judges who come later in time are strictly
––––, 140 S.Ct. at 692.    Chevron was thus a fundamental          bound to follow the work of their predecessors. But neither
disruption of our separation of powers. It improperly strips       of those intuitions fairly describes the traditional common-
courts of judicial power by simultaneously increasing the          law understanding of the judge's role or the doctrine of stare
                                                                   decisis.
power of executive agencies. By overruling       Chevron, we
restore this aspect of our separation of powers. To safeguard



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           22
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                     Filed: 08/02/2024              Page 29 of 59

At common law, a judge's charge to decide cases was not           Resolutions and Decisions of former Times.” Hale 68. An
usually understood as a license to make new law. For much         individual decision might reflect the views of one court at one
of England's early history, different rulers and different        moment in time, but a consistent line of decisions representing
legal systems prevailed in different regions. As England          the wisdom of many minds across many generations was
consolidated into a single kingdom governed by a single legal     generally considered stronger evidence of the law's meaning.
system, the judge's task was to examine those pre-existing        Ibid.
legal traditions and apply in the disputes that came to him
those legal rules that were “common to the whole land and         With this conception of precedent in mind, Lord Mansfield
to all Englishmen.” F. Maitland, Equity, Also the Forms of        cautioned against elevating “particular cases” above the
Action at Common Law 2 (1929). That was “common law”               *2277 “general principles” that “run through the cases, and
judging.                                                          govern the decision of them.” Rust v. Cooper, 2 Cowp. 629,
                                                                  632, 98 Eng. Rep. 1277, 1279 (K. B. 1777). By discarding
This view of the judge's role had consequences for the            aberrational rulings and pursuing instead the mainstream of
authority due judicial decisions. Because a judge's job was to    past decisions, he observed, the common law tended over time
find and apply the law, not make it, the “opinion of the judge”   to “wor[k] itself pure.” Omychund v. Barker, 1 Atk. 22, 33, 26
and “the law” were not considered “one and the same thing.”       Eng. Rep. 15, 23 (Ch. 1744) (emphasis deleted). Reflecting
1 W. Blackstone, Commentaries on the Laws of England 71           similar thinking, Edmund Burke offered five principles for
(1765) (Blackstone) (emphasis deleted). A judge's decision        the evaluation of past judicial decisions: “They ought to be
might bind the parties to the case at hand. M. Hale, The          shewn; first, to be numerous and not scattered here and there;
History and Analysis of the Common Law of England 68              —secondly, concurrent and not contradictory and mutually
(1713) (Hale). But none of that meant the judge had the power     destructive;—thirdly, to be made in good and constitutional
to “make a Law properly so called” for society at large, “for     times;—fourthly, not to be made to serve an occasion;—and
that only the King and Parliament can do.” Ibid.                  fifthly, to be agreeable to the general tenor of legal principles.”
                                                                  Speech of Dec. 23, 1790, in 3 The Speeches of the Right
Other consequences followed for the role precedent played         Honourable Edmund Burke 513 (1816).
in future judicial proceedings. Because past decisions
represented something “less than a Law,” they did not bind        Not only did different decisions carry different weight, so did
future judges. Ibid. At the same time, as Matthew Hale            different language within a decision. An opinion's holding
put it, a future judge could give a past decision “Weight”        and the reasoning essential to it (the ratio decidendi) merited
as “Evidence” of the law. Ibid. Expressing the same idea,         careful attention. Dicta, stray remarks, and digressions
William Blackstone conceived of judicial precedents as            warranted less weight. See N. Duxbury, The Intricacies of
“evidence” of “the common law.” 1 Blackstone 69, 71. And          Dicta and Dissent 19–24 (2021) (Duxbury). These were no
much like other forms of evidence, precedents at common           more than “the vapours and fumes of law.” F. Bacon, The Lord
law were thought to vary in the weight due them. Some             Keeper's Speech in the Exchequer (1617), in 2 The Works of
past decisions might supply future courts with considerable       Francis Bacon 478 (B. Montagu ed. 1887) (Bacon).
guidance. But others might be entitled to lesser weight,
not least because judges are no less prone to error than          That is not to say those “vapours” were worthless. Often
anyone else and they may sometimes “mistake” what the             dicta might provide the parties to a particular dispute a “fuller
law demands. Id., at 71 (emphasis deleted). In cases like         understanding of the court's decisional path or related areas
that, both men thought, a future judge should not rotely          of concern.” B. Garner et al., The Law of Judicial Precedent
repeat a past mistake but instead “vindicate” the law “from       65 (2016) (Precedent). Dicta might also provide future courts
misrepresentation.” Id., at 70.                                   with a source of “thoughtful advice.” Ibid. But future courts
                                                                  had to be careful not to treat every “hasty expression ... as a
When examining past decisions as evidence of the law,             serious and deliberate opinion.” Steel v. Houghton, 1 Bl. H.
common law judges did not, broadly speaking, afford               51, 53, 126 Eng. Rep. 32, 33 (C. P. 1788). To do so would
overwhelming weight to any “single precedent.” J. Baker,          work an “injustice to [the] memory” of their predecessors who
An Introduction to English Legal History 209–210 (5th ed.         could not expect judicial remarks issued in one context to
2019). Instead, a prior decision's persuasive force depended      apply perfectly in others, perhaps especially ones they could
in large measure on its “Consonancy and Congruity with            not foresee. Ibid. Also, the limits of the adversarial process,



               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                              23
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                      Filed: 08/02/2024            Page 30 of 59

a distinctive feature of English law, had to be borne in mind.      in 9 The Writings of James Madison 477 (G. Hunt ed. 1910).
When a single judge or a small panel reached a decision             A court's opinion, James Wilson added, may be thought of as
in a case, they did so based on the factual record and legal        “effective la[w]” “[a]s to the parties.” Wilson 160–161. But
arguments the parties at hand have chosen to develop. Attuned       as in England, Wilson said, a prior judicial decision could
to those constraints, future judges had to proceed with an open     serve in a future dispute only as “evidence” of the law's proper
mind to the possibility that different facts and different legal    construction. Id., at 160; accord, 1 J. Kent, Commentaries on
arguments might dictate different outcomes in later disputes.       American Law 442–443 (1826).
See Duxbury 19–24.
                                                                    The framers also recognized that the judicial power described
                                                                    in our Constitution implies, as the judicial power did in
                                                                    England, a power (and duty) of discrimination when it comes
                               B
                                                                    to assessing the “evidence” embodied in past decisions.
Necessarily, this represents just a quick sketch of traditional     So, for example, Madison observed that judicial rulings
common-law understandings of the judge's role and the place         “repeatedly confirmed ” may supply better evidence of the
of precedent in it. It focuses, too, on the horizontal, not         law's meaning than isolated or aberrant ones. Letter to C.
vertical, force of judicial precedents. But there are good          Ingersoll (June 1831), in 4 Letters and Other Writings of
reasons to think that the common law's understandings of            James Madison 184 (1867) (emphasis added). Extending
judges and precedent outlined above crossed the Atlantic and        the thought, Thomas Jefferson believed it would often take
informed the nature of the “judicial Power” the Constitution        “numerous decisions” for the meaning of new statutes to
vests in federal courts. Art. III, § 1.                             become truly “settled.” Letter to S. Jones (July 1809), in 12
                                                                    The Writings of Thomas Jefferson 299 (A. Bergh ed. 1907).
Not only was the Constitution adopted against the backdrop
of these understandings and, in light of that alone, they may       From the start, too, American courts recognized that not
provide evidence of what the framers meant when they spoke          everything found in a prior decision was entitled to equal
of the “judicial Power.” Many other, more specific provisions       weight. As Chief Justice Marshall warned, “It is a maxim
in the Constitution reflect much the same distinction between       not to be disregarded, that general expressions, in every
lawmaking and lawfinding functions the common law did.              opinion, are to be taken in connection with the case in which
The Constitution provides that its terms may be amended only        those expressions are used.”   Cohens v. Virginia, 6 Wheat.
through certain prescribed *2278 democratic processes. Art.         264, 399, 5 L.Ed. 257 (1821). To the extent a past court
V. It vests the power to enact federal legislation exclusively      offered views “beyond the case,” those expressions “may
in the people's elected representatives in Congress. Art. I, § 1.   be respected” in a later case “but ought not to control the
Meanwhile, the Constitution describes the judicial power as
the power to resolve cases and controversies. Art. III, § 2, cl.    judgment.”       Ibid. One “obvious” reason for this, Marshall
1. As well, it delegates that authority to life-tenured judges,     continued, had to do with the limits of the adversarial process
see § 1, an assignment that would have made little sense if         we inherited from England: Only “[t]he question actually
judges could usurp lawmaking powers vested in periodically          before the Court is investigated with care, and considered in
elected representatives. But one that makes perfect sense if        its full extent. Other principles which may serve to illustrate
what is sought is a neutral party “to interpret and apply” the      it, are considered in their relation to the case decided, but
law without fear or favor in a dispute between others. 2 The        their possible bearing on all other cases is seldom completely
Works of James Wilson 161 (J. Andrews ed. 1896) (Wilson);           investigated.”    Id., at 399–400.
see    Osborn v. Bank of United States, 9 Wheat. 738, 866,
6 L.Ed. 204 (1824).                                                 Abraham      Lincoln      championed       these   traditional
                                                                    understandings in his debates with Stephen Douglas. Douglas
The constrained view of the judicial power that runs through        took the view that a single decision of this Court—no matter
our Constitution carries with it familiar implications, ones the    how flawed—could definitively resolve a contested issue for
framers readily acknowledged. James Madison, for example,           everyone and all time. Those who thought otherwise, he said,
proclaimed that it would be a “fallacy” to suggest that judges      “aim[ed] a deadly blow to our whole Republican system
or their precedents could “repeal or alter” the Constitution or     of government.” Speech at Springfield, Ill. (June 26, 1857),
the laws of the United States. Letter to N. Trist (Dec. 1831),       *2279 in 2 The Collected Works of Abraham Lincoln 401



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             24
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 31 of 59

(R. Basler ed. 1953) (Lincoln Speech). But Lincoln knew            Recognizing as much, this Court has often said that stare
better. While accepting that judicial decisions “absolutely
                                                                   decisis is not an “ ‘inexorable command.’ ”    State Oil Co.
determine” the rights of the parties to a court's judgment, he
                                                                   v. Khan, 522 U.S. 3, 20, 118 S.Ct. 275, 139 L.Ed.2d 199
refused to accept that any single judicial decision could “fully
                                                                   (1997). And from time to time it has found it necessary to
settl[e]” an issue, particularly when that decision departs from
                                                                   correct its past mistakes. When it comes to correcting errors
the Constitution. Id., at 400–401. In cases such as these,
                                                                   of constitutional interpretation, the Court has stressed the
Lincoln explained, “it is not resistance, it is not factious, it
                                                                   importance of doing so, for they can be corrected otherwise
is not even disrespectful, to treat [the decision] as not having
yet quite established a settled doctrine for the country.” Id.,    only through the amendment process. See, e.g.,    Franchise
at 401.                                                            Tax Bd. of Cal. v. Hyatt, 587 U.S. 230, 248, 139 S.Ct.
                                                                   1485, 203 L.Ed.2d 768 (2019). When it comes to fixing
After the Civil War, the Court echoed some of these same           errors of statutory interpretation, the Court has proceeded
points. It stressed that every statement in a judicial opinion     perhaps more circumspectly. But in that field, too, it has
“must be taken in connection with its immediate context,”          overruled even longstanding but “flawed” decisions. See, e.g.,

   In re Ayers, 123 U.S. 443, 488, 8 S.Ct. 164, 31 L.Ed. 216          Leegin Creative Leather Products, Inc. v. PSKS, Inc., 551
(1887), and stray “remarks” must not be elevated above the         U.S. 877, 904, 907, 127 S.Ct. 2705, 168 L.Ed.2d 623 (2007).

written law, see      The Belfast, 7 Wall. 624, 641, 19 L.Ed.
                                                                   Recent history illustrates all this. During the tenures of Chief
266 (1869); see also, e.g., Trebilcock v. Wilson, 12 Wall. 687,
                                                                   Justices Warren and Burger, it seems this Court overruled an
692–693, 20 L.Ed. 460 (1872); Mason v. Eldred, 6 Wall. 231,
                                                                   average of around three cases per Term, including roughly
236–238, 18 L.Ed. 783 (1868). During Chief Justice Chase's
                                                                   50 statutory precedents between the 1960s and 1980s alone.
tenure, it seems a Justice writing the Court's majority opinion
                                                                   See W. Eskridge, Overruling Statutory Precedents, 76 Geo. L.
would generally work alone and present his work orally and in
                                                                   J. 1361, 1427–1434 (1988) (collecting cases). Many of these
summary form to his colleagues at conference, which meant
                                                                    *2280 decisions came in settings no less consequential than
that other Justices often did not even review the opinion prior
                                                                   today's. In recent years, we have not approached the pace set
to publication. 6 C. Fairman, History of the Supreme Court of
                                                                   by our predecessors, overruling an average of just one or two
the United States 69–70 (1971). The Court could proceed in
this way because it understood that a single judicial opinion      prior decisions each Term. 1 But the point remains: Judicial
may resolve a “case or controversy,” and in so doing it may        decisions inconsistent with the written law do not inexorably
make “effective law” for the parties, but it does not legislate    control.
for the whole of the country and is not to be confused with
laws that do.                                                      Second, another lesson tempers the first. While judicial
                                                                   decisions may not supersede or revise the Constitution or
                                                                   federal statutory law, they merit our “respect as embodying
                                                                   the considered views of those who have come before.”
                               C
                                                                      Ramos v. Louisiana, 590 U.S. 83, 105, 140 S.Ct. 1390,
From all this, I see at least three lessons about the doctrine     206 L.Ed.2d 583 (2020). As a matter of professional
of stare decisis relevant to the decision before us today. Each    responsibility, a judge must not only avoid confusing his
concerns a form of judicial humility.                              writings with the law. When a case comes before him, he
                                                                   must also weigh his view of what the law demands against the
First, a past decision may bind the parties to a dispute, but it   thoughtful views of his predecessors. After all, “[p]recedent is
provides this Court no authority in future cases to depart from    a way of accumulating and passing down the learning of past
what the Constitution or laws of the United States ordain.         generations, a font of established wisdom richer than what can
Instead, the Constitution promises, the American people            be found in any single judge or panel of judges.” Precedent 9.
are sovereign and they alone may, through democratically
responsive processes, amend our foundational charter or            Doubtless, past judicial decisions may, as they always
revise federal legislation. Unelected judges enjoy no such         have, command “greater or less authority as precedents,
power. Part I–B, supra.                                            according to circumstances.” Lincoln Speech 401. But, like
                                                                   English judges before us, we have long turned to familiar



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            25
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024              Page 32 of 59

considerations to guide our assessment of the weight due           are “innately digressive,” and their opinions may sometimes
a past decision. So, for example, as this Court has put            offer stray asides about a wider topic that may sound nearly
it, the weight due a precedent may depend on the quality           like legislative commands. Duxbury 4. Often, enterprising
of its reasoning, its consistency with related decisions, its      counsel seek to exploit such statements to maximum effect.
workability, and reliance interests that have formed around        See id., at 25. But while these digressions may sometimes
                                                                   contain valuable counsel, they remain “vapours and fumes
it. See     Ramos, 590 U.S. at 106, 140 S.Ct. 1390. The first
                                                                   of law,” Bacon 478, and cannot “control the judgment in a
factor recognizes that the primary power of any precedent
lies in its power to persuade—and poorly reasoned decisions        subsequent suit,”    Cohens, 6 Wheat. at 399.
may not provide reliable evidence of the law's meaning. The
second factor reflects the fact that a precedent is more likely    These principles, too, have long guided this Court and others.
to be correct and worthy of respect when it reflects the time-     As Judge Easterbrook has put it, an “opinion is not a
tested wisdom of generations than when it sits “unmoored”          comprehensive code; it is just an explanation for the Court's
                                                                   disposition. Judicial opinions must not be confused with
from surrounding law.        Ibid. The remaining factors, like
                                                                   statutes, and general expressions must be read in light of the
workability and reliance, do not often supply reason enough
on their own to abide a flawed decision, for almost any past       subject under consideration.”        United States v. Skoien, 614
decision is likely to benefit some group eager to keep things
                                                                   F.3d 638, 640 (CA7 2010) (en banc); see also        Reiter v.
as they are and content with how things work. See, e.g., id.,      Sonotone Corp., 442 U.S. 330, 341, 99 S.Ct. 2326, 60 L.Ed.2d
at 108, 140 S.Ct. 1390. But these factors can sometimes            931 (1979) (stressing that an opinion is not “a statute,” and
serve functions similar to the others, by pointing to clues that
                                                                   its language should not “be parsed” as if it were);   Nevada
may suggest a past decision is right in ways not immediately
                                                                   v. Hicks, 533 U.S. 353, 372, 121 S.Ct. 2304, 150 L.Ed.2d
obvious to the individual judge.
                                                                   398 (2001) (same). If stare decisis counsels respect for the
                                                                   thinking of those who have come before, it also counsels
When asking whether to follow or depart from a precedent,
                                                                   against doing an “injustice to [their] memory” by overreliance
some judges deploy adverbs. They speak of whether or
                                                                   on their every word. Steel, 1 Bl.H. at 53, 126 Eng. Rep.,
not a precedent qualifies as “demonstrably erroneous,”
                                                                   at 33. As judges, “[w]e neither expect nor hope that our
   Gamble v. United States, 587 U.S. 678, 711, 139 S.Ct.           successors will comb” through our opinions, searching for
1960, 204 L.Ed.2d 322 (2019) (THOMAS, J., concurring),
                                                                   delphic answers to matters we never fully explored. Brown
or “egregiously wrong,”        Ramos, 590 U.S. at 121, 140         v. Davenport, 596 U.S. 118, 141, 142 S.Ct. 1510, 212 L.Ed.2d
S.Ct. 1390 (KAVANAUGH, J., concurring in part). But the            463 (2022). To proceed otherwise risks “turn[ing] stare
emphasis the adverb imparts is not meant for dramatic effect.      decisis from a tool of judicial humility into one of judicial
It seeks to serve instead as a reminder of a more substantive
                                                                   hubris.”    Ibid.
lesson. The lesson that, in assessing the weight due a past
decision, a judge is not to be guided by his own impression
alone, but must self-consciously test his views against those
who have come before, open to the possibility that a precedent                                     II
might be correct in ways not initially apparent to him.
                                                                   Turning now directly to the question what stare decisis effect
 *2281 Third, it would be a mistake to read judicial opinions         Chevron deference warrants, each of these lessons seem
like statutes. Adopted through a robust and democratic             to me to weigh firmly in favor of the course the Court charts
process, statutes often apply in all their particulars to all
                                                                   today: Lesson 1, because     Chevron deference contravenes
persons. By contrast, when judges reach a decision in our
                                                                   the law Congress prescribed in the Administrative Procedure
adversarial system, they render a judgment based only on the
factual record and legal arguments the parties at hand have        Act. Lesson 2, because       Chevron deference runs against
chosen to develop. A later court assessing a past decision         mainstream currents in our law regarding the separation
must therefore appreciate the possibility that different facts     of powers, due process, and centuries-old interpretive rules
and different legal arguments may dictate a different outcome.     that fortify those constitutional commitments. And Lesson
They must appreciate, too, that, like anyone else, judges          3, because to hold otherwise would effectively require



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             26
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                     Filed: 08/02/2024              Page 33 of 59

                                                                  the APA unwise; some might think a different arrangement
us to endow stray statements in         Chevron with the
                                                                  preferable. See, e.g., post, at 2298 - 2299 (KAGAN, J.,
authority of statutory language, all while ignoring more
                                                                  dissenting). But it is Congress's view of “good government,”
considered language in that same decision and the teachings
                                                                  not ours, that controls.
of experience.

                                                                  Much more could be said about         Chevron’s inconsistency
                                                                  with the APA. But I have said it in the past. See Buffington v.
                              A
                                                                  McDonough, 598 U. S. ––––, –––– – ––––, 143 S.Ct. 14, 16–
Start with Lesson 1. The Administrative Procedure Act of          17, 214 L.Ed.2d 206 (2022) (opinion dissenting from denial
1946 (APA) directs a “reviewing court” to “decide all relevant    of certiorari); Gutierrez-Brizuela v. Lynch, 834 F.3d 1142,
questions of law” and “interpret” relevant “constitutional and    1151–1153 (CA10 2016) (concurring opinion). And the Court
statutory provisions.”     5 U.S.C. § 706. When applying          makes many of the same points at length today. See ante,
                                                                  at 2263 - 2266. For present purposes, the short of it is that
   Chevron deference, reviewing courts do not interpret
all relevant statutory provisions and decide all relevant         continuing to abide      Chevron deference would require us
questions of law. Instead, judges abdicate a large measure        to transgress the first lesson of stare decisis—the humility
of that responsibility in favor of agency officials. Their        required of judges to recognize that our decisions must yield
interpretations of “ambiguous” laws control even when those       to the laws adopted by the people's elected representatives. 3
interpretations *2282 are at odds with the fairest reading
of the law an independent “reviewing court” can muster.
Agency officials, too, may change their minds about the law's
                                                                                                  B
meaning at any time, even when Congress has not amended
the relevant statutory language in any way. National Cable        Lesson 2 cannot rescue Chevron deference. If stare decisis
& Telecommunications Assn. v. Brand X Internet Services,          calls for judicial humility in the face of the written law, it also
545 U.S. 967, 982–983, 125 S.Ct. 2688, 162 L.Ed.2d 820             *2283 cautions us to test our present conclusions carefully
(2005). And those officials may even disagree with and            against the work of our predecessors. At the same time and
effectively overrule not only their own past interpretations of   as we have seen, this second form of humility counsels us
a law but a court's past interpretation as well.   Ibid. None     to remember that precedents that have won the endorsement
of that is consistent with the APA's clear mandate.               of judges across many generations, demonstrated coherence
                                                                  with our broader law, and weathered the tests of time and
                                                                  experience are entitled to greater consideration than those that
The hard fact is    Chevron “did not even bother to cite” the
                                                                  have not. See Part I, supra. Viewed by each of these lights,
APA, let alone seek to apply its terms.       United States v.
                                                                  the case for    Chevron deference only grows weaker still.
Mead Corp., 533 U.S. 218, 241, 121 S.Ct. 2164, 150 L.Ed.2d
292 (2001) (Scalia, J., dissenting). Instead, as even its most
ardent defenders have conceded,       Chevron deference rests
                                                                                                  1
upon a “fictionalized statement of legislative desire,” namely,
a judicial supposition that Congress implicitly wishes judges     Start with a look to how our predecessors traditionally
to defer to executive agencies’ interpretations of the law even   understood the judicial role in disputes over a law's
when it has said nothing of the kind. D. Barron & E. Kagan,       meaning. From the Nation's founding, they considered “[t]he
Chevron's Nondelegation Doctrine, 2001 S. Ct. Rev. 201, 212       interpretation of the laws” in cases and controversies “the
(Kagan) (emphasis added). As proponents see it, that fiction      proper and peculiar province of the courts.” The Federalist
represents a “policy judgmen[t] about what ... make[s] for        No. 78, p. 467 (C. Rossiter ed. 1961) (A. Hamilton). Perhaps
good government.” Ibid. 2 But in our democracy unelected          the Court's most famous early decision reflected exactly that
judges possess no authority to elevate their own fictions         view. There, Chief Justice Marshall declared it “emphatically
over the laws adopted by the Nation's elected representatives.    the province and duty of the judicial department to say
Some might think the legal directive Congress provided in         what the law is.”      Marbury, 1 Cranch at 177. For judges



               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                              27
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                     Filed: 08/02/2024             Page 34 of 59

“have neither FORCE nor WILL but merely judgment”—                deference akin to Chevron, at least for so-called mixed
and an obligation to exercise that judgment independently.
                                                                  questions of law and fact. See, e.g., Gray v. Powell, 314
The Federalist No. 78, at 465. No matter how “disagreeable
                                                                  U.S. 402, 411–412, 62 S.Ct. 326, 86 L.Ed. 301 (1941);
that duty may be,” this Court has said, a judge “is not
                                                                     NLRB v. Hearst Publications, Inc., 322 U.S. 111, 131, 64
at liberty to surrender, or to waive it.” United States v.
                                                                  S.Ct. 851, 88 L.Ed. 1170 (1944). But, as the Court details,
Dickson, 15 Pet. 141, 162, 10 L.Ed. 689 (1841) (Story, J.).
                                                                  even that limited experiment did not last. See ante, at 2258
This duty of independent judgment is perhaps “the defining
                                                                  - 2260. Justice Roberts, in his     Gray dissent, decried these
characteristi[c] of Article III judges.” Stern v. Marshall,
                                                                  decisions for “abdicat[ing our] function as a court of review”
564 U.S. 462, 483, 131 S.Ct. 2594, 180 L.Ed.2d 475 (2011).
                                                                  and “complete[ly] revers[ing] ... the normal and usual method

To be sure, this Court has also long extended “great respect”     of construing a statute.”      314 U.S. at 420–421, 62 S.Ct.
to the “contemporaneous” and consistent views of the              326. And just a few years later, in Skidmore v. Swift & Co.,
coordinate branches about the meaning of a statute's terms.       323 U.S. 134, 65 S.Ct. 161, 89 L.Ed. 124 (1944), the Court
Edwards’ Lessee v. Darby, 12 Wheat. 206, 210, 6 L.Ed. 603         returned to its time-worn path.
(1827); see also    McCulloch v. Maryland, 4 Wheat. 316,
401, 4 L.Ed. 579 (1819); Stuart v. Laird, 1 Cranch 299, 309,      Echoing themes that had run throughout our law from its start,
                      4
2 L.Ed. 115 (1803). But traditionally, that did not mean          Justice Robert H. Jackson wrote for the Court in Skidmore.
a court had to “defer” to any “reasonable” construction of        There, he said, courts may extend respectful consideration
an “ambiguous” law that an executive agency might offer.          to another branch's interpretation of the law, but the weight
It did not mean that the government could propound a              due those interpretations must always “depend upon the[ir]
“reasonable” view of the law's meaning one day, a different       thoroughness ..., the validity of [their] reasoning, [their]
one the next, and bind the judiciary always to its latest         consistency with earlier and later pronouncements, and all
word. Nor did it mean the executive could displace a pre-
                                                                  those factors which give [them] power to persuade.”         Id.,
existing judicial construction of a statute's terms, replace it
                                                                  at 140, 65 S.Ct. 161. In another case the same year, and again
with its own, and effectively overrule a judicial precedent
                                                                  writing for the Court, Justice Jackson expressly rejected a call
in the process. Put simply, this Court was “not bound” by
any and all reasonable “administrative construction[s]” of        for a judge-made doctrine of deference much like Chevron,
ambiguous statutes when resolving cases and controversies.        offering that, “[i]f Congress had deemed it necessary or
                                                                  even appropriate” for courts to “defe[r] to administrative
   Burnet v. Chicago Portrait Co., 285 U.S. 1, 16, 52 S.Ct.
                                                                  construction[,] ... it would not have been at a loss for words to
275, 76 L.Ed. 587 (1932). While the executive's consistent
and contemporaneous views warranted respect, they “by no          say so.”   Davies Warehouse Co. v. Bowles, 321 U.S. 144,
means control[led] the action or the opinion of this court in     156, 64 S.Ct. 474, 88 L.Ed. 635 (1944).
expounding the law with reference to the rights of parties
                                                                  To the extent proper respect for precedent demands, as it
litigant before them.”     Irvine v. Marshall, 20 How. 558,
                                                                  always has, special respect for longstanding and mainstream
567, 15 L.Ed. 994 (1858); see also A. Bamzai, *2284 The
Origins of Judicial Deference to Executive Interpretation, 126    decisions,    Chevron scores badly. It represented not a
Yale L. J. 908, 987 (2017).                                       continuation of a long line of decisions but a break from them.
                                                                  Worse, it did not merely depart from our precedents. More

Sensing how jarringly inconsistent      Chevron is with this      nearly,    Chevron defied them.
Court's many longstanding precedents discussing the nature
of the judicial role in disputes over the law's meaning, the
government and dissent struggle for a response. The best they                                    2
can muster is a handful of cases from the early 1940s in
which, they say, this Court first “put [deference] principles
                                                                  Consider next how uneasily       Chevron deference sits
into action.” Post, at 2305 (KAGAN, J., dissenting). And,
                                                                  alongside so many other settled aspects of our law.
admittedly, for a period this Court toyed with a form of
                                                                  Having witnessed first-hand King George's efforts to gain



               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            28
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                      Filed: 08/02/2024             Page 35 of 59

influence and control over colonial judges, see Declaration of      sua. See 1 E. Coke, Institutes of the Laws of England § 212,
Independence ¶ 11, the framers made a considered judgment
                                                                    *141a. Yet, under the Chevron regime, all that means little,
to build judicial independence into the Constitution's design.
                                                                    for executive agencies may effectively judge the scope of their
They vested the judicial power in decisionmakers with life
tenure. Art. III, § 1. They placed the judicial salary beyond       own lawful powers. See, e.g.,   Arlington v. FCC, 569 U.S.
political control during a judge's tenure. Ibid. And they           290, 296–297, 133 S.Ct. 1863, 185 L.Ed.2d 941 (2013).
rejected any proposal that would subject judicial decisions
to review by political actors. The Federalist No. 81, at 482;       Traditionally, as well, courts have sought to construe statutes
                                                                    as a reasonable reader would “when the law was made.”
   United States v. Hansen, 599 U.S. 762, 786–791, 143 S.Ct.
1932, 216 L.Ed.2d 692 (2023) (THOMAS, J., concurring).              Blackstone 59; see        United States v. Fisher, 2 Cranch 358,
All of this served to ensure the same thing: “A fair trial in a     386, 2 L.Ed. 304 (1805). Today, some call this “textualism.”
                                                                    But really it's a very old idea, one that constrains judges to a
fair tribunal.” In re Murchison, 349 U.S. 133, 136, 75 S.Ct.
                                                                    lawfinding rather than lawmaking role by focusing their work
623, 99 L.Ed. 942 (1955). One in which impartial judges,
                                                                    on the statutory text, its linguistic context, and various canons
not those currently wielding power in the political branches,
                                                                    of construction. In that way, textualism serves as an essential
would “say what the law is” in *2285 cases coming to court.
                                                                    guardian of the due process promise of fair notice. If a judge
   Marbury, 1 Cranch at 177.                                        could discard an old meaning and assign a new one to a law's
                                                                    terms, all without any legislative revision, how could people
    Chevron deference undermines all that. It precludes courts      ever be sure of the rules that bind them?    New Prime Inc.
from exercising the judicial power vested in them by Article        v. Oliveira, 586 U.S. 105, 113, 139 S.Ct. 532, 202 L.Ed.2d
III to say what the law is. It forces judges to abandon the         536 (2019). Were the rules otherwise, Blackstone warned,
best reading of the law in favor of views of those presently        the people would be rendered “slaves to their magistrates.” 4
holding the reins of the Executive Branch. It requires judges       Blackstone 371.
to change, and change again, their interpretations of the law
as and when the government demands. And that transfer of            Yet, replace “magistrates” with “bureaucrats,” and
power has exactly the sort of consequences one might expect.        Blackstone's fear becomes reality when courts employ
Rather than insulate adjudication from power and politics
                                                                       Chevron deference. Whenever we confront an ambiguity
to ensure a fair hearing “without respect to persons” as the
                                                                    in the law, judges do not seek to resolve it impartially
federal judicial oath demands, 28 U.S.C. § 453,       Chevron       according to the best evidence of the law's original meaning.
deference requires courts to “place a finger on the scales of       Instead, we resort to a far cruder heuristic: “The reasonable
justice in favor of the most powerful of litigants, the federal     bureaucrat always wins.” And because the reasonable
government.” Buffington, 598 U. S., at ––––, 143 S.Ct. at 17.       bureaucrat may change his mind year-to-year and election-to-
                                                                    election, the people can never know with certainty what new
Along the way, Chevron deference guarantees “systematic
                                                                    “interpretations” might be used against them. This “fluid”
bias” in favor of whichever political party currently holds the
                                                                    approach to statutory interpretation is “as much a trap for the
levers of executive power. P. Hamburger, Chevron Bias, 84
                                                                    innocent as the ancient laws of Caligula,” which were posted
Geo. Wash. L. Rev. 1187, 1212 (2016).
                                                                    so high up on the walls and in print so small that ordinary
                                                                    people could never be sure what they required.        *2286
   Chevron deference undermines other aspects of our settled
                                                                    United States v. Cardiff, 344 U.S. 174, 176, 73 S.Ct. 189, 97
law, too. In this country, we often boast that the Constitution's
                                                                    L.Ed. 200 (1952).
promise of due process of law, see Amdts. 5, 14, means that
“ ‘no man can be a judge in his own case.’ ”    Williams v.
                                                                    The ancient rule of lenity is still another of   Chevron’s
Pennsylvania, 579 U.S. 1, 8–9, 136 S.Ct. 1899, 195 L.Ed.2d
                                                                    victims. Since the founding, American courts have construed
132 (2016);    Calder v. Bull, 3 Dall. 386, 388, 1 L.Ed. 648        ambiguities in penal laws against the government and with
(1798) (opinion of Chase, J.). That principle, of course, has
                                                                    lenity toward affected persons. Wooden v. United States,
even deeper roots, tracing far back into the common law
                                                                    595 U.S. 360, 388–390, 142 S.Ct. 1063, 212 L.Ed.2d
where it was known by the Latin maxim nemo iudex in causa
                                                                    187 (2022) (GORSUCH, J., concurring in judgment). That


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             29
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                    Filed: 08/02/2024            Page 36 of 59

principle upholds due process by safeguarding individual
                                                                  even considering whether   Chevron applies, a court must
liberty in the face of ambiguous laws. Ibid. And it fortifies     determine whether Congress meant to delegate to the agency
the separation of powers by keeping the power of punishment
                                                                  authority to interpret the law in a given field.    533
firmly “ ‘in the legislative, not in the judicial department.’
                                                                  U.S. at 226–227, 121 S.Ct. 2164. But that exercise faces
”    Id., at 391, 142 S.Ct. 1063 (quoting  United States v.
                                                                  an immediate challenge: Because         Chevron depends on
Wiltberger, 5 Wheat. 76, 95, 5 L.Ed. 37 (1820)). But power
                                                                  a judicially implied, rather than a legislatively expressed,
begets power. And pressing      Chevron deference as far as it    delegation of interpretive authority to an executive agency,
can go, the government has sometimes managed to leverage          Part II–A, supra, when should the fiction apply and when
“ambiguities” in the written law to penalize conduct Congress
                                                                  not?    Mead fashioned a multifactor test for judges to use.
never clearly proscribed. Compare      Guedes v. ATF, 920
                                                                     533 U.S. at 229–231, 121 S.Ct. 2164. But that test has
F.3d 1, 27–28, 31 (CADC 2019), with Garland v. Cargill, 602
                                                                  proved as indeterminate in application as it was contrived
U. S. 604, 144 S.Ct. 1613, ––– L.Ed.2d –––– (2024).
                                                                  in origin. Perhaps for these reasons, perhaps for others, this
                                                                  Court has sometimes applied       Mead and often ignored it.
In all these ways,    Chevron’s fiction has led us to a strange
place. One where authorities long thought reserved for Article    See      Brand X, 545 U.S. at 1014, n. 8, 125 S.Ct. 2688
III are transferred to Article II, where the scales of justice    (Scalia, J., dissenting).
are tilted systematically in favor of the most powerful, where
legal demands can change with every election even though          Things do not improve as we move up the Chevron ladder.
the laws do not, and where the people are left to guess           At “step one,” a judge must defer to an executive official's
about their legal rights and responsibilities. So much tension    interpretation when the statute at hand is “ambiguous.” But
with so many foundational features of our legal order is
surely one more sign that we have “taken a wrong turn along       even today,      Chevron’s principal beneficiary—the federal
                                                                  government—still cannot say when a statute is sufficiently
the way.”    Kisor v. Wilkie, 588 U.S. 558, 607, 139 S.Ct.        ambiguous to trigger deference. See, e.g., Tr. of Oral Arg.
2400, 204 L.Ed.2d 841 (2019) (GORSUCH, J., concurring in          in American Hospital Assn. v. Becerra, O. T. 2021, No. 20–
judgment). 5                                                      1114, pp. 71–72. Perhaps thanks to this particular confusion,
                                                                  the search for ambiguity has devolved into a sort of Snark
                                                                  hunt: Some judges claim to spot it almost everywhere, while
                                                                  other equally fine judges claim never to have seen it. Compare
                              3
                                                                  L. Silberman, Chevron—The Intersection of Law & Policy,
Finally, consider workability and reliance. If, as I have         58 Geo. Wash. L. Rev. 821, 826 (1990), with R. Kethledge,
sought to suggest, these factors may sometimes serve as           Ambiguities and Agency Cases: Reflections After (Almost)
useful proxies for the question whether a precedent comports      Ten Years on the Bench, 70 Vand. L. Rev. En Banc 315, 323
with the historic tide of judicial practice or represents an      (2017).
aberrational mistake, see Part I–C, supra, they certainly do
here.                                                             Nor do courts agree when it comes to “step two.”
                                                                  There, a judge must assess whether an executive agency's
                                                                  interpretation of an ambiguous statute is “reasonable.” But
Take   Chevron’s “workability.” Throughout its short life,
                                                                  what does that inquiry demand? Some courts engage in a
this Court has been forced to supplement and revise
                                                                  comparatively searching review; others almost reflexively
   Chevron *2287 so many times that no one can agree              defer to an agency's views. Here again, courts have pursued
on how many “steps” it requires, nor even what each of            “wildly different” approaches and reached wildly different
those “steps” entails. Some suggest that the analysis begins      conclusions in similar cases. See B. Kavanaugh, Fixing
with “step zero” (perhaps itself a tell), an innovation that      Statutory Interpretation, 129 Harv. L. Rev. 2118, 2152 (2016)
                                                                  (Kavanaugh).
traces to      United States v. Mead Corp., 533 U.S. 218,
121 S.Ct. 2164, 150 L.Ed.2d 292.       Mead held that, before



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                         30
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                    Filed: 08/02/2024             Page 37 of 59

Today's cases exemplify some of these problems. We have            and convulsive change even when the statute at issue itself
before us two circuit decisions, three opinions, and at least      remains unchanged.
as many interpretive options on the Chevron menu. On
                                                                   Nor are these antireliance harms distributed equally.
the one hand, we have the D. C. Circuit majority, which
                                                                   Sophisticated entities and their lawyers may be able to
deemed the Magnuson-Stevens Act “ambiguous” and upheld
                                                                   keep pace with rule changes affecting their rights and
the agency's regulation as “ ‘permissible.’ ”  45 F.4th 359,       responsibilities. They may be able to lobby for new “
365 (2022). On the other hand, we have the D. C. Circuit           ‘reasonable’ ” agency interpretations and even capture the
dissent, which argues the statute is “unambiguou[s]” and that      agencies that issue them. Buffington, 598 U. S., at ––––, ––––,
it plainly forecloses the agency's new rule.      Id., at 372      143 S.Ct. 14, 18, 20–21. But ordinary people can do none of
(opinion of Walker, J.). And on yet a third hand, we have the      those things. They are the ones who suffer the worst kind of
First Circuit, which claimed to have identified “clear textual     regulatory whiplash     Chevron invites.
support” for the regulation, yet refused to say whether it
would “classify [its] conclusion as a product of       Chevron     Consider a couple of examples. Thomas Buffington, a veteran
                                                                   of the U. S. Air Force, was injured in the line of duty. For a
step one or step two.”       62 F.4th 621, 631, 634 (2023).        time after he left the Air Force, the Department of Veterans
As these cases illustrate,      Chevron has turned statutory       Affairs (VA) paid disability benefits due him by law. But
interpretation into a game of bingo under blindfold, with          later the government called on Mr. Buffington to reenter
parties guessing at how many boxes there are and which one         active service. During that period, everyone agreed, the VA
their case might ultimately fall in.                               could (as it did) suspend his disability payments. After he
                                                                   left active service for a second time, however, the VA turned
Turn now from workability to reliance. Far from engendering        his patriotism against him. By law, Congress permitted the
                                                                   VA to suspend disability pay only “for any period for which
reliance interests, *2288 the whole point of           Chevron
                                                                   [a servicemember] receives active service pay.” 38 U.S.C. §
deference is to upset them. Under        Chevron, executive        5304(c). But the VA had adopted a self-serving regulation
officials can replace one “reasonable” interpretation with         requiring veterans to file a form asking for the resumption
another at any time, all without any change in the law itself.     of their disability pay after a second (or subsequent) stint in
The result: Affected individuals “can never be sure of their       active service. 38 C.F.R. § 3.654(b)(2) (2021). Unaware of
legal rights and duties.” Buffington, 598 U. S., at ––––, 143      the regulation, Mr. Buffington failed to reapply immediately.
S.Ct. at 20.                                                       When he finally figured out what had happened and reapplied,
                                                                   the VA agreed to resume payments going forward but refused
                                                                   to give Mr. Buffington all of the past disability payments it
How bad is the problem? Take just one example.           Brand
                                                                   had withheld. Buffington, 598 U. S., at –––– – ––––, 143 S.Ct.
X concerned a law regulating broadband internet services.
                                                                   at 15–16.
There, the Court upheld an agency rule adopted by the
administration of President George W. Bush because it was
                                                                   Mr. Buffington challenged the agency's action as inconsistent
premised on a “reasonable” interpretation of the statute. Later,
                                                                   with Congress's direction that the VA may suspend disability
President Barack Obama's administration rescinded the rule
                                                                   payments only for those periods when a veteran returns
and replaced it with another. Later still, during President
Donald J. Trump's administration, officials replaced that rule     to active service. But armed with        Chevron, the agency
with a different one, all before President Joseph R. Biden,        defeated Mr. Buffington's claim. Maybe the self-serving
Jr.’s administration declared its intention to reverse course      regulation the VA cited as justification for its action was not
for yet a fourth time. See Safeguarding and Securing the           premised on the best reading of the law, courts said, but it
                                                                   represented a “ ‘permissible’ ” one. 598 U. S., at ––––, 143
Open Internet, 88 Fed. Reg. 76048 (2023);     Brand X, 545
                                                                   S.Ct. at 17. In that way, the Executive Branch was able to
U.S. at 981–982, 125 S.Ct. 2688. Each time, the government
                                                                   evade Congress's promises to someone who took the field
claimed its new rule was just as “reasonable” as the last.
                                                                   repeatedly in the Nation's defense.
Rather than promoting reliance by fixing the meaning of the
law,    Chevron deference engenders constant uncertainty



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           31
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 38 of 59

*2289 In another case, one which I heard as a court                fair hearing, one in which they stand on equal footing with the
                                                                   government before an independent judge.
of appeals judge,  De Niz Robles v. Lynch, 803 F.3d
1165 (CA10 2015), the Board of Immigration Appeals
invoked     Chevron to overrule a judicial precedent on which
                                                                                                 C
many immigrants had relied, see  In re Briones, 24 I.
& N. Dec. 355, 370 (BIA 2007) (purporting to overrule              How could a Court, guided for 200 years by Chief Justice

    Padilla–Caldera v. Gonzales, 426 F.3d 1294 (CA10               Marshall's example, come to embrace a counter- Marbury
2005)). The agency then sought to apply its new interpretation     revolution, one at war with the APA, time honored precedents,
retroactively to punish those immigrants—including Alfonzo         and so much surrounding law? To answer these questions,
De Niz Robles, who had relied on that judicial precedent as        turn to Lesson 3 and witness the temptation to endow a stray
authority to remain in this country with his U. S. wife and four   passage in a judicial decision with extraordinary authority.
                                                                   Call it “power quoting.”
children. See     803 F.3d at 1168–1169. Our court ruled that
this retrospective application of the BIA's new interpretation
of the law violated Mr. De Niz Robles's due process rights.           Chevron was an unlikely place for a revolution to begin.
                                                                   The case concerned the Clean Air Act's requirement that
   Id., at 1172. But as a lower court, we could treat only
                                                                   States regulate “stationary sources” of air pollution in their
the symptom, not the disease. So        Chevron permitted the      borders. See 42 U.S.C. § 7401 et seq. At the time, it was
agency going forward to overrule a judicial decision about the     an open question whether entire industrial plants or their
best reading of the law with its own different “reasonable” one    constituent polluting parts counted as “stationary sources.”
and in that way deny relief to countless future immigrants.        The Environmental Protection Agency had defined entire
                                                                   plants as sources, an approach that allowed companies to
Those are just two stories among so many that federal judges       replace individual plant parts without automatically triggering
could tell (and have told) about what   Chevron deference          the permitting requirements that apply to new sources.
has meant for ordinary people interacting with the federal            Chevron, 467 U.S. at 840, 104 S.Ct. 2778.
government. See, e.g.,     Lambert v. Saul, 980 F.3d 1266,
1268–1276 (CA9 2020); Valent v. Commissioner of Social             This Court upheld the EPA's definition as consistent with
Security, 918 F.3d 516, 525–527 (CA6 2019) (Kethledge, J.,         the governing statute. *2290       Id., at 866, 104 S.Ct.
dissenting); Gonzalez v. United States Atty. Gen., 820 F.3d        2778. The decision, issued by a bare quorum of the Court,
399, 402–405 (CA11 2016) (per curiam).                             without concurrence or dissent, purported to apply “well-
                                                                   settled principles.”    Id., at 845, 104 S.Ct. 2778. “If a
What does the federal government have to say about this?           court, employing traditional tools of statutory construction,
It acknowledges that       Chevron sits as a heavy weight on       ascertains that Congress had an intention on the precise
the scale in favor of the government, “oppositional” to many       question at issue,”   Chevron provided, then “that intention
“categories of individuals.” Tr. of Oral Arg. in No. 22–1219,
                                                                   is the law and must be given effect.”    Id., at 843, n. 9, 104
p. 133 (Relentless Tr.). But, according to the government,
                                                                   S.Ct. 2778. Many of the cases       Chevron cited to support
   Chevron deference is too important an innovation to undo.
                                                                   its judgment stood for the traditional proposition that courts
In its brief reign, the government says, it has become a
                                                                   afford respectful consideration, not deference, to executive
“fundamenta[l] ... ground rul[e] for how all three branches of
the government are operating together.” Relentless Tr. 102.        interpretations of the law. See, e.g.,  Burnet, 285 U.S. at
But, in truth, the Constitution, the APA, and our longstanding     16, 52 S.Ct. 275; United States v. Moore, 95 U.S. 760, 763,
precedents set those ground rules some time ago. And under         24 L.Ed. 588 (1878). And the decision's sole citation to legal
them, agencies cannot invoke a judge-made fiction to unsettle      scholarship was to Roscoe Pound, who long championed
our Nation's promise to individuals that they are entitled to      de novo judicial review.     467 U.S. at 843, n. 10, 104
make their arguments about the law's demands on them in a          S.Ct. 2778; see R. Pound, The Place of the Judiciary in a
                                                                   Democratic Polity, 27 A. B. A. J. 133, 136–137 (1941).


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           32
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024              Page 39 of 59

                                                                   Duke L. J. 511, 521 (1989) (Scalia). The rule he advocated
At the same time, of course, the opinion contained bits and        for represented such a sharp break from prior practice, he
pieces that spoke differently. The decision also said that, “if    explained, that many judges of his day didn't yet “understand”
[a] statute is silent or ambiguous with respect to [a] specific    the “old criteria” were “no longer relevant.” Ibid. Still, he said,
issue, the question for the court is whether the agency's answer   overthrowing *2291 the past was worth it because a new
                                                                   deferential rule would be “easier to follow.” Ibid.
is based on a permissible construction of the statute.” 467
U.S. at 843, 104 S.Ct. 2778. But it seems the government
                                                                   Events proved otherwise. As the years wore on and the
didn't advance this formulation in its brief, so there was
no adversarial engagement on it. T. Merrill, The Story of          Court's new and aggressive reading of       Chevron gradually
Chevron: The Making of an Accidental Landmark, 66 Admin.           exposed itself as unworkable, unfair, and at odds with our
L. Rev. 253, 268 (2014) (Merrill). As we have seen, too, the       separation of powers, Justice Scalia could have doubled down
Court did not pause to consider (or even mention) the APA.         on the project. But he didn't. He appreciated that stare decisis
See Part II–A, supra. It did not discuss contrary precedents       is not a rule of “if I thought it yesterday, I must think it
issued by the Court since the founding, let alone purport          tomorrow.” And rather than cling to the pride of personal
to overrule any of them. See Part II–B–1, supra. Nor did           precedent, the Justice began to express doubts over the very
the Court seek to address how its novel rule of deference
                                                                   project that he had worked to build. See Perez v. Mortgage
might be squared with so much surrounding law. See Part
                                                                   Bankers Assn., 575 U.S. 92, 109–110, 135 S.Ct. 1199, 191
II–B–2, supra. As even its defenders have acknowledged,
                                                                   L.Ed.2d 186 (2015) (opinion concurring in judgment); cf.
“ Chevron barely bothered to justify its rule of deference,
                                                                      Decker v. Northwest Environmental Defense Center, 568
and the few brief passages on this matter pointed in disparate
                                                                   U.S. 597, 617–618, 621, 133 S.Ct. 1326, 185 L.Ed.2d 447
directions.” Kagan 212–213. “[T]he quality of the reasoning,”
                                                                   (2013) (opinion concurring in part and dissenting in part). If
they acknowledge, “was not high,” C. Sunstein, Chevron as
Law, 107 Geo. L. J. 1613, 1669 (2019).                                Chevron’s ascent is a testament to the Justice's ingenuity,
                                                                   its demise is an even greater tribute to his humility. 6
If    Chevron meant to usher in a revolution in how judges
interpret laws, no one appears to have realized it at the          Justice Scalia was not alone in his reconsideration. After

time.    Chevron’s author, Justice Stevens, characterized the      years spent laboring under Chevron, trying to make sense
decision as a “simpl[e] ... restatement of existing law, nothing   of it and make it work, Member after Member of this
more or less.” Merrill 255, 275. In the “19 argued cases” in the   Court came to question the project. See, e.g.,  Pereira
following Term “that presented some kind of question about         v. Sessions, 585 U.S. 198, 219–221, 138 S.Ct. 2105, 201
whether the Court should defer to an agency interpretation of
                                                                   L.Ed.2d 433 (2018) (Kennedy, J., concurring);    Michigan
statutory law,” this Court cited Chevron just once. Merrill        v. EPA, 576 U.S. 743, 760–764, 135 S.Ct. 2699, 192 L.Ed.2d
276. By some accounts, the decision seemed “destined to
                                                                   674 (2015) (THOMAS, J., concurring);  Kisor, 588 U.S.
obscurity.” Ibid.
                                                                   at 591, 139 S.Ct. 2400 (ROBERTS, C. J., concurring in

It was only three years later when Justice Scalia wrote a          part);   Gutierrez-Brizuela, 834 F.3d at 1153; Buffington,
concurrence that a revolution began to take shape. Buffington,     598 U. S., at –––– – ––––, 143 S.Ct. at 21–22; Kavanaugh
598 U. S., at ––––, 143 S.Ct. at 18. There, he argued for          2150–2154. Ultimately, the Court gave up. Despite repeated
a new rule requiring courts to defer to executive agency           invitations, it has not applied     Chevron deference since
interpretations of the law whenever a “ ‘statute is silent         2016. Relentless Tr. 81; App. to Brief for Respondents in No.
or ambiguous.’ ” NLRB v. Food & Commercial Workers,                22–1219, p. 68a. So an experiment that began only in the
484 U.S. 112, 133–134, 108 S.Ct. 413, 98 L.Ed.2d 429               mid-1980s effectively ended eight years ago. Along the way,
(1987) (opinion of Scalia, J.). Eventually, a majority of the      an unusually large number of federal appellate judges voiced
Court followed his lead. Buffington, 598 U. S., at ––––,
143 S.Ct. at 18. But from the start, Justice Scalia made           their own thoughtful and extensive criticisms of Chevron.
no secret about the scope of his ambitions. See Judicial           Buffington, 598 U. S., at –––– – ––––, 143 S.Ct. at 21–
Deference to Administrative Interpretations of Law, 1989           22 (collecting examples). A number of state courts did,



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                              33
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                      Filed: 08/02/2024            Page 40 of 59

                                                                    This Court's opinions fill over 500 volumes, and perhaps
too, refusing to import    Chevron deference into their own
                                                                    “some printed judicial word may be found to support almost
administrative law jurisprudence. See 598 U. S., at ––––, 143
                                                                    any plausible proposition.” R. Jackson, Decisional Law and
S.Ct. at 22.
                                                                    Stare Decisis, 30 A. B. A. J. 334 (1944). It is not for us
                                                                    to pick and choose passages we happen to like and demand
Even if all that and everything else laid out above is true, the
                                                                    total obedience to them in perpetuity. That would turn stare
government suggests we should retain        Chevron deference       decisis from a doctrine of humility into a tool for judicial
because judges simply cannot live without it; some statutes
                                                                    opportunism.     Brown, 596 U.S. at 141, 142 S.Ct. 1510.
are just too “technical” for courts to interpret “intelligently.”
Post, at 2298, 2311 (dissenting opinion). But that objection
is no answer to    Chevron’s inconsistency with Congress's
                                                                                                  III
directions in the APA, so much surrounding law, or the
challenges its multistep regime have posed in practice. Nor         Proper respect for precedent helps “keep the scale of justice
does history counsel such defeatism. Surely, it would be a          even and steady,” by reinforcing decisional rules consistent
mistake to suggest our predecessors before   Chevron’s rise         with the law upon which all can rely. 1 Blackstone 69. But
in the mid-1980s were unable to make their way intelligently        that respect does not require, nor does it readily tolerate, a
through technical statutory disputes. Following their lead,         steadfast refusal to correct mistakes. As early as 1810, this
over the past eight years this Court has managed to resolve         Court had already overruled one of its cases. See    Hudson v.
even highly complex *2292 cases without         Chevron             Guestier, 6 Cranch 281, 284, 3 L.Ed. 224 (overruling Rose
deference, and done so even when the government sought              v. Himely, 4 Cranch 241, 2 L.Ed. 608 (1808)). In recent years,
deference. Nor, as far as I am aware, did any Member of             the Court may have overruled precedents less frequently than
the Court suggest     Chevron deference was necessary to an         it did during the Warren and Burger Courts. See Part I–C,
intelligent resolution of any of those matters. 7 If anything,      supra. But the job of reconsidering past decisions remains one
                                                                    every Member of this Court faces from time to time. 8
by affording     Chevron deference a period of repose before
addressing whether it should be retained, the Court has
                                                                     *2293 Justice William O. Douglas served longer on this
enabled its Members to test the propriety of that precedent
                                                                    Court than any other person in the Nation's history. During his
and reflect more deeply on how well it fits into the broader
                                                                    tenure, he observed how a new colleague might be inclined
architecture of our law. Others may see things differently,
                                                                    initially to “revere” every word written in an opinion issued
see post, at 2307 - 2309 (dissenting opinion), but the caution
                                                                    before he arrived. W. Douglas, Stare Decisis, 49 Colum.
the Court has exhibited before overruling      Chevron may          L. Rev. 735, 736 (1949). But, over time, Justice Douglas
illustrate one of the reasons why the current Court has been        reflected, his new colleague would “remembe[r] ... that it is
slower to overrule precedents than some of its predecessors,        the Constitution which he swore to support and defend, not the
see Part I–C, supra.                                                gloss which his predecessors may have put on it.” Ibid. And
                                                                    “[s]o he [would] com[e] to formulate his own views, rejecting
None of this, of course, discharges any Member of this Court        some earlier ones as false and embracing others.” Ibid. This
from the task of deciding for himself or herself today whether      process of reexamination, Justice Douglas explained, is a
   Chevron deference itself warrants deference. But when so         “necessary consequence of our system” in which each judge
many past and current judicial colleagues in this Court and         takes an oath—both “personal” and binding—to discern the
across the country tell us our doctrine is misguided, and when      law's meaning for himself and apply it faithfully in the cases
                                                                    that come before him. Id., at 736–737.
we ourselves managed without       Chevron for centuries and
manage to do so today, the humility at the core of stare decisis    Justice Douglas saw, too, how appeals to precedent could
compels us to pause and reflect carefully on the wisdom             be overstated and sometimes even overwrought. Judges, he
embodied in that experience. And, in the end, to my mind            reflected, would sometimes first issue “new and startling
the lessons of experience counsel wisely against continued          decision[s],” and then later spin around and “acquire an acute
reliance on     Chevron’s stray and unconsidered digression.        conservatism” in their aggressive defense of “their new status
                                                                    quo.” Id., at 737. In that way, even the most novel and unlikely


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             34
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                 Document #2068009                     Filed: 08/02/2024             Page 41 of 59

decisions became “coveted anchorage[s],” defended heatedly,      administrative law, allocating responsibility for statutory
if ironically, under the banner of “stare decisis.” Ibid.; see
                                                                 construction between courts and agencies. Under Chevron,
also Edwards v. Vannoy, 593 U.S. 255, 294, n. 7, 141 S.Ct.       a court uses all its normal interpretive tools to determine
1547, 209 L.Ed.2d 651 (2021) (GORSUCH, J., concurring).          whether Congress has spoken to an issue. If the court finds
                                                                 Congress has done so, that is the end of the matter; the
                                                                 agency's views make no difference. But if the court finds,
That is Chevron’s story: A revolution masquerading as the
                                                                 at the end of its interpretive work, that Congress has left an
status quo. And the defense of it follows the same course
                                                                 ambiguity or gap, then a choice must be made. Who should
Justice Douglas described. Though our dissenting colleagues
                                                                 give content to a statute when Congress's instructions have
have not hesitated to question other precedents in the past,
                                                                 run out? Should it be a court? Or should it be the agency
they today manifest what Justice Douglas called an “acute
                                                                 Congress has charged with administering the statute? The
conservatism” for        Chevron’s “startling” development,
                                                                 answer      Chevron gives is that it should usually be the
insisting that if this “coveted anchorage” is abandoned the
                                                                 agency, within the bounds of reasonableness. That rule has
heavens will fall. But the Nation managed to live with busy
                                                                 formed the backdrop against which Congress, courts, and
executive agencies of all sorts long before the     Chevron      agencies—as well as regulated parties and the public—all
revolution began to take shape in the mid-1980s. And all         have operated for decades. It has been applied in thousands of
today's decision means is that, going forward, federal courts    judicial decisions. It has become part of the warp and woof of
will do exactly as this Court has since 2016, exactly as it      modern government, supporting regulatory efforts of all kinds
did before the mid-1980s, and exactly as it had done since       —to name a few, keeping air and water clean, food and drugs
the founding: resolve cases and controversies without any        safe, and financial markets honest.
systemic bias in the government's favor.
                                                                 And the rule is right. This Court has long understood
Proper respect for precedent does not begin to suggest
                                                                     Chevron deference to reflect what Congress would want,
otherwise. Instead, it counsels respect for the written law,
                                                                 and so to be rooted in a presumption of legislative intent.
adherence to consistent teachings over aberrations, and
                                                                 Congress knows that it does not—in fact cannot—write
resistance to the temptation of treating our own stray remarks
                                                                 perfectly complete regulatory statutes. It knows that those
as if they were statutes. And each of those lessons points
                                                                 statutes will inevitably contain ambiguities that some other
toward the same conclusion today:        Chevron deference is    actor will have to resolve, and gaps that some other actor
inconsistent with the directions Congress gave us in the APA.    will have to fill. And it would usually prefer that actor to be
It represents a grave anomaly when viewed against the sweep      the responsible agency, not a court. Some interpretive issues
of historic judicial practice. The decision undermines core      arising in the regulatory context involve scientific or technical
rule-of-law values ranging from the promise of fair notice       subject matter. Agencies have expertise in those areas;
to the promise of a fair hearing. Even on its own terms, it      courts do not. Some demand a detailed understanding of
has proved unworkable and operated to undermine rather than      complex and interdependent regulatory programs. Agencies
advance reliance interests, often to the detriment of ordinary   know those programs inside-out; again, courts do not. And
Americans. And from the start, the whole project has relied      some present policy choices, including trade-offs between
on the overaggressive use of snippets and stray remarks from     competing goods. Agencies report to a President, who in turn
an opinion that carried mixed messages. Stare decisis’s true     answers to the public for his policy calls; courts have no such
lesson today is not that we *2294 are bound to respect           accountability and no proper basis for making policy. And of
   Chevron’s “startling development,” but bound to inter it.     course Congress has conferred on that expert, experienced,
                                                                 and politically accountable agency the authority to administer
                                                                 —to make rules about and otherwise implement—the statute
                                                                 giving rise to the ambiguity or gap. Put all that together and
Justice KAGAN, with whom Justice SOTOMAYOR and                   deference to the agency is the almost obvious choice, based on
Justice JACKSON join, * dissenting.                              an implicit congressional delegation of interpretive authority.
                                                                 We defer, the Court has explained, “because of a presumption
For 40 years,  Chevron U. S. A. Inc. v. Natural Resources
                                                                 that Congress” would have “desired the agency (rather than
Defense Council, Inc., 467 U.S. 837, 104 S.Ct. 2778,
                                                                 the courts)” to exercise “whatever degree of discretion” the
81 L.Ed.2d 694 (1984), has served as a cornerstone of


               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           35
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 42 of 59

                                                                   could always overrule the decision, and because so many
statute allows. Smiley v. Citibank (South Dakota), N. A.,
                                                                   governmental and private actors have relied on it for so long.
517 U.S. 735, 740–741, 116 S.Ct. 1730, 135 L.Ed.2d 25
                                                                   Because that is so, the majority needs a “particularly special
(1996).
                                                                   justification” for its action.  Kisor v. Wilkie, 588 U.S. 558,
Today, the Court flips the script: It is now “the courts (rather   588, 139 S.Ct. 2400, 204 L.Ed.2d 841 (2019) (opinion of the
than the agency)” that will wield power when Congress              Court). But the majority has nothing that would qualify. It
has left an area of interpretive discretion. A rule of judicial    barely tries to advance the usual factors this Court invokes
humility gives way to a rule of judicial hubris. In recent         for overruling precedent. Its justification comes down, in
years, this Court has too often taken for itself decision-         the end, to this: Courts must have more say over regulation
making authority Congress assigned *2295 to agencies.              —over the provision of health care, the protection of the
The Court has substituted its own judgment on workplace            environment, the safety of consumer products, the efficacy of
health for that of the Occupational Safety and Health              transportation systems, and so on. A longstanding precedent
Administration; its own judgment on climate change for             at the crux of administrative governance thus falls victim to
that of the Environmental Protection Agency; and its own           a bald assertion of judicial authority. The majority disdains
judgment on student loans for that of the Department of            restraint, and grasps for power.
Education. See, e.g.,  National Federation of Independent
Business v. OSHA, 595 U.S. 109, 142 S.Ct. 661, 211 L.Ed.2d
                                                                                                  I
448 (2022);     West Virginia v. EPA, 597 U.S. 697, 142 S.Ct.
2587, ––– L.Ed.2d –––– (2022);        Biden v. Nebraska, 600       Begin with the problem that gave rise to          Chevron (and
U. S. 477, 143 S.Ct. 2355, 216 L.Ed.2d 1063 (2023). But            also to its older precursors): The regulatory statutes Congress
evidently that was, for this Court, all too piecemeal. In one      passes often contain ambiguities and gaps. Sometimes they
fell swoop, the majority today gives itself exclusive power        are intentional. Perhaps Congress “consciously desired” the
over every open issue—no matter how expertise-driven or            administering agency to fill in aspects of the legislative
policy-laden—involving the meaning of regulatory law. As           scheme, believing that regulatory experts would be “in a
if it did not have enough on its plate, the majority turns
itself into the country's administrative czar. It defends that     better position” than legislators to do so.    Chevron, 467
move as one (suddenly) required by the (nearly 80-year-old)        U.S. at 865, 104 S.Ct. 2778. Or “perhaps Congress was unable
Administrative Procedure Act. But the Act makes no such            to forge a coalition on either side” of a question, and the
demand. Today's decision is not one Congress directed. It is       contending parties “decided to take their chances with” the
entirely the majority's choice.                                    agency's resolution.     Ibid. Sometimes, though, the gaps
                                                                   or ambiguities are what might be thought of as predictable
And the majority cannot destroy one doctrine of judicial           accidents. They may be the result of sloppy drafting, a not
humility without making a laughing-stock of a second. (If          infrequent legislative occurrence. Or they may arise *2296
opinions had titles, a good candidate for today's would be         from the well-known limits of language or foresight. Accord,
Hubris Squared.) Stare decisis is, among other things, a           ante, at 2257, 2265 - 2266. “The subject matter” of a statutory
way to remind judges that wisdom often lies in what prior          provision may be too “specialized and varying” to “capture
judges have done. It is a brake on the urge to convert
                                                                   in its every detail.” Kisor, 588 U.S. at 566, 139 S.Ct. 2400
“every new judge's opinion” into a new legal rule or regime.
                                                                   (plurality opinion). Or the provision may give rise, years or
    Dobbs v. Jackson Women's Health Organization, 597              decades down the road, to an issue the enacting Congress
U.S. 215, 388, 142 S.Ct. 2228, 213 L.Ed.2d 545 (2022)              could not have anticipated. Whichever the case—whatever
(joint opinion of Breyer, SOTOMAYOR, and KAGAN, JJ.,               the reason—the result is to create uncertainty about some
dissenting) (quoting 1 W. Blackstone, Commentaries on the          aspect of a provision's meaning.
Laws of England 69 (7th ed. 1775)). Chevron is entrenched
precedent, entitled to the protection of stare decisis, as even    Consider a few examples from the caselaw. They will help

the majority acknowledges. In fact,    Chevron is entitled to      show what a typical        Chevron question looks like—or
the supercharged version of that doctrine because Congress         really, what a typical   Chevron question is. Because when



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           36
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                      Filed: 08/02/2024            Page 43 of 59

choosing whether to send some class of questions mainly to
a court, or mainly to an agency, abstract analysis can only go      • Or take   Chevron itself. In amendments to the Clean
so far; indeed, it may obscure what matters most. So I begin          Air Act, Congress told States to require permits for
with the concrete:                                                    modifying or constructing “stationary sources” of air

  • Under the Public Health Service Act, the Food and Drug             pollution.     42 U.S.C. § 7502(c)(5). Does the term
     Administration (FDA) regulates “biological product[s],”           “stationary source[ ]” refer to each pollution-emitting
                                                                       piece of equipment within a plant? Or does it refer to
     including “protein[s].”   42 U.S.C. § 262(i)(1). When
                                                                       the entire plant, and thus allow escape *2297 from the
     does an alpha amino acid polymer qualify as such a
                                                                       permitting requirement when increased emissions from
     “protein”? Must it have a specific, defined sequence of
                                                                       one piece of equipment are offset by reductions from
     amino acids? See Teva Pharmaceuticals USA, Inc. v.
     FDA, 514 F.Supp.3d 66, 79–80, 93–106 (D.C.C. 2020).               another? See      467 U.S. at 857, 859, 104 S.Ct. 2778.

  • Under the Endangered Species Act, the Fish and                In each case, a statutory phrase has more than one reasonable
    Wildlife Service must designate endangered “vertebrate        reading. And Congress has not chosen among them: It has not,
    fish or wildlife” species, including “distinct population     in any real-world sense, “fixed” the “single, best meaning” at
                                                                  “the time of enactment” (to use the majority's phrase). Ante,
     segment[s]” of those species.      16 U.S.C. § 1532(16);
                                                                  at 2266. A question thus arises: Who decides which of the
     see § 1533. What makes one population segment
                                                                  possible readings should govern?
     “distinct” from another? Must the Service treat the
     Washington State population of western gray squirrels
                                                                  This Court has long thought that the choice should usually fall
     as “distinct” because it is geographically separated from
                                                                  to agencies, with courts broadly deferring to their judgments.
     other western gray squirrels? Or can the Service take
                                                                  For the last 40 years, that doctrine has gone by the name of
     into account that the genetic makeup of the Washington
     population does not differ markedly from the rest? See          Chevron deference, after the 1984 decision that formalized

        Northwest Ecosystem Alliance v. United States Fish        and canonized it. In    Chevron, the Court set out a simple
     and Wildlife Serv., 475 F.3d 1136, 1140–1145, 1149           two-part framework for reviewing an agency's interpretation
     (CA9 2007).                                                  of a statute that it administers. First, the reviewing court
                                                                  must determine whether Congress has “directly spoken to
  • Under the Medicare program, reimbursements to
                                                                  the precise question at issue.”      467 U.S. at 842, 104 S.Ct.
    hospitals are adjusted to reflect “differences in hospital
                                                                  2778. That inquiry is rigorous: A court must exhaust all the
     wage levels” across “geographic area[s].”  42 U.S.C.         “traditional tools of statutory construction” to divine statutory
     § 1395ww(d)(3)(E)(i). How should the Department of
                                                                  meaning.      Id., at 843, n. 9, 104 S.Ct. 2778. And when
     Health and Human Services measure a “geographic
                                                                  it can find that meaning—a “single right answer”—that is
     area”? By city? By county? By metropolitan area? See
                                                                  “the end of the matter”: The court cannot defer because
          Bellevue Hospital Center v. Leavitt, 443 F.3d 163,      it “must give effect to the unambiguously expressed intent
     174–176 (CA2 2006).
                                                                  of Congress.”       Kisor, 588 U.S. at 575, 139 S.Ct. 2400
  • Congress directed the Department of the Interior and          (opinion of the Court);     Chevron, 467 U.S. at 842–843,
    the Federal Aviation Administration to reduce noise           104 S.Ct. 2778. But if the court, after using its whole legal
    from aircraft flying over Grand Canyon National Park          toolkit, concludes that “the statute is silent or ambiguous
    —specifically, to “provide for substantial restoration of     with respect to the specific issue” in dispute—for any of
    the natural quiet.” § 3(b)(1), 101 Stat. 676; see § 3(b)      the not-uncommon reasons discussed above—then the court
    (2). How much noise is consistent with “the natural
    quiet”? And how much of the park, for how many hours          must cede the primary interpretive role. Ibid.; see supra, at
    a day, must be that quiet for the “substantial restoration”   2295 - 2296. At that second step, the court asks only whether
                                                                  the agency construction is within the sphere of “reasonable”
     requirement to be met? See  Grand Canyon Air Tour
     Coalition v. FAA, 154 F.3d 455, 466–467, 474–475             readings.    Chevron, 467 U.S. at 844, 104 S.Ct. 2778. If it
     (CADC 1998).


               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            37
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024             Page 44 of 59

is, the agency's interpretation of the statute that it every day   when one squirrel population is “distinct” from another (and
implements will control.                                           thus warrants protection) requires knowing about species
                                                                   more than it does consulting a dictionary. How much
That rule, the Court has long explained, rests on a                variation of what kind—geographic, genetic, morphological,
presumption about legislative intent—about what Congress           or behavioral—should be required? A court could, if forced
wants when a statute it has charged an agency with                 to, muddle through that issue and announce a result. But
                                                                   wouldn't the Fish and Wildlife Service, with all its specialized
implementing contains an ambiguity or a gap. See            id.,
                                                                   expertise, do a better job of the task—of saying what, in the
at 843–845, 104 S.Ct. 2778;         Smiley, 517 U.S. at 740–       context of species protection, the open-ended term “distinct”
741, 116 S.Ct. 1730. An enacting Congress, as noted above,
                                                                   means? One idea behind the  Chevron presumption is that
knows those uncertainties will arise, even if it does not know
                                                                   Congress—the same Congress that charged the Service with
what they will turn out to be. See supra, at 2295 - 2296.
                                                                   implementing the Act—would answer that question with a
And every once in a while, Congress provides an explicit
                                                                   resounding “yes.”
instruction for dealing with that contingency—assigning
primary responsibility to the courts, or else to an agency. But
                                                                   A second idea is that Congress would value the agency's
much more often, Congress does not say. Thus arises the need
                                                                   experience with how a complex regulatory regime functions,
for a presumption—really, a default rule—for what should
                                                                   and with what is needed to make it effective. Let's stick with
happen in that event. Does a statutory silence or ambiguity
                                                                   squirrels for a moment, except broaden the lens. In construing
then go to a court for resolution? Or to an agency? This Court
                                                                   a term like “distinct” in a case about squirrels, the Service
has long thought Congress would choose an agency, with
                                                                   likely would benefit from its “historical familiarity” with
courts serving only as a backstop to make sure the agency
                                                                   how the term has covered the population segments of other
makes a reasonable choice among the possible readings. Or
said otherwise, Congress would select the agency it has put        species. Martin v. Occupational Safety and Health Review
in control of a regulatory scheme to exercise the “degree of       Comm'n, 499 U.S. 144, 153, 111 S.Ct. 1171, 113 L.Ed.2d 117
discretion” that the statute's lack of clarity or completeness
                                                                   (1991); see, e.g.,     *2299 Center for Biological Diversity
allows. Smiley, 517 U.S. at 741, 116 S.Ct. 1730. Of course,        v. Zinke, 900 F.3d 1053, 1060–1062 (CA9 2018) (arctic
Congress can always refute that presumptive choice—can say         grayling); Center for Biological Diversity v. Zinke, 868 F.3d
that, really, it would prefer courts to wield that discretionary   1054, 1056 (CA9 2017) (desert eagle). Just as a common-law
power. But until then, the presumption cuts in the agency's        court makes better decisions as it sees multiple variations on
favor. 1 The next question is why.                                 a theme, an agency's construction of a statutory term benefits
                                                                   from its unique exposure to all the related ways the term
 *2298 For one, because agencies often know things about           comes into play. Or consider, for another way regulatory
a statute's subject matter that courts could not hope to. The      familiarity matters, the example about adjusting Medicare
point is especially stark when the statute is of a “scientific     reimbursement for geographic wage differences. See supra,
                                                                   at 2296. According to a dictionary, the term “geographic area”
or technical nature.”    Kisor, 588 U.S. at 571, 139 S.Ct.         could be as large as a multi-state region or as small as a census
2400 (plurality opinion). Agencies are staffed with “experts       tract. How to choose? It would make sense to gather hard
in the field” who can bring their training and knowledge to        information about what reimbursement levels each approach
bear on open statutory questions.        Chevron, 467 U.S. at      will produce, to explore the ease of administering each on a
865, 104 S.Ct. 2778. Consider, for example, the first bulleted     nationwide basis, to survey how regulators have dealt with
case above. When does an alpha amino acid polymer qualify          similar questions in the past, and to confer with the hospitals
as a “protein”? See supra, at 2296. I don't know many              themselves about what makes sense. See Kisor, 588 U.S. at
judges who would feel confident resolving that issue. (First       571, 139 S.Ct. 2400 (plurality opinion) (noting that agencies
question: What even is an alpha amino acid polymer?) But           are able to “conduct factual investigations” and “consult with
the FDA likely has scores of scientists on staff who can think     affected parties”). Congress knows the Department of Health
intelligently about it, maybe collaborate with each other on       and Human Services can do all those things—and that courts
its finer points, and arrive at a sensible answer. Or take the     cannot.
perhaps more accessible-sounding second case, involving the
Endangered Species Act. See supra, at 2295 - 2297. Deciding



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            38
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 45 of 59

Still more,     Chevron’s presumption reflects that resolving      rulemaking or adjudicatory authority. See United States v.
statutory ambiguities, as Congress well knows, is “often more      Mead Corp., 533 U.S. 218, 226–227, 121 S.Ct. 2164, 150
a question of policy than of law.” Pauley v. BethEnergy Mines,
                                                                   L.Ed.2d 292 (2001);     Encino Motorcars, LLC v. Navarro,
Inc., 501 U.S. 680, 696, 111 S.Ct. 2524, 115 L.Ed.2d 604
                                                                   579 U.S. 211, 220, 136 S.Ct. 2117, 195 L.Ed.2d 382 (2016).
(1991). The task is less one of construing a text than of
                                                                   Again, that should not be surprising: Congress expects that
balancing competing goals and values. Consider the statutory
                                                                   authoritative pronouncements on a law's meaning will come
directive to achieve “substantial restoration of the [Grand
                                                                   from the procedures it has enacted to foster “fairness and
Canyon's] natural quiet.” See supra, at 2296. Someone is
going to have to decide exactly what that statute means for air    deliberation” in agency decision-making.       Mead, 533 U.S.
traffic over the canyon. How many flights, in what places and      at 230, 121 S.Ct. 2164. Or finally, think of the “extraordinary
at what times, are consistent with restoring enough natural        cases” involving questions of vast “economic and political
quiet on the ground? That is a policy trade-off of a kind          significance” in which the Court has declined to defer.
familiar to agencies—but peculiarly unsuited to judges. Or            King v. Burwell, 576 U.S. 473, 485–486, 135 S.Ct. 2480,
consider      Chevron itself. As the Court there understood,       192 L.Ed.2d 483 (2015). The theory is that Congress would
the choice between defining a “stationary source” as a whole       not have left matters of such import to an agency, but
plant or as a pollution-emitting device is a choice about how      would instead have insisted on maintaining control. So the

to “reconcile” two “manifestly competing interests.”      467         Chevron refinements proceed from the same place as
U.S. at 865, 104 S.Ct. 2778. The plantwide definition relaxes      the original doctrine. Taken together, they give interpretive
the permitting requirement in the interest of promoting            primacy to the agency when—but only when—it is acting, as
economic growth; the device-specific definition strengthens        Congress specified, in the heartland of its delegated authority.

that requirement to better reduce air pollution. See       id.,
                                                                   That carefully calibrated framework “reflects a sensitivity
at 851, 863, 866, 104 S.Ct. 2778. Again, that is a choice
                                                                   to the proper roles of the political and judicial branches.”
a judge should not be making, but one an agency properly
                                                                   Pauley, 501 U.S. at 696, 111 S.Ct. 2524. Where Congress
can. Agencies are “subject to the supervision of the President,
                                                                   has spoken, Congress has spoken; only its judgments matter.
who in turn answers to the public.”     Kisor, 588 U.S. at         And courts alone determine when that has happened: Using
571–572, 139 S.Ct. 2400 (plurality opinion). So when faced         all their normal interpretive tools, they decide whether
with a statutory ambiguity, “an agency to which Congress           Congress has addressed a given issue. But when courts have
has delegated policymaking responsibilities” may rely on           decided that Congress has not done so, a choice arises.
an accountable actor's “views of wise policy to inform its         Absent a legislative directive, either the administering agency
                                                                   or a court must take the lead. And the matter is more
judgments.”     Chevron, 467 U.S. at 865, 104 S.Ct. 2778.
                                                                   fit for the agency. The decision is likely to involve the
                                                                   agency's subject-matter expertise; to fall within its sphere
None of this is to say that deference to agencies is
                                                                   of regulatory experience; and to involve policy choices,
always appropriate. The Court over time has fine-tuned the
                                                                   including cost-benefit assessments and trade-offs between
   Chevron regime to deny deference in classes of cases            conflicting values. So a court without relevant expertise
in which Congress has no reason to prefer an agency to             or experience, and without warrant to make policy calls,
a court. The majority treats those “refinements” as a flaw         appropriately steps back. The court still has a role to play: It
in the scheme, ante, at 2268, but they are anything but.           polices the agency to ensure that it acts within the zone of
Consider the rule that an agency gets no deference when            reasonable options. But the court does not insert itself into an
construing a statute it is not responsible for administering.      agency's expertise-driven, policy-laden functions. That is the
See     Epic Systems Corp. v. Lewis, 584 U.S. 497, 519–            arrangement best suited to keep every actor in its proper lane.
520, 138 S.Ct. 1612, 200 L.Ed.2d 889 (2018). Well, of              And it is the one best suited to ensure that Congress's statutes
course not—if Congress has not put an agency in charge of          work in the way Congress intended.
implementing a statute, Congress would not have given the
agency a special role in its construction. Or take the rule that   The majority makes two points in reply, neither convincing.
an *2300 agency will not receive deference if it has reached       First, it insists that “agencies have no special competence”
its decision without using—or without using properly—its           in filling gaps or resolving ambiguities in regulatory statutes;



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            39
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                      Filed: 08/02/2024             Page 46 of 59

rather, “[c]ourts do.” Ante, at 2266. Score one for self-          everything it drafts will someday be found to contain such a
confidence; maybe not so high for self-reflection or -
                                                                   “flaw.” Given that knowledge,      Chevron asks, what would
knowledge. Of course courts often construe legal texts,
                                                                   Congress want? The presumed answer is again the same (for
hopefully well. And           Chevron’s first step takes full      the same reasons): The agency. And as with any default rule,
advantage of that talent: There, a court tries to divine what      if Congress decides otherwise, all it need do is say.
Congress meant, even in the most complicated or abstruse
statutory schemes. The deference comes in only if the court        In that respect, the proof really is in the pudding: Congress
cannot do so—if the court must admit that standard legal
                                                                   basically never says otherwise, suggesting that    Chevron
tools will not avail to fill a statutory silence or give content
                                                                   chose the presumption aligning with legislative intent (or,
to an ambiguous term. That is when the issues look like
                                                                   in the majority's words, “approximat[ing] reality,” ante, at
the ones I started off with: When does an alpha amino acid
                                                                   2265). Over the last four decades, Congress has authorized
polymer qualify as a “protein”? How distinct is “distinct”
                                                                   or reauthorized hundreds of statutes. The drafters of those
for squirrel populations? What size “geographic area” will
ensure appropriate hospital reimbursement? As between two          statutes knew all about       Chevron. See A. Gluck & L.
equally feasible understandings of “stationary source,” should     Bressman, Statutory Interpretation From the Inside—An
one choose the one more protective of the environment              Empirical Study of Congressional Drafting, Delegation, and
or the one more favorable to economic growth? The idea             the Canons: Part I, 65 Stan. L. Rev. 901, 928 (fig. 2),
that courts have “special competence” in deciding such             994 (2013). So if they had wanted a different assignment
questions whereas *2301 agencies have “no[ne]” is, if I            of interpretive responsibility, they would have inserted a
may say, malarkey. Answering those questions right does not        provision to that effect. With just a pair of exceptions I
mainly demand the interpretive skills courts possess. Instead,     know of, they did not. See        12 U.S.C. § 25b(b)(5)(A)
it demands one or more of: subject-matter expertise, long          (exception #1); 15 U.S.C. § 8302(c)(3)(A) (exception #2).
engagement with a regulatory scheme, and policy choice. It is      Similarly, Congress has declined to enact proposed legislation
courts (not agencies) that “have no special competence”—or
even legitimacy—when those are the things a decision calls         that would abolish     Chevron across the board. See S. 909,
for.                                                               116th Cong., 1st Sess., § 2 (2019) (still a bill, not a law); H. R.
                                                                   5, 115th Cong., 1st Sess., § 202 (2017) (same). So to the extent
Second, the majority complains that an ambiguity or gap            the majority is worried that the      Chevron presumption is
does not “necessarily reflect a congressional intent that an       “fiction[al],” ante, at 2268—as all legal presumptions in some
agency” should have primary interpretive authority. Ante, at       sense are—it has gotten less and less so every day for 40 years.
2265. On that score, I'll agree with the premise: It doesn't       The congressional reaction shows as well as anything could
“necessarily” do so.     Chevron is built on a presumption.        that the     Chevron Court read Congress right.
The decision does not maintain that Congress in every case
wants the agency, rather than a court, to fill in gaps. The
decision maintains that when Congress does not expressly
                                                                                                   II
pick one or the other, we need a default rule; and the best
default rule—agency or court?—is the one we think Congress         The majority's principal arguments are in a different vein.
would generally want. As to why Congress would generally           Around 80 years after the APA was enacted and 40 years
want the agency: The answer lies in everything said above
about Congress's delegation of regulatory power to the agency      after      Chevron, the majority has decided that the former
and the agency's special competencies. See supra, at 2298          precludes the latter. The APA's     Section 706, the majority
- 2299. The majority appears to think it is a showstopping         says, “makes clear” that agency interpretations of statutes
rejoinder to note that many statutory gaps and ambiguities         “are not entitled to deference.” Ante, at 2261 (emphasis in
are “unintentional.” Ante, at 2266. But to begin, many are         original). And that provision, the majority continues, codified
not; the ratio between the two is uncertain. See supra, at          *2302 the contemporaneous law, which likewise did not
2295 - 2296. And to end, why should that matter in any             allow for deference. See ante, at 2258 - 2261, 2261 - 2262.
event? Congress may not have deliberately introduced a gap         But neither the APA nor the pre-APA state of the law does the
or ambiguity into the statute; but it knows that pretty much



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                              40
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                     Filed: 08/02/2024            Page 47 of 59

work that the majority claims. Both are perfectly compatible
                                                                  The majority notes that       Section 706 requires deferential
with     Chevron deference.                                       review for agency fact-finding and policy-making (under,
                                                                  respectively, a substantial-evidence standard and an arbitrary-
                                                                  and-capricious standard). See ante, at 2261. Congress, the
   Section 706, enacted with the rest of the APA in 1946,
                                                                  majority claims, “surely would have articulated a similarly
provides for judicial review of agency action. It states:
                                                                  deferential standard applicable to questions of law had it
“To the extent necessary to decision and when presented,
                                                                  intended to depart” *2303 from de novo review. Ibid.
the reviewing court shall decide all relevant questions of
law, interpret constitutional and statutory provisions, and       Surely? In another part of    Section 706, Congress explicitly
determine the meaning or applicability of the terms of an
                                                                  referred to de novo review.     § 706(2)(F). With all those
agency action.”      5 U.S.C. § 706.                              references to standards of review—both deferential and not
                                                                  —running around       Section 706, what is “telling” (ante,
That text, contra the majority, “does not resolve the
                                                                  at 2261) is the absence of any standard for reviewing an
  Chevron question.” C. Sunstein, Chevron As Law, 107             agency's statutory constructions. That silence left the matter,
Geo. L. J. 1613, 1642 (2019) (Sunstein). Or said a bit
                                                                  as noted above, “generally indeterminate”:         Section 706
differently, Section 706 is “generally indeterminate” on the
                                                                  neither mandates nor forbids        Chevron-style deference.
matter of deference. A. Vermeule, Judging Under Uncertainty                        3
207 (2006) (Vermeule). The majority highlights the phrase         Vermeule 207.
“decide all relevant questions of law” (italicizing the “all”),
and notes that the provision “prescribes no deferential           And contra the majority, most “respected commentators”
standard” for answering those questions. Ante, at 2261. But       understood Section 706 in that way—as allowing, even if not
just as the provision does not prescribe a deferential standard   requiring, deference. Ante, at 2262. The finest administrative
of review, so too it does not prescribe a de novo standard        law scholars of the time (call them that generation's Manning,
of review (in which the court starts from scratch, without        Sunstein, and Vermeule) certainly did. Professor Louis Jaffe

giving deference). In point of fact, Section 706 does not         described something very like the Chevron two-step as the
specify any standard of review for construing statutes. See       preferred method of reviewing agency interpretations under
                                                                  the APA. A court, he said, first “must decide as a ‘question
   Kisor, 588 U.S. at 581, 139 S.Ct. 2400 (plurality opinion).    of law’ whether there is ‘discretion’ in the premises.” Judicial
And when a court uses a deferential standard—here, by             Control of Administrative Action 570 (1965). That is akin
deciding whether an agency reading is reasonable—it just as       to step 1: Did Congress speak to the issue, or did it leave
much “decide[s]” a “relevant question[ ] of law” as when          openness? And if the latter, Jaffe continued, the agency's
it uses a de novo standard.       § 706. The deferring court      view “if ‘reasonable’ is free of control.” Ibid. That of course
                                                                  looks like step 2: defer if reasonable. And just in case
then conforms to       Section 706 “by determining whether
                                                                  that description was too complicated, Jaffe conveyed his
the agency has stayed within the bounds of its assigned
                                                                  main point this way: The argument that courts “must decide
discretion—that is, whether the agency has construed [the
                                                                  all questions of law”—as if there were no agency in the
statute it administers] reasonably.” J. Manning, Chevron and
                                                                  picture—“is, in my opinion, unsound.” Id., at 569. Similarly,
the Reasonable Legislator, 128 Harv. L. Rev. 457, 459 (2014);
                                                                  Professor Kenneth Culp Davis, author of the then-preeminent
see   Arlington v. FCC, 569 U.S. 290, 317, 133 S.Ct. 1863,        treatise on administrative law, noted with approval that
185 L.Ed.2d 941 (2013) (ROBERTS, C. J., dissenting) (“We          “reasonableness” review of agency interpretations—in which
                                                                  courts “refused to substitute judgment”—had “survived the
do not ignore [     Section 706’s] command when we afford
                                                                  APA.” Administrative Law 880, 883, 885 (1951) (Davis).
an agency's statutory interpretation   Chevron deference; we      Other contemporaneous scholars and experts agreed. See R.
respect it”). 2                                                   Levin, The APA and the Assault on Deference, 106 Minn.
                                                                  L. Rev. 125, 181–183 (2021) (Levin) (listing many of them).
                                                                  They did not see in their own time what the majority finds
   Section 706’s references to standards of review in other
contexts only further undercut the majority's argument.           there today. 4




                  © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                         41
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024            Page 48 of 59

Nor, evidently, did the Supreme Court. In the years after the      expertise.” S. Breyer et al., Administrative Law and
                                                                   Regulatory Policy 21 (7th ed. 2011). And that description
APA was enacted, the Court “never indicated that        section
                                                                   extends to review of an agency's statutory constructions. An
706 rejected the idea that courts might defer to agency
                                                                   influential study of administrative practice, published five
interpretations of law.” Sunstein 1654. Indeed, not a single
                                                                   years before the APA's enactment, described the state of
Justice so much as floated that view of the APA. To the
                                                                   play: Judicial “review may, in some instances at least, be
contrary, the Court issued a number of decisions in those years
                                                                   limited to the inquiry whether the administrative construction
deferring to an *2304 agency's statutory interpretation. See,
                                                                   is a permissible one.” Final Report of Attorney General's
e.g.,  Unemployment Compensation Comm'n of Alaska v.               Committee on Administrative Procedure (1941), reprinted in
Aragon, 329 U.S. 143, 153–154, 67 S.Ct. 245, 91 L.Ed. 136          Administrative Procedure in Government Agencies, S. Doc.
(1946);    NLRB v. E. C. Atkins & Co., 331 U.S. 398, 403, 67       No. 8, 77th Cong., 1st Sess., 78 (1941). Or again: “[W]here
                                                                   the statute is reasonably susceptible of more than one
S.Ct. 1265, 91 L.Ed. 1563 (1947); Cardillo v. Liberty Mut.         interpretation, the court may accept that of the administrative
Ins. Co., 330 U.S. 469, 478–479, 67 S.Ct. 801, 91 L.Ed. 1028
                                                                   body.” Id., at 90–91. 5
(1947). And that continued right up until       Chevron. See,
e.g.,   Mitchell v. Budd, 350 U.S. 473, 480, 76 S.Ct. 527,         *2305 Two prominent Supreme Court decisions of the
100 L.Ed. 565 (1956); Zenith Radio Corp. v. United States,         1940s put those principles into action. Gray v. Powell,
437 U.S. 443, 450, 98 S.Ct. 2441, 57 L.Ed.2d 337 (1978). To        314 U.S. 402, 62 S.Ct. 326, 86 L.Ed. 301 (1941), was
be clear: Deference in those years was not always given to         then widely understood as “the leading case” on review
interpretations that would receive it under        Chevron. The    of agency interpretations. Davis 882; see      ibid. (noting
practice then was more inconsistent and less fully elaborated      that it “establish[ed] what is known as ‘the doctrine of
than it later became. The point here is only that the Court came   Gray v. Powell’ ”). There, the Court deferred to an
nowhere close to accepting the majority's view of the APA.         agency construction of the term “producer” as used in a
Take the language from Section 706 that the majority most          statutory exemption from price controls. Congress, the Court
relies on: “decide all relevant questions of law.” See ante, at    explained, had committed the scope of the exemption to the
2261. In the decade after the APA's enactment, those words         agency because its “experience in [the] field gave promise
were used only four times in Supreme Court opinions (all in        of a better informed, more equitable, adjustment of the
footnotes)—and never to suggest that courts could not defer        conflicting interests.” Gray, 314 U.S. at 412, 62 S.Ct.
to agency interpretations. See Sunstein 1656.                      326. Accordingly, the Court concluded that it was “not
                                                                   the province of a court” to “substitute its judgment” for
The majority's view of    Section 706 likewise gets no             the agency's.     Ibid. Three years later, the Court decided
support from how judicial review operated in the years
                                                                       NLRB v. Hearst Publications, Inc., 322 U.S. 111, 64 S.Ct.
leading up to the APA. That prior history matters: As
                                                                   851, 88 L.Ed. 1170 (1944), another acknowledged “leading
the majority recognizes,         Section 706 was generally         case.” Davis 882; see id., at 884. The Court again deferred,
understood to “restate[ ] the present law as to the scope of       this time to an agency's construction of the term “employee”
judicial review.” Dept. of Justice, Attorney General's Manual      in the National Labor Relations Act. The scope of that term,
on the Administrative Procedure Act 108 (1947); ante, at           the Court explained, “belong[ed] to” the agency to answer
2261 - 2262. The problem for the majority is that in the           based on its “[e]veryday experience in the administration of
years preceding the APA, courts became ever more deferential
                                                                   the statute.”   Hearst, 322 U.S. at 130, 64 S.Ct. 851. The
to agencies. New Deal administrative programs had by that
                                                                   Court therefore “limited” its review to whether the agency's
point come into their own. And this Court and others, in a
                                                                   reading had “warrant in the record and a reasonable basis in
fairly short time, had abandoned their initial resistance and
gotten on board. Justice Breyer, wearing his administrative-       law.”    Id., at 131, 64 S.Ct. 851. 6 Recall here that even the
law-scholar hat, characterized the pre-APA period this way:
                                                                   majority accepts that   Section 706 was meant to “restate[ ]
“[J]udicial review of administrative action was curtailed,
                                                                   the present law” as to judicial review. See ante, at 2262;
and particular agency decisions were frequently sustained
                                                                   supra, at 2303 - 2304. Well then? It sure would seem that the
with judicial obeisance to the mysteries of administrative
                                                                   provision allows a deference regime.


                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           42
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                     Filed: 08/02/2024              Page 49 of 59

                                                                    the then-prevailing law. See ante, at 2261 - 2262. And even
The majority has no way around those two noteworthy                 if inconsistent, that law cannot possibly be thought to have
decisions. It first appears to distinguish between “pure legal
                                                                    prohibited deference. Or otherwise said: “If     Section 706
question[s]” and the so-called mixed questions in          Gray     did not change the law of judicial review (as we have long
                                                                    recognized), then it did not proscribe a deferential standard
and      Hearst, involving the application of a legal standard
to a set of facts. Ante, at 2260. If in drawing that distinction,   then known and in use.”     Kisor, 588 U.S. at 583, 139 S.Ct.
the majority intends to confine its *2306 holding to the            2400 (plurality opinion).
pure type of legal issue—thus enabling courts to defer when
law and facts are entwined—I'd be glad. But I suspect the
                                                                    The majority's whole argument for overturning         Chevron
majority has no such intent, because that approach would
                                                                    relies on     Section 706. But the text of    Section 706 does
preserve     Chevron in a substantial part of its current
                                                                    not support that result. And neither does the contemporaneous
domain. Cf.      Wilkinson v. Garland, 601 U.S. 209, 230, 144       practice, which that text was supposed to reflect. So today's
S.Ct. 780, 218 L.Ed.2d 140 (2024) (ALITO, J., dissenting)           decision has no basis in the only law the majority deems
(noting, in the immigration context, that the universe of mixed     relevant. It is grounded on air.
questions swamps that of pure legal ones). It is frequently
in the consideration of mixed questions that the scope of
statutory terms is established and their meaning defined. See
                                                                                                  III
H. Monaghan, Marbury and the Administrative State, 83
Colum. L. Rev. 1, 29 (1983) (“Administrative application of
                                                                    And still there is worse, because abandoning      Chevron
law is administrative formulation of law whenever it involves
                                                                    subverts every known principle of stare decisis. Of course,
elaboration of the statutory norm”). How does a statutory
                                                                    respecting precedent is not an “inexorable command.”
interpreter decide, as in   Hearst, what an “employee”
                                                                       Payne v. Tennessee, 501 U.S. 808, 828, 111 S.Ct. 2597,
is? In large part through cases asking whether the term
                                                                    115 L.Ed.2d 720 (1991). But overthrowing it requires far
covers people performing specific jobs, like (in that case)
                                                                    more than the majority has offered up here.       Chevron is
“newsboys.”      322 U.S. at 120, 64 S.Ct. 851. Or consider
                                                                    entitled to stare decisis’s strongest form of protection. The
one of the examples I offered above. How does an interpreter
                                                                    majority thus needs an exceptionally strong reason to overturn
decide when one population segment of a species is “distinct”
                                                                    the decision, above and beyond thinking it wrong. And it
from another? Often by considering that requirement with
                                                                    has nothing approaching such a justification, proposing only
respect to particular species, like western gray squirrels. So
the distinction the majority offers makes no real-world (or         a bewildering theory about          Chevron’s “unworkability.”
even theoretical) sense. If the Hearst Court was deferring          Ante, at 2271. Just five years ago, this Court in        Kisor
to an agency on whether the term “employee” covered
                                                                    rejected a plea to overrule      Auer v. Robbins, 519 U.S.
newsboys, it was deferring to the agency on the scope and
                                                                    452, 117 S.Ct. 905, 137 L.Ed.2d 79 (1997), which requires
meaning of the term “employee.”
                                                                    judicial deference to agencies’ *2307 interpretations of their

The majority's next rejoinder—that “the Court was far from          own regulations. See   588 U.S. at 586–589, 139 S.Ct.
consistent” in deferring—falls equally flat. Ante, at 2260. I am    2400 (opinion of the Court). The case against overruling
perfectly ready to acknowledge that in the pre-APA period,             Chevron is at least as strong. In particular, the majority's
a deference regime had not yet taken complete hold. I'll go         decision today will cause a massive shock to the legal system,
even further: Let's assume that deference was then an on-           “cast[ing] doubt on many settled constructions” of statutes
again, off-again function (as the majority seems to suggest,        and threatening the interests of many parties who have relied
see ante, at 2259 - 2260, and 2260, n. 3). Even on that
                                                                    on them for years.   588 U.S. at 587, 139 S.Ct. 2400 (opinion
assumption, the majority's main argument—that       Section         of the Court).
706 prohibited deferential review—collapses. Once again, the
majority agrees that     Section 706 was not meant to change



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                            43
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                   Document #2068009                      Filed: 08/02/2024             Page 50 of 59

Adherence to precedent is “a foundation stone of the rule of
                                                                        Chevron into question. See ante, at 2270. From all it
law.”     Michigan v. Bay Mills Indian Community, 572 U.S.           appears, Congress has not agreed with the view of some
782, 798, 134 S.Ct. 2024, 188 L.Ed.2d 1071 (2014). Stare             Justices that they and other judges should have more power.
decisis “promotes the evenhanded, predictable, and consistent
development of legal principles.”       Payne, 501 U.S. at 827,      Second,     Chevron is by now much more than a single
111 S.Ct. 2597. It enables people to order their lives in
                                                                     decision. This Court alone, acting as    Chevron allows, has
reliance on judicial decisions. And it “contributes to the actual
                                                                     upheld an agency's reasonable interpretation of a statute at
and perceived integrity of the judicial process,” by ensuring
                                                                     least 70 times. See Brief for United States in No. 221219, p.
that those decisions are founded in the law, and not in the
                                                                     27; App. to id., at 68a–72a (collecting cases). Lower courts
“personal preferences” of judges.        Id., at 828, 111 S.Ct.
                                                                     have applied the    Chevron framework on thousands upon
2597;     Dobbs, 597 U.S. at 388, 142 S.Ct. 2228 (dissenting         thousands of occasions. See K. Barnett & C. Walker, Chevron
opinion). Perhaps above all else, stare decisis is a “doctrine       and Stare Decisis, 31 Geo. Mason L. Rev. 475, 477, and n.
of judicial modesty.”     Id., at 363, 142 S.Ct. 2228. In that, it   11 (2024) (noting that at last count,    Chevron was cited
shares something important with Chevron. Both tell judges            in more than 18,000 federal-court decisions). The      Kisor
that they do not know everything, and would do well to attend
                                                                     Court observed, when upholding     Auer, that “[d]eference
to the views of others. So today, the majority rejects what
                                                                     to reasonable agency interpretations of ambiguous rules
judicial humility counsels not just once but twice over.
                                                                     pervades the whole corpus of administrative *2308 law.”
                                                                        588 U.S. at 587, 139 S.Ct. 2400 (opinion of the Court).
And      Chevron is entitled to a particularly strong form
                                                                     So too does deference to reasonable agency interpretations
of stare decisis, for two separate reasons. First, it matters
that “Congress remains free to alter what we have done.”             of ambiguous statutes—except more so.         Chevron is as
                                                                     embedded as embedded gets in the law.
   Patterson v. McLean Credit Union, 491 U.S. 164, 173, 109
S.Ct. 2363, 105 L.Ed.2d 132 (1989); see   Kisor, 588 U.S.            The majority says differently, because this Court has ignored
at 587, 139 S.Ct. 2400 (opinion of the Court) (making the
                                                                        Chevron lately; all that is left of the decision is a
same point for    Auer deference). In a constitutional case,         “decaying husk with bold pretensions.” Ante, at 2272. Tell
the Court alone can correct an error. But that is not so here.       that to the D. C. Circuit, the court that reviews a large
“Our deference decisions are balls tossed into Congress's
                                                                     share of agency interpretations, where     Chevron remains
court, for acceptance or not as that branch elects.” 588
                                                                     alive and well. See, e.g.,    Lissack v. Commissioner, 68
U.S. at 587–588, 139 S.Ct. 2400 (opinion of the Court).
And for generations now, Congress has chosen acceptance.             F.4th 1312, 1321–1322 (2023);      Solar Energy Industries
Throughout those years, Congress could have abolished                Assn. v. FERC, 59 F.4th 1287, 1291–1294 (2023). But
                                                                     more to the point: The majority's argument is a bootstrap.
   Chevron across the board, most easily by amending the
APA. Or it could have eliminated deferential review in               This Court has “avoided deferring under  Chevron since
discrete areas, by amending old laws or drafting new laws            2016” (ante, at 2271) because it has been preparing to

to include an anti- Chevron provision. Instead, Congress             overrule    Chevron since around that time. That kind of
has “spurned multiple opportunities” to do a comprehensive           self-help on the way to reversing precedent has become
                                                                     almost routine at this Court. Stop applying a decision where
rejection of    Chevron, and has hardly ever done a targeted
                                                                     one should; “throw some gratuitous criticisms into a couple
one.   Kimble v. Marvel Entertainment, LLC, 576 U.S. 446,            of opinions”; issue a few separate writings “question[ing
456, 135 S.Ct. 2401, 192 L.Ed.2d 463 (2015); see supra,              the decision's] premises” (ante, at 2270); give the whole
at 2301 - 2302. Or to put the point more affirmatively,              process a few years ... and voila!—you have a justification
Congress has kept Chevron as is for 40 years. It maintained          for overruling the decision. Janus v. State, County, and
that position even as Members of this Court began to call            Municipal Employees, 585 U.S. 878, 950, 138 S.Ct. 2448,



                © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           44
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                 Document #2068009                    Filed: 08/02/2024             Page 51 of 59

201 L.Ed.2d 924 (2018) (KAGAN, J., dissenting) (discussing       Cooperative, 532 U.S. 483, 494, 121 S.Ct. 1711, 149 L.Ed.2d
                                                                 722 (2001). I could go on, but the point is made. There are
the overruling of   Abood v. Detroit Bd. of Ed., 431
                                                                 ambiguity triggers all over the law. Somehow everyone seems
U.S. 209, 97 S.Ct. 1782, 52 L.Ed.2d 261 (1977)); see
                                                                 to get by.
also, e.g., Kennedy v. Bremerton School Dist., 597 U.S.
507, 571–572, 142 S.Ct. 2407, 213 L.Ed.2d 755 (2022)
                                                                 And Chevron is an especially puzzling decision to criticize
(SOTOMAYOR, J., dissenting) (similar for     Lemon v.            on the ground of generating too much judicial divergence.
Kurtzman, 403 U.S. 602, 91 S.Ct. 2105, 29 L.Ed.2d 745            There's good empirical—meaning, non-impressionistic—
(1971));   Shelby County v. Holder, 570 U.S. 529, 587–           evidence on exactly that subject. And it shows that, as
588, 133 S.Ct. 2612, 186 L.Ed.2d 651 (2013) (Ginsburg,           compared with de novo review, use of the      Chevron two-
J., dissenting) (similar for South Carolina v. Katzenbach,       step framework fosters agreement among judges. See K.
383 U.S. 301, 86 S.Ct. 803, 15 L.Ed.2d 769 (1966)). I            Barnett, C. Boyd, & C. Walker, Administrative Law's Political
once remarked that this overruling-through-enfeeblement          Dynamics, 71 Vand. L. Rev. 1463, 1502 (2018) (Barnett).

technique “mock[ed] stare decisis.”   Janus, 585 U.S. at         More particularly,     Chevron has a “powerful constraining
950, 138 S.Ct. 2448 (dissenting opinion). I have seen no         effect on partisanship in judicial decisionmaking.” Barnett
reason to change my mind.                                        1463 (italics deleted); see Sunstein 1672 (“[A] predictable
                                                                 effect of overruling     Chevron would be to ensure a far
The majority does no better in its main justification for        greater role for judicial policy preferences in statutory
overruling     Chevron—that the decision is “unworkable.”        interpretation and far more common splits along ideological
Ante, at 2270. The majority's first theory on that score is      lines”). So if consistency among judges is the majority's
that there is no single “answer” about what “ambiguity”          lodestar, then the Court should not overrule     Chevron, but
means: Some judges turn out to see more of it than others        return to using it.
do, leading to “different results.” Ante, at 2270. But even if
so, the legal system has for many years, in many contexts,       The majority's second theory on workability is likewise a
dealt perfectly well with that variation. Take contract law.
                                                                 makeweight.       Chevron, the majority complains, has some
It is hornbook stuff that when (but only when) a contract
                                                                 exceptions, which (so the majority says) are “difficult” and
is ambiguous, a court interpreting it can consult extrinsic
                                                                 “complicate[d]” to apply. Ante, at 2271. Recall that courts
evidence. See     CNH Industrial N.V. v. Reese, 583 U.S.         are not supposed to defer when the agency construing a
133, 139, 138 S.Ct. 761, 200 L.Ed.2d 1 (2018) (per curiam).      statute (1) has not been charged with administering that law;
And when all interpretive tools still leave ambiguity, the       (2) has not used deliberative procedures—i.e., notice-and-
contract is construed against the drafter. See  Lamps Plus,      comment rulemaking or adjudication; or (3) is intervening
Inc. v. Varela, 587 U.S. 176, 186–187, 139 S.Ct. 1407, 203       in a “major question,” of great economic and political
L.Ed.2d 636 (2019). So I guess the contract rules of the         significance. See supra, at 2299 - 2300; ante, at 2268 - 2269.
50 States are unworkable now. Or look closer to home, to         As I've explained, those exceptions—the majority also aptly
doctrines this Court regularly applies. In deciding whether      calls them “refinements”—fit with       Chevron’s rationale:
a government has waived sovereign immunity, we construe          They define circumstances in which Congress is unlikely to
“[a]ny ambiguities in the statutory language” in “favor of       have wanted agency views to govern. Ante, at 2268 - 2269;
immunity.”      FAA v. Cooper, 566 U.S. 284, 290, 132 S.Ct.      see supra, at 2299 - 2300. And on the difficulty scale, they
1441, 182 L.Ed.2d 497 (2012). Similarly, the rule of lenity      are nothing much. Has Congress put the agency in charge
tells us to construe ambiguous statutes in favor of criminal     of administering the statute? In 99 of 100 cases, everyone
                                                                 will agree on the answer with scarcely a moment's thought.
defendants. See United States v. Castleman, 572 U.S. 157,        Did the agency use notice-and-comment or an adjudication
172–173, 134 S.Ct. 1405, 188 L.Ed.2d 426 (2014). And the         before rendering an interpretation? Once again, I could stretch
canon of constitutional avoidance instructs us to construe       my mind and think up a few edge cases, but for the most
ambiguous laws to avoid difficult constitutional questions.      part, the answer is an easy yes or no. The major questions
See      *2309 United States v. Oakland Cannabis Buyers’         exception is, I acknowledge, different: There, many judges



               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                          45
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256                  Document #2068009                    Filed: 08/02/2024             Page 52 of 59

have indeed disputed its nature and scope. Compare, e.g.,         in judgment). Congress and agencies alike have relied on
   West Virginia, 597 U.S. at 721–724, 142 S.Ct. 2587, with         Chevron—have assumed its existence—in much of their
                                                                  work for the last 40 years. Statutes passed during that
   id., at 764–770, 142 S.Ct. 2587 (KAGAN, J., dissenting).
But that disagreement concerns, on everyone's view, a tiny        time reflect the expectation that    Chevron would allocate
subset of all agency interpretations. For the most part, the      interpretive authority between agencies and courts. Rules
exceptions that so upset the majority require merely a rote,      issued during the period likewise presuppose that statutory
check-the-box inquiry. If that is the majority's idea of a        ambiguities were the agencies’ to (reasonably) resolve. Those
“dizzying breakdance,” ante, at 2271, the majority needs to       agency interpretations may have benefited regulated entities;
get out more.                                                     or they may have protected members of the broader public.
                                                                  Either way, private parties have ordered their affairs—their
And anyway, difficult as compared to what? The majority's         business and financial decisions, their health-care decisions,
prescribed way of proceeding is no walk in the park.              their educational decisions—around agency actions that are
First, the majority makes clear that what is usually called
                                                                  suddenly now subject to challenge. In        Kisor, this Court
   Skidmore deference continues to apply. See ante, at
                                                                  refused to overrule Auer because doing so would “cast
2262 - 2263. Under that decision, agency interpretations
                                                                  doubt on” many longstanding constructions of rules, and
“constitute a body of experience and informed judgment”
                                                                  thereby upset settled expectations.     588 U.S. at 587, 139
that may be “entitled to respect.”         Skidmore v. Swift
& Co., 323 U.S. 134, 140, 65 S.Ct. 161, 89 L.Ed. 124              S.Ct. 2400 (opinion of the Court). Overruling   Chevron,
(1944). If the majority thinks that the same judges who           and thus raising new doubts about agency constructions of
argue today about where “ambiguity” resides (see ante, at         statutes, will be far more disruptive.
2262 - 2264) are not going to argue tomorrow about what
“respect” requires, I fear it will be gravely disappointed.       The majority tries to alleviate concerns about a piece of that
Second, the majority directs courts to comply with the varied     problem: It states that judicial decisions that have upheld
ways in which Congress in fact “delegates discretionary           agency action as reasonable under       Chevron should not be
authority” to agencies. *2310 Ante, at 2262 - 2264. For           overruled on that account alone. See ante, at 2272 - 2273.
example, Congress may authorize an agency to “define[ ]”          That is all to the good: There are thousands of such decisions,
or “delimit[ ]” statutory terms or concepts, or to “fill up       many settled for decades. See supra, at 2307 - 2308. But first,
the details” of a statutory scheme. Ante, at 2263, and n. 5.      reasonable reliance need not be predicated on a prior judicial
Or Congress may use, in describing an agency's regulatory         decision. Some agency interpretations never challenged under
authority, inherently “flexib[le]” language like “appropriate”
or “reasonable.” Ante, at 2263, and n. 6. Attending to every         Chevron now will be; expectations formed around those
such delegation, as the majority says, is necessary in a world    constructions thus could be upset, in a way the majority's
                                                                  assurance does not touch. And anyway, how good is that
without    Chevron. But that task involves complexities of its    assurance, really? The majority says that a decision's “[m]ere
own. Indeed, one reason Justice Scalia supported Chevron          reliance on      Chevron” is not enough to counter the force
was that it replaced such a “statute-by-statute evaluation        of stare decisis; a challenger will need an additional “special
(which was assuredly a font of uncertainty and litigation)        justification.” Ante, at 2273. The majority is sanguine; I am
with an across-the-board presumption.” A. Scalia, Judicial
Deference to Administrative Interpretations of Law, 1989          not so much. Courts motivated to overrule an old Chevron-
Duke L. J. 511, 516. As a lover of the predictability that        based decision can always come up with something to label
rules create, Justice Scalia thought the latter “unquestionably   a “special justification.” Maybe a court will say “the quality
better.” Id., at 517.                                             of [the precedent's] reasoning” was poor. Ante, at 2270. Or
                                                                  maybe the court will discover something “unworkable” in the
On the other side of the balance, the most important stare        decision—like some exception that has to be applied. Ante,
decisis factor—call it the “jolt to the legal system” issue       at 2270. All a court need do is look to today's opinion to see
                                                                  how it is done.
—weighs heavily against overruling    Chevron.      Dobbs,
597 U.S. at 357, 142 S.Ct. 2228 (ROBERTS, C. J., concurring



               © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                           46
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256                    Document #2068009                     Filed: 08/02/2024             Page 53 of 59

                                                                      statute. It is a role this Court has now claimed for itself, as
                                IV
                                                                      well as for other judges.
    Judges are not experts in the field, and are not part of either
    political branch of the Government.                               And that claim requires disrespecting, too, this Court's
                                                                      precedent. There are no special reasons, of the kind usually
       *2311
                                                                      invoked for overturning precedent, to eliminate       Chevron
            —       Chevron U. S. A. Inc. v. Natural Resources
                                                                      deference. And given          Chevron’s pervasiveness, the
          Defense Council, Inc., 467 U.S. 837, 865, 104 S.Ct.
                                                                      decision to do so is likely to produce large-scale disruption.
                                 2778, 81 L.Ed.2d 694 (1984)
                                                                      All that backs today's decision is the majority's belief that
Those were the days, when we knew what we are not. When
we knew that as between courts and agencies, Congress                    Chevron was wrong—that it gave agencies too much
would usually think agencies the better choice to resolve the         power and courts not enough. But shifting views about the
ambiguities and fill the gaps in regulatory statutes. Because         worth of regulatory actors and their work do not justify
agencies are “experts in the field.” And because they are             overhauling a cornerstone of administrative law. In that sense
part of a political branch, with a claim to making interstitial       too, today's majority has lost sight of its proper role.
policy. And because Congress has charged them, not us,
with administering the statutes containing the open questions.        And it is impossible to pretend that today's decision is a one-
                                                                      off, in either its treatment of agencies or its treatment of
At its core,    Chevron is about respecting that allocation
                                                                      precedent. As to the first, this very Term presents yet another
of responsibility—the conferral of primary authority over
                                                                      example of the Court's resolve to roll back agency authority,
regulatory matters to agencies, not courts.
                                                                      despite congressional direction to the contrary. See SEC v.
                                                                      Jarkesy, 603 U. S. ––––, 144 S.Ct. 2117, ––– L.Ed.2d –––
Today, the majority does not respect that judgment. It gives
                                                                      (2024); see also supra, at 2294 - 2295. As to the second,
courts the power to make all manner of scientific and technical
                                                                      just my own defenses of stare decisis—my own dissents to
judgments. It gives courts the power to make all manner of
                                                                      this Court's reversals of settled law—by now fill a small
policy calls, including about how to weigh competing goods
                                                                      volume. See      Dobbs, 597 U.S. at 363–364, 142 S.Ct. 2228
and values. (See       Chevron itself.) It puts courts at the
                                                                      (joint opinion of Breyer, SOTOMAYOR, and KAGAN, JJ.);
apex of the administrative process as to every conceivable
subject—because there are always gaps and ambiguities in                 Edwards v. Vannoy, 593 U.S. 255, 296–297, 141 S.Ct.
regulatory statutes, and often of great import. What actions
                                                                      1547, 209 L.Ed.2d 651 (2021); Knick v. Township of Scott,
can be taken to address climate change or other environmental
                                                                      588 U.S. 180, 207–208, 139 S.Ct. 2162, 204 L.Ed.2d 558
challenges? What will the Nation's health-care system look
like in the coming decades? Or the financial or transportation        (2019); Janus, 585 U.S. at 931–932, 138 S.Ct. 2448. Once
systems? What rules are going to constrain the development            again, with respect, I dissent.
of A.I.? In every sphere of current or future federal regulation,
expect courts from now on to play a commanding role. It is
                                                                      All Citations
not a role Congress has given to them, in the APA or any other
                                                                      144 S.Ct. 2244




                                                              Footnotes


*        The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions
         for the convenience of the reader. See            United States v. Detroit Timber & Lumber Co., 200 U.S. 321, 337,
         26 S.Ct. 282, 50 L.Ed. 499.

1        For any landlubbers, “F/V” is simply the designation for a fishing vessel.



                 © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                             47
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256              Document #2068009                     Filed: 08/02/2024           Page 54 of 59

2     Both petitions also presented questions regarding the consistency of the Rule with the MSA. See Pet. for
      Cert. in No. 22–451, p. i; Pet. for Cert. in No. 22–1219, p. ii. We did not grant certiorari with respect to those
      questions and thus do not reach them.

3
      The dissent plucks out      Gray,     Hearst, and—to “gild the lily,” in its telling—three more 1940s decisions,
      claiming they reflect the relevant historical tradition of judicial review. Post, at 2305 – 2306, and n. 6 (opinion
      of KAGAN, J.). But it has no substantial response to the fact that Gray and Hearst themselves endorsed,
      implicitly in one case and explicitly in the next, the traditional rule that “questions of statutory interpretation ...
      are for the courts to resolve, giving appropriate weight”—not outright deference—“to the judgment of those
      whose special duty is to administer the questioned statute.”        Hearst, 322 U.S. at 130–131, 64 S.Ct. 851.
      And it fails to recognize the deep roots that this rule has in our Nation's judicial tradition, to the limited extent
      it engages with that tradition at all. See post, at 2304 – 2305, n. 5. Instead, like the Government, it strains
      to equate the “respect” or “weight” traditionally afforded to Executive Branch interpretations with binding
      deference. See ibid.; Brief for Respondents in No. 22–1219, pp. 21–24. That supposed equivalence is a
      fiction. The dissent's cases establish that a “contemporaneous construction” shared by “not only ... the courts”
      but also “the departments” could be “controlling,” Schell's Executors v. Fauché, 138 U.S. 562, 572, 11 S.Ct.
      376, 34 L.Ed. 1040 (1891) (emphasis added), and that courts might “lean in favor” of a “contemporaneous”
      and “continued” construction of the Executive Branch as strong evidence of a statute's meaning,     United
      States v. Alabama Great Southern R. Co., 142 U.S. 615, 621, 12 S.Ct. 306, 35 L.Ed. 1134 (1892). They do
      not establish that Executive Branch interpretations of ambiguous statutes—no matter how inconsistent, late
      breaking, or flawed—always bound the courts. In reality, a judge was never “bound to adopt the construction
      given by the head of a department.”        Decatur v. Paulding, 14 Pet. 497, 515, 10 L.Ed. 559 (1840).

4
      The dissent observes that  Section 706 does not say expressly that courts are to decide legal questions
      using “a de novo standard of review.” Post, at 2302. That much is true. But statutes can be sensibly
      understood only “by reviewing text in context.”    Pulsifer v. United States, 601 U.S. 124, 133, 144 S.Ct.
      718, 218 L.Ed.2d 77 (2024). Since the start of our Republic, courts have “decide[d] ... questions of law” and
      “interpret[ed] constitutional and statutory provisions” by applying their own legal judgment.          § 706. Setting
      aside its misplaced reliance on      Gray and      Hearst, the dissent does not and could not deny that tradition.
      But it nonetheless insists that to codify that tradition, Congress needed to expressly reject a sort of deference
      the courts had never before applied—and would not apply for several decades to come. It did not. “The notion
      that some things ‘go without saying’ applies to legislation just as it does to everyday life.”        Bond v. United
      States, 572 U.S. 844, 857, 134 S.Ct. 2077, 189 L.Ed.2d 1 (2014).

5
      See, e.g.,    29 U.S.C. § 213(a)(15) (exempting from provisions of the Fair Labor Standards Act “any
      employee employed on a casual basis in domestic service employment to provide companionship services for
      individuals who (because of age or infirmity) are unable to care for themselves (as such terms are defined and
      delimited by regulations of the Secretary)” (emphasis added)); 42 U.S.C. § 5846(a)(2) (requiring notification
      to Nuclear Regulatory Commission when a facility or activity licensed or regulated pursuant to the Atomic
      Energy Act “contains a defect which could create a substantial safety hazard, as defined by regulations which
      the Commission shall promulgate” (emphasis added)).

6
      See, e.g.,    33 U.S.C. § 1312(a) (requiring establishment of effluent limitations “[w]henever, in the judgment
      of the [Environmental Protection Agency (EPA)] Administrator ..., discharges of pollutants from a point source
      or group of point sources ... would interfere with the attainment or maintenance of that water quality ... which



              © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                        48
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256             Document #2068009                  Filed: 08/02/2024          Page 55 of 59

      shall assure” various outcomes, such as the “protection of public health” and “public water supplies”);   42
      U.S.C. § 7412(n)(1)(A) (directing EPA to regulate power plants “if the Administrator finds such regulation is
      appropriate and necessary”).

7
      See, e.g.,    Guedes v. Bureau of Alcohol, Tobacco, Firearms and Explosives, 45 F.4th 306, 313–314 (CADC
      2022), abrogated by Garland v. Cargill, 602 U. S. 406, 144 S.Ct. 1613, ––– L.Ed.2d –––– (2024); County
      of Amador v. United States Dept. of Interior, 872 F.3d 1012, 1021–1022 (CA9 2017); Estrada-Rodriguez v.
      Lynch, 825 F.3d 397, 403–404 (CA8 2016);           Nielsen v. AECOM Tech. Corp., 762 F.3d 214, 220 (CA2
      2014);    Alaska Stock, LLC v. Houghton Mifflin Harcourt Publishing Co., 747 F.3d 673, 685, n. 52 (CA9
      2014); Jurado-Delgado v. Attorney Gen. of U. S., 498 Fed.Appx. 107, 117 (CA3 2009); see also D. Brookins,
      Confusion in the Circuit Courts: How the Circuit Courts Are Solving the Mead-Puzzle by Avoiding It Altogether,
      85 Geo. Wash. L. Rev. 1484, 1496–1499 (2017) (documenting     Chevron avoidance by the lower courts);
      A. Vermeule, Our Schmittian Administrative Law, 122 Harv. L. Rev. 1095, 1127–1129 (2009) (same); L.
      Bressman, How Mead Has Muddled Judicial Review of Agency Action, 58 Vand. L. Rev. 1443, 1464–1466
      (2005) (same).

8
      Citing an empirical study, the dissent adds that   Chevron “fosters agreement among judges.” Post, at 2309.
      It is hardly surprising that a study might find as much; Chevron’s second step is supposed to be hospitable
      to agency interpretations. So when judges get there, they tend to agree that the agency wins. That proves
      nothing about the supposed ease or predictability of identifying ambiguity in the first place.

*     There is much to be commended in Justice GORSUCH's careful consideration from first principles of the
      weight we should afford to our precedent. I agree with the lion's share of his concurrence. See generally
        Gamble v. United States, 587 U.S. 678, 710, 139 S.Ct. 1960, 204 L.Ed.2d 322 (2019) (THOMAS, J.,
      concurring).

1     For relevant databases of decisions, see Congressional Research Service, Table of Supreme Court
      Decisions Overruled by Subsequent Decisions, Constitution Annotated, https://constitution.congress.gov/
      resources/ecisions-overruled/; see also H. Spaeth et al., 2023 Supreme Court Database, http://
      supremecourtdatabase.org.

2     See also A. Scalia, Judicial Deference to Administrative Interpretations of Law, 1989 Duke L. J. 511, 516–
      517 (1989) (describing      Chevron’s theory that Congress “delegat[ed]” interpretive authority to agencies as
      “fictional”); S. Breyer, Judicial Review of Questions of Law and Policy, 38 Admin. L. Rev. 363, 370 (1986)
      (describing the notion that there exists a “ ‘legislative intent to delegate the law-interpreting function’ as a
      kind of legal fiction”).

3     The dissent suggests that we need not take the APA's directions quite so seriously because the “finest
      administrative law scholars” from Harvard claim to see in them some wiggle room. Post, at 2303 (opinion of
      KAGAN, J.). But nothing in the APA commands deference to the views of professors any more than it does
      the government. Nor is the dissent's list of Harvard's finest administrative law scholars entirely complete.
      See S. Breyer et al., Administrative Law and Regulatory Policy 288 (7th ed. 2011) (acknowledging that
         Chevron deference “seems in conflict with ... the apparently contrary language of 706”); Kagan 212
      (likewise acknowledging      Chevron deference rests upon a “fictionalized statement of legislative desire”).




              © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                 49
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256             Document #2068009                   Filed: 08/02/2024          Page 56 of 59

4
      Accord,      National Lead Co. v. United States, 252 U.S. 140, 145–146, 40 S.Ct. 237, 64 L.Ed. 496
      (1920) (affording “great weight” to a “contemporaneous construction” by the executive that had “been long
      continued”); Jacobs v. Prichard, 223 U.S. 200, 214, 32 S.Ct. 289, 56 L.Ed. 405 (1912) (“find[ing] no ambiguity
      in the act” but also finding “strength” for the Court's interpretation in the executive's “immediate and continued
      construction of the act”);     Schell's Executors v. Fauché, 138 U.S. 562, 572, 11 S.Ct. 376, 34 L.Ed. 1040
      (1891) (treating as “controlling” a “contemporaneous construction” of a law endorsed “not only [by] the courts
      but [also by] the departments”).

5
      The dissent suggests that    Chevron deference bears at least something in common with surrounding law
      because it resembles a presumption or traditional canon of construction, and both “are common.” Post, at
      2297 - 2298, n. 1, 2309 - 2310 (opinion of KAGAN, J.). But even that thin reed wavers at a glance. Many of
      the presumptions and interpretive canons the dissent cites—including lenity, contra proferentem, and others
      besides—“ ‘embod[y] ... legal doctrine[s] centuries older than our Republic.’ ” Opati v. Republic of Sudan,
      590 U.S. 418, 425, 140 S.Ct. 1601, 206 L.Ed.2d 904 (2020).    Chevron deference can make no such boast.
      Many of the presumptions and canons the dissent cites also serve the Constitution, protecting the lines of
      authority it draws. Take just two examples: The federalism canon tells courts to presume federal statutes do
      not preempt state laws because of the sovereignty States enjoy under the Constitution. Bond v. United
      States, 572 U.S. 844, 858, 134 S.Ct. 2077, 189 L.Ed.2d 1 (2014). The presumption against retroactivity
      serves as guardian of the Constitution's promise of due process and its ban on ex post facto laws, Landgraf
      v. USI Film Products, 511 U.S. 244, 265, 114 S.Ct. 1483, 128 L.Ed.2d 229 (1994). Once more, however,
         Chevron deference can make no similar claim. Rather than serve the Constitution's usual rule that litigants
      are entitled to have an independent judge interpret disputed legal terms,          Chevron deference works to
      undermine that promise. As explored above, too,      Chevron deference sits in tension with many traditional
      legal presumptions and interpretive principles, representing nearly the inverse of the rules of lenity, nemo
      iudex, and contra proferentem.

6
      It should be recalled that, when Justice Scalia launched the       Chevron revolution, there were many judges
      who “abhor[red] ... ‘plain meaning’ ” and preferred instead to elevate “legislative history” and their own curated
      accounts of a law's “purpose[s]” over enacted statutory text. Scalia 515, 521. Chevron, he predicted, would
      provide a new guardrail against that practice. Scalia 515, 521. As the Justice's later writings show, he had
      the right diagnosis, just the wrong cure. The answer for judges eliding statutory terms is not deference to
      agencies that may seek to do the same, but a demand that all return to a more faithful adherence to the
      written law. That was, of course, another project Justice Scalia championed. And as we like to say, “we're
      all textualists now.”

7
      See, e.g.,  Becerra v. Empire Health Foundation, for Valley Hospital Medical Center, 597 U.S. 424, 434,
      142 S.Ct. 2354, 213 L.Ed.2d 685 (2022) (resolving intricate Medicare dispute by reference solely to “text,”
      “context,” and “structure”); see also   Sackett v. EPA, 598 U.S. 651, 143 S.Ct. 1322, 215 L.Ed.2d 579 (2023)
      (same in a complex Clean Water Act dispute); Johnson v. Guzman Chavez, 594 U.S. 523, 141 S.Ct. 2271,
      210 L.Ed.2d 656 (2021) (same in technical immigration case).

8     Today's dissenters are no exceptions. They have voted to overrule precedents that they consider “wrong,”
         Hurst v. Florida, 577 U.S. 92, 101, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016) (opinion for the Court by
      SOTOMAYOR, J., joined by, inter alios, KAGAN, J.);         Obergefell v. Hodges, 576 U.S. 644, 665, 675, 135


              © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                   50
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256             Document #2068009                    Filed: 08/02/2024           Page 57 of 59

      S.Ct. 2584, 192 L.Ed.2d 609 (2015) (opinion for the Court, joined by, inter alios, SOTOMAYOR and KAGAN,
      JJ.); that conflict with the Constitution's “original meaning,” Alleyne v. United States, 570 U.S. 99, 118,
      133 S.Ct. 2151, 186 L.Ed.2d 314 (2013) (SOTOMAYOR, J., joined by, inter alias, KAGAN, J., concurring);
      and that have proved “unworkable,”      Johnson v. United States, 576 U.S. 591, 605, 135 S.Ct. 2551, 192
      L.Ed.2d 569 (2015) (opinion for the Court, joined by, inter alios, SOTOMAYOR and KAGAN, JJ.); see also
      Erlinger v. United States, 602 U. S. –––––, 144 S.Ct. 1840, 1873, ––– L.Ed.2d –––– (2024) (JACKSON, J.,
      dissenting) (slip op., at 1) (arguing Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d
      435 (2000), and the many cases applying it were all “wrongly decided”).

*     Justice JACKSON did not participate in the consideration or decision of the case in No. 22–451 and joins
      this opinion only as it applies to the case in No. 22–1219.

1     Note that presumptions of this kind are common in the law. In other contexts, too, the Court responds to a
      congressional lack of direction by adopting a presumption about what Congress wants, rather than trying
      to figure that out in every case. And then Congress can legislate, with “predictable effects,” against that
      “stable background” rule.  Morrison v. National Australia Bank Ltd., 561 U.S. 247, 261, 130 S.Ct. 2869, 177
      L.Ed.2d 535 (2010). Take the presumption against extraterritoriality: The Court assumes Congress means
      for its statutes to apply only within the United States, absent a “clear indication” to the contrary. Id., at
      255, 130 S.Ct. 2869. Or the presumption against retroactivity: The Court assumes Congress wants its laws
      to apply only prospectively, unless it “unambiguously instruct[s]” something different. Vartelas v. Holder,
      566 U.S. 257, 266, 132 S.Ct. 1479, 182 L.Ed.2d 473 (2012). Or the presumption against repeal of statutes by
      implication: The Court assumes Congress does not intend a later statute to displace an earlier one unless it
      makes that intention “clear and manifest.” Epic Systems Corp. v. Lewis, 584 U.S. 497, 510, 138 S.Ct. 1612,
      200 L.Ed.2d 889 (2018). Or the (so far unnamed) presumption against treating a procedural requirement
      as “jurisdictional” unless “Congress clearly states that it is.” Boechler v. Commissioner, 596 U.S. 199,
      203, 142 S.Ct. 1493, 212 L.Ed.2d 524 (2022). I could continue, except that this footnote is long enough.
      The     Chevron deference rule is to the same effect: The Court generally assumes that Congress intends to
      confer discretion on agencies to handle statutory ambiguities or gaps, absent a direction to the contrary. The
      majority calls that presumption a “fiction,” ante, at 2268, but it is no more so than any of the presumptions listed
      above. They all are best guesses—and usually quite good guesses—by courts about congressional intent.

2     The majority tries to buttress its argument with a stray sentence or two from the APA's legislative history,
      but the same response holds. As the majority notes, see ante, at 2262, the House and Senate Reports each
      stated that    Section 706 “provid[ed] that questions of law are for courts rather than agencies to decide
      in the last analysis.” H. R. Rep. No. 1980, 79th Cong., 2d Sess., 44 (1946); S. Rep. No. 752, 79th Cong.,
      1st Sess., 28 (1945). But that statement also does not address the standard of review that courts should
      then use. When a court defers under       Chevron, it reviews the agency's construction for reasonableness
      “in the last analysis.” The views of Representative Walter, which the majority also cites, further demonstrate
      my point. He stated that the APA would require courts to “determine independently all relevant questions of
      law,” but he also stated that courts would be required to “exercise ... independent judgment” in applying the
      substantial-evidence standard (a deferential standard if ever there were one). 92 Cong. Rec. 5654 (1946).
      He therefore did not equate “independent” review with de novo review; he thought that a court could conduct
      independent review of agency action using a deferential standard.




              © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                     51
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
    USCA Case #21-1256             Document #2068009                   Filed: 08/02/2024          Page 58 of 59

3
      In a footnote responding to the last two paragraphs, the majority raises the white flag on        Section 706’s
      text. See ante, at 2261 - 2262, n. 4. Yes, it finally concedes,  Section 706 does not say that de novo review
      is required for an agency's statutory construction. Rather, the majority says, “some things go without saying,”
      and de novo review is such a thing. See ibid. But why? What extra-textual considerations force us to read
         Section 706 the majority's way? In its footnote, the majority repairs only to history. But as I will explain
      below, the majority also gets wrong the most relevant history, pertaining to how judicial review of agency
      interpretations operated in the years before the APA was enacted. See infra, at 2303 - 2306.

4     I concede one exception (whose view was “almost completely isolated,” Levin 181), but his comments
      on     Section 706 refute a different aspect of the majority's argument. Professor John Dickinson, as the
      majority notes, thought that   Section 706 precluded courts from deferring to agency interpretations. See
      Administrative Procedure Act: Scope and Grounds of Broadened Judicial Review, 33 A. B. A. J. 434, 516
      (1947) (Dickinson); ante, at 2262. But unlike the majority, he viewed that bar as “a change” to, not a
      restatement of, pre-APA law. Compare Dickinson 516 with ante, at 2261 - 2262. So if the majority really wants
      to rely on Professor Dickinson, it will have to give up the claim, which I address below, that the law before
      the APA forbade deference. See infra, at 2303 - 2306.

5     Because the APA was meant to “restate[ ] the present law,” the judicial review practices of the 1940s are
      more important to understanding the statute than is any earlier tradition (such as the majority dwells on). But
      before I expand on those APA-contemporaneous practices, I pause to note that they were “not built on sand.”
         Kisor v. Wilkie, 588 U.S. 558, 568–569, 139 S.Ct. 2400, 204 L.Ed.2d 841 (2019) (plurality opinion). Since
      the early days of the Republic, this Court has given significant weight to official interpretations of “ambiguous
      law[s].” Edwards’ Lessee v. Darby, 12 Wheat. 206, 210, 6 L.Ed. 603 (1827). With the passage of time—and
      the growth of the administrative sphere—those “judicial expressions of deference increased.” H. Monaghan,
      Marbury and the Administrative State, 83 Colum. L. Rev. 1, 15 (1983). By the early 20th century, the Court
      stated that it would afford “great weight” to an agency construction in the face of statutory “uncertainty or
      ambiguity.”    National Lead Co. v. United States, 252 U.S. 140, 145, 40 S.Ct. 237, 64 L.Ed. 496 (1920);
      see     Schell's Executors v. Fauché, 138 U.S. 562, 572, 11 S.Ct. 376, 34 L.Ed. 1040 (1891) (“controlling”
      weight in “all cases of ambiguity”); United States v. Alabama Great Southern R. Co., 142 U.S. 615, 621, 12
      S.Ct. 306, 35 L.Ed. 1134 (1892) (“decisive” weight “in case of ambiguity”); Jacobs v. Prichard, 223 U.S. 200,
      214, 32 S.Ct. 289, 56 L.Ed. 405 (1912) (referring to the “rule which gives strength” to official interpretations
      if “ambiguity exist[s]”). So even before the New Deal, a strand of this Court's cases exemplified deference
      to executive constructions of ambiguous statutes. And then, as I show in the text, the New Deal arrived and
      deference surged—creating the “present law” that the APA “restated.”

6
      The majority says that I have “pluck[ed] out”    Gray and      Hearst, impliedly from a vast number of not-so-
      helpful cases. Ante, at 2260, n. 3. It would make as much sense to say that a judge “plucked out” Universal
      Camera Corp. v. NLRB, 340 U.S. 474, 71 S.Ct. 456, 95 L.Ed. 456 (1951), to discuss substantial-evidence
      review or “plucked out”    Motor Vehicle Mfrs. Assn. of United States, Inc. v. State Farm Mut. Automobile Ins.
      Co., 463 U.S. 29, 103 S.Ct. 2856, 77 L.Ed.2d 443 (1983), to discuss arbitrary-and-capricious review.       Gray
      and   Hearst, as noted above, were the leading cases about agency interpretations in the years before the
      APA's enactment. But just to gild the lily, here are a number of other Supreme Court decisions from the five
      years prior to the APA's enactment that were of a piece:    United States v. Pierce Auto Freight Lines, Inc.,
      327 U.S. 515, 536, 66 S.Ct. 687, 90 L.Ed. 821 (1946); ICC v. Parker, 326 U.S. 60, 65, 65 S.Ct. 1490, 89 L.Ed.



              © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                  52
Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024)
   USCA Case #21-1256              Document #2068009                   Filed: 08/02/2024            Page 59 of 59

      2051 (1945); Federal Security Administrator v. Quaker Oats Co., 318 U.S. 218, 227–228, 63 S.Ct. 589, 87
      L.Ed. 724 (1943). The real “pluck[ing]” offense is the majority's—for taking a stray sentence from            Hearst
      (ante, at 2260, n. 3) to suggest that both   Hearst and    Gray stand for the opposite of what they actually do.



End of Document                                         © 2024 Thomson Reuters. No claim to original U.S. Government Works.




              © 2024 Thomson Reuters. No claim to original U.S. Government Works.                                      53
